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                                                                                   2025 Mar-03 PM 09:31
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA

                                                                         Page 1

 1           IN THE UNITED STATES DISTRICT COURT

 2         FOR THE NORTHERN DISTRICT OF ALABAMA

 3

 4

 5

 6

 7      CIVIL ACTION NO.:       4:20-cv-01293-CLM

 8

 9      CARRIE JEAN HUFFMAN, AS PERSONAL

10      REPRESENTATIVE OF THE ESTATE OF TERRY

11      TERRELL PETTIWAY, DECEASED,

12                 Plaintiff,

13      v.

14

15      JEFFERSON DUNN; GRANTT CULLIVER; EDWARD

16      ELLINGTON; KARLA JONES, et al.,

17                 Defendants.

18

19

20             VIDEO DEPOSITION TESTIMONY OF:

21                       GRANTT CULLIVER

22                      November 11, 2022

23



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                                           Page 2                                           Page 4
 1       STIPULATIONS                                1       APPEARANCES
 2          IT IS STIPULATED AND AGREED              2
 3 by and between the parties through their          3 FOR THE PLAINTIFF:
 4 respective counsel that the deposition of         4
 5 GRANTT CULLIVER may be taken before Lane          5 Brian Earl, Esq.
 6 C. Butler, a Court Reporter and Notary            6 Leslie Kuhn-Thayer, Esq. (via telephone)
 7 Public for the State at Large, at the law         7 SIDLEY AUSTIN
 8 offices of White, Arnold & Dowd, 2001             8 787 Seventh Avenue
 9 Park Place North, Suite 1400, Birmingham,         9 New York, New York 10019
10 Alabama, on the 11th day of November,            10 bearl@sidley.com
11 2022, commencing at approximately 9:00           11 lkuhntha@sidley.com
12 a.m. Central.                                    12
13          IT IS FURTHER STIPULATED                13 Laura S. Gibson, Esq.
14 AND AGREED that the signature to and the         14 White, Arnold & Dowd
15 reading of the deposition by the witness         15 2001 Park Place North
16 is waived, the deposition to have the            16 Suite 1400
17 same force and effect as if full                 17 Birmingham, Alabama 35203
18 compliance had been had with all laws and        18 lgibson@whitearnolddowd.com
19 rules of Court relating to the taking of         19
20 the depositions.                                 20
21          IT IS FURTHER STIPULATED                21
22 AND AGREED that it shall not be necessary        22
23 for any objections to be made by counsel         23
                                           Page 3                                           Page 5
 1 to any questions except as to form or             1 A P P E A R A N C E S (continued)
 2 leading questions and that counsel for            2
 3 the parties may make objections and               3 FOR THE DEFENDANTS:
 4 assign grounds at the time of trial or at         4
 5 the time said deposition is offered in            5 Ellie Putman, Esq.
 6 evidence, or prior thereto.                       6 MAYNARD, COOPER & GALE
 7        In accordance with the Federal             7 655 Gallatin Street SW
 8 Rules of Civil Procedure, I, Lane C.              8 Huntsville, Alabama 35801
 9 Butler, am hereby delivering to Brian             9 eputman@maynardcooper.com
10 Earl, Esq., the original transcript of           10
11 the oral testimony taken the 11th day of         11 R. Brooke Lawson, III, Esq.
12 November, 2022.                                  12 CAPELL & HOWARD
13        Please be advised that this is            13 150 South Perry Street
14 the same and not retained by the Court           14 Montgomery, Alabama 36105
15 Reporter, nor filed with the Court.              15 brooke.lawson@chlaw.com
16                                                  16
17                                                  17
18                                                  18 ALSO PRESENT:
19                                                  19
20                                                  20 Karen Kelley, videographer
21                                                  21
22                                                  22
23                                                  23
                                                                                   2 (Pages 2 - 5)
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                                            Page 6                                              Page 8
 1          INDEX                                     1 Exhibit 14 Alabama Attorney General's   339
 2                                                    2    Office Investigative
 3 EXAMINATION BY:                  PAGE NO.          3    Division Summary of
 4 Mr. Earl                   11                      4    Findings, Bates
 5                                                    5    ADOC-TP-008994
 6                                                    6
 7                                                    7
 8                                                    8
 9                                                    9
10         EXHIBITS                                  10
11                                                   11
12 FOR THE PLAINTIFF:                                12
13 Exhibit 1 Employee Performance          38        13
14     Preappraisal, 10/01/2016 -                    14
15     09/01/2017, Bates                             15
16     ADOC-TP-002925                                16
17 Exhibit 2 First Amended Complaint       128       17
18 Exhibit 3 Email, Bates             193            18
19     ADOC(DOJ)-TP-0000581                          19
20 Exhibit 4 Institutional Vulnerability 194         20
21     Analysis, February 24,                        21
22     2015, Bates                                   22
23     ADOC(DOJ)-TP-0000243                          23
                                            Page 7                                              Page 9
 1 Exhibit 5 Institutional Vulnerability 225          1       I, Lane C. Butler, a Court
 2     Analysis, May 9, 2016,                         2 Reporter and Notary Public, State of
 3     Bates ADOC-TP-018828                           3 Alabama at Large, acting as Notary,
 4 Exhibit 6 Institutional Vulnerability 252          4 certify that on this date, pursuant to
 5     Analysis, May 2, 2018,                         5 the Federal Rules of Civil Procedure and
 6     Bates ADOC-TP-019471                           6 the foregoing stipulation of counsel,
 7 Exhibit 7 Investigative Report,      274           7 there came before me at the law offices
 8     12/04/17, Bates                                8 of White, Arnold & Dowd, 2001 Park Place
 9     ADOC-TP-012153                                 9 North, Suite 1400, Birmingham, Alabama,
10 Exhibit 8 Email chain and ASCA          279       10 commencing at approximately 9:00 a.m., on
11     Report, Bates                                 11 the 11th day of November, 2022, GRANTT
12     ADOC-TP-018289                                12 CULLIVER, witness in the above cause, for
13 Exhibit 9 Email and First Monitoring 298          13 oral examination, whereupon the following
14     Report, Bates                                 14 proceedings were had:
15     ADOC-TP-021113                                15
16 Exhibit 10 (Exhibithibit withdrawn)       ---     16       THE VIDEOGRAPHER: Good morning.
17 Exhibit 11 Email chain, Bates        307          17 We're going on the record at 9:03 a.m. on
18     ADOC-TP-019196                                18 November 11, 2022. This is Media Unit 1
19 Exhibit 12 Email chain, Bates        311          19 in the videorecorded deposition of Grantt
20     ADOC-TP-020598                                20 Culliver in the matter of Carrie Jean
21 Exhibit 13 Duty Officer Report,       323         21 Huffman, as personal representative of
22     9/2/2018, Bates                               22 the estate of Terry Terrell Pettiway,
23     ADOC-TP-001705                                23 deceased, v. Jefferson Dunn, et al.,
                                                                                      3 (Pages 6 - 9)
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 1 filed in the United States District Court  1 Your answers will be subject to the
 2 for the Northern District of Alabama,      2 penalty of perjury. Do you understand
 3 Case No. 4:20-cv-1293.                     3 that?
 4       This deposition is being held at     4 A. Yes, sir.
 5 2001 Park Place North, Birmingham,         5 Q. Your statements here today have
 6 Alabama. My name is Karen Kelley. I'm      6 the same effect as though they were given
 7 the videographer. The court reporter is    7 in a court of law. Do you understand
 8 Lane Butler, both with Veritext.           8 that?
 9       If counsel would please              9 A. Yes, sir.
10 introduce yourself, after which the court 10 Q. As you can see, we have a court
11 reporter will swear in the witness.       11 reporter sitting -- a court reporter
12       MS. PUTMAN: Ellie Putman with       12 sitting next to you. It's important that
13 Maynard Cooper for defendants Jeff Dunn, 13 she hear a clear record and have a clear
14 Grantt Culliver, and Edward Ellington.    14 record of what is discussed today. So
15       MR. LAWSON: Brooke Lawson with 15 I'd ask that you please give audible
16 Capell & Howard for defendants.           16 responses so that she can take down
17       MS. GIBSON: I'm Laura Gibson.       17 everything that you say. Try to avoid
18 I'm with White, Arnold & Dowd, and I'm 18 nods of your head, shrugs, or "uh-huhs."
19 here for the plaintiff.                   19 Do you understand that?
20       MR. EARL: And Brian Earl of         20 A. Yes.
21 Sidley Austin for the plaintiff.          21 Q. We should both try not to,
22                                           22 during the deposition, not to speak over
23                                           23 each other. I'll try my best to let you
                                        Page 11                                            Page 13
 1         GRANTT CULLIVER,                        1 finish your response to my questions. If
 2     having first been duly sworn,               2 you can also let me finish my questions
 3 was examined and testified as follows:          3 throughout as well, I'd appreciate that.
 4                                                 4      We'll take breaks as you need
 5       THE COURT REPORTER: Thank you.            5 them. Please just let me know if you
 6       And, attorneys, usual                     6 need one. The only thing I'd ask is that
 7 stipulations?                                   7 before we take a break, you finish
 8       MS. PUTMAN: Yes.                          8 answering the question that's been asked.
 9       MR. LAWSON: Yes.                          9      If there's a question you don't
10       MR. EARL: Agreed.                        10 understand, please let me know. I'll do
11                                                11 my best to rephrase it. If you answer a
12 EXAMINATION BY MR. EARL:                       12 question, then I assume that you
13 Q. Mr. Culliver, my name is Brian              13 understood it.
14 Earl. I represent Carrie Huffman in her        14      If your counsel objects, and she
15 capacity as administrator for her              15 may object throughout the proceeding
16 deceased son, Terry Terrell Pettiway, in       16 today, you still will be required to
17 this proceeding.                               17 answer the question unless she directs
18       Can you please state your full           18 you otherwise.
19 name for the record?                           19      Do you understand all that?
20 A. Grantt DeWayne Culliver.                    20 A. Yes.
21 Q. So I would like to start with               21 Q. Sir, is there any reason you'll
22 some ground rules for today's deposition.      22 be unable to testify truthfully and
23 You'll be testifying under oath today.         23 completely here today?
                                                                                4 (Pages 10 - 13)
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                                        Page 14                                           Page 16
 1 A. Not to my knowledge.                         1 Q. Are there any specific instances
 2 Q. Are you represented by counsel               2 you recall?
 3 here today?                                     3 A. Of going to?
 4 A. Yes.                                         4 Q. Of testifying at trial.
 5 Q. What have you done to prepare                5 A. I think the last time I
 6 for this deposition?                            6 testified was in a mental health case.
 7 A. I've had a briefing with                     7 Q. Okay. Do you recall the name of
 8 counsel.                                        8 that case?
 9 Q. Okay. How many times have you                9 A. I don't.
10 met with your counsel?                         10 Q. Do you recall when that was?
11 A. Once.                                       11 A. More than four years ago.
12 Q. Did you review any documents?               12 Q. And was that the last case you
13 A. Say it again?                               13 were deposed in as well?
14 Q. Did you review any documents?               14 A. I don't know.
15 A. I have.                                     15 Q. Okay. Can you describe your
16 Q. What documents?                             16 educational background, Mr. Culliver?
17 A. Some e-mails, just various                  17 A. I have a bachelor of -- a
18 documents that the counsel sent.               18 bachelor of science from the University
19 Q. Okay. Do you recall any of the              19 of Southern Mississippi in American
20 -- what any of those were?                     20 studies.
21 A. Not specifically.                           21 Q. And where were you employed
22 Q. Did you speak with anybody else             22 after you graduated college?
23 about this deposition other than your          23 A. I don't remember.
                                        Page 15                                           Page 17
 1 counsel?                                        1 Q. So you don't recall your first
 2 A. No.                                          2 employment after you graduated college?
 3 Q. Have you ever been -- have you               3 A. No, sir.
 4 ever been deposed before, Mr. Culliver?         4 Q. Okay.
 5 A. Yes, sir.                                    5 A. I think it was -- I think that
 6 Q. And how many times?                          6 it was at a blouse factory.
 7 A. I do not recall.                             7 Q. A blouse factory. Okay. And
 8 Q. More than five?                              8 what was your role there?
 9 A. I do not recall.                             9 A. Packer.
10 Q. Less than five?                             10 Q. Okay. Are you currently
11 A. I don't recall.                             11 employed, sir?
12 Q. Okay. Have you ever testified               12 A. Yes, sir.
13 at trial before?                               13 Q. Where are you employed?
14 A. Yes, sir.                                   14 A. Division12 Consulting.
15 Q. How many times?                             15 Q. And what is Division12
16 A. I don't recall.                             16 Consulting?
17 Q. Was it -- so, would you say it's            17 A. It's a furniture company.
18 been a lot?                                    18 Q. And what do you do there?
19 A. It's been enough for me.                    19 A. I am director of installations.
20 Q. Can you explain that a little               20 Q. Okay. You were previously
21 bit?                                           21 employed by the Alabama Department of
22 A. It's been enough. I mean, I                 22 Corrections. Is that right?
23 don't --                                       23 A. Yes, sir.
                                                                                5 (Pages 14 - 17)
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                                         Page 18                                           Page 20
 1 Q. And just to level set, I'm going              1 Q. Were you promoted to the
 2 to be referring to them throughout this          2 position of warden at some point?
 3 deposition as ADOC. Is that okay?                3 A. I was.
 4 A. Yes, sir.                                     4 Q. Do you know at what facility
 5 Q. When did you begin your                       5 that was at?
 6 employment with ADOC?                            6 A. Atmore Community-Based Facility.
 7 A. I think it was in October of                  7 Q. And can you describe to me what
 8 '81.                                             8 your responsibilities were as a warden?
 9 Q. And what was your role?                       9 A. The management -- manage the
10 A. Correctional officer.                        10 day-to-day operations at the facility.
11 Q. And was that at a specific                   11 Q. Okay. You were later promoted
12 facility?                                       12 to a position of Warden II. Is that
13 A. My first assignment was Fountain             13 correct?
14 Correctional Facility.                          14 A. Yes, sir.
15 Q. Were you promoted after that?                15 Q. Do you recall about when that
16 A. Yes, sir.                                    16 was?
17 Q. To what position?                            17 A. No, sir.
18 A. Correctional sergeant.                       18 Q. Would it have been before or
19 Q. And when was that?                           19 after 2000?
20 A. I have no idea.                              20 A. I really don't remember.
21 Q. Was it shortly after you began               21 Q. Okay. And do you recall what
22 as a -- you began as a corrections              22 facility that was at?
23 officer?                                        23 A. Holman Correctional Facility.
                                         Page 19                                           Page 21
 1 A. It was somewhere in the                       1 Q. Okay. How did your
 2 neighborhood of three to four years.             2 responsibilities change from being
 3 Q. And do you remember where you                 3 promoted to Warden I to Warden II?
 4 were assigned as a correctional sergeant?        4 A. For Warden II, I was an
 5 A. William A. Donaldson                          5 assistant warden under the Warden III at
 6 Correctional Facility.                           6 the facility. I had certain
 7 Q. And what was your position? Did               7 responsibilities that I don't
 8 you hold that position the rest of your          8 particularly remember right now.
 9 career?                                          9 Q. Okay. Were you promoted to
10 A. No, sir.                                     10 Warden III?
11 Q. What was your next position?                 11 A. Yes, sir.
12 A. Correctional lieutenant.                     12 Q. When was that?
13 Q. And the position after that?                 13 A. I have no idea.
14 A. Correctional captain.                        14 Q. Do you recall what facility you
15 Q. And when were you promoted to                15 were Warden III at?
16 correctional captain?                           16 A. Fountain Correctional Facility.
17 A. Sir, I have no --                            17 Q. Were you promoted to deputy
18 Q. Okay.                                        18 commissioner?
19 A. -- no idea.                                  19 A. Associate commissioner.
20 Q. You were promoted to warden in               20 Q. Was there a position at ADOC
21 1997. Is that right? To a warden,               21 entitled deputy commissioner at one
22 excuse me.                                      22 point?
23 A. I don't know.                                23 A. Yes, sir.
                                                                                 6 (Pages 18 - 21)
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                                      Page 22                                         Page 24
 1 Q. Did you hold that position?             1 often?
 2 A. No, sir.                                2 A. I would meet with them when
 3 Q. After you were -- when you were         3 necessary. I would visit the facilities.
 4 Warden III, were you promoted after that?  4 I would tour the facilities.
 5 A. Yes, sir.                               5 Q. How often would you say you met
 6 Q. To what position?                       6 with them?
 7 A. Institutional coordinator.              7 A. We had regular meetings of
 8 Q. And do you recall when that was?        8 probably quarterly, we'll say, where --
 9 A. No, sir.                                9 in which they're all -- all wardens were
10 Q. Would it have been before or           10 brought in for like quarterly meetings.
11 after 2010?                               11       When I visited the facilities,
12 A. I have no idea.                        12 it could be random. I can't give a
13 Q. As institutional coordinator,          13 specific how often. It was as needed,
14 you were assigned to a facility?          14 basically, or as I felt like it was
15 A. I was assigned to a region.            15 needed.
16 Q. And what was that region?              16 Q. So at your quarterly meetings,
17 A. The northern region.                   17 what would be discussed?
18 Q. And what facilities are in that        18 A. The various things going on in
19 region?                                   19 the department.
20 A. Limestone, William A. Donaldson, 20 Q. And would that be so -- strike
21 St. Clair Correctional Facility, Decatur  21 that. That's a bad question.
22 Community-Based Facility, Hamilton A&I, 22         Would you go to these meetings
23 Hamilton Community-Based Facility, and 23 to report to the wardens things from ADOC
                                      Page 23                                         Page 25
 1 then St. Clair Correctional Facility,         1 commissioner, the commissioner's office?
 2 Elmore Correctional Facility, Draper          2      MS. PUTMAN: Object to the form.
 3 Correctional Facility, Staton                 3 A. The meetings would normally have
 4 Correctional Facility, Alexander              4 an agenda.
 5 Community-Based Facility, Childersburg        5 Q. Okay.
 6 Community-Based Facility.                     6 A. And we generally followed the
 7 Q. And --                                     7 agenda. It could be from discussing
 8 A. I think that's all.                        8 policy, procedures, changes within a
 9 Q. Excuse me, I didn't mean to cut            9 department, things put out by the
10 you off.                                     10 commissioner. A lot of times, the
11 A. Bibb Correctional Facility.               11 commissioner was down himself or would
12 Q. That's a lot of facilities.               12 make an appearance.
13 A. Somewhere in the neighborhood of          13 Q. You mentioned an agenda. Who
14 13 to -- 13 to 15, somewhere.                14 would draft that agenda?
15 Q. And as institutional                      15 A. What position am I at now when
16 coordinator, what was your                   16 you're asking this question?
17 responsibilities with regard to those        17 Q. Institutional coordinator.
18 facilities?                                  18 A. Then normally, the associate
19 A. I basically supervised the                19 commissioner of operations in
20 wardens.                                     20 coordination with the commissioner would
21 Q. And what did that entail?                 21 draft the agenda.
22 A. Can you define?                           22 Q. And do you recall who the
23 Q. So, would you meet with them              23 associate commissioner of operations was
                                                                            7 (Pages 22 - 25)
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                                        Page 26                                           Page 28
 1 while you were institutional coordinator?       1 minutes, no.
 2 A. James DeLoach.                               2 Q. Okay. So you said you visited
 3       THE COURT REPORTER: Say that              3 the facilities as well. Do you recall
 4 again?                                          4 about how often you would visit the
 5       THE WITNESS: James DeLoach.               5 facilities as institutional coordinator?
 6       THE COURT REPORTER: Thank you.            6 A. The goal was to get to all the
 7 Q. Would you discuss the conditions             7 facilities within my region at least once
 8 at the prison at these facilities during        8 per quarter.
 9 these meetings?                                 9 Q. Was that a goal or was that a
10 A. Sometimes.                                  10 regular -- a part of the ADOC
11 Q. Would wardens -- was this an                11 regulations?
12 opportunity for wardens to bring concerns      12       MS. PUTMAN: Object to the form.
13 or issues to you as institutional              13 A. That was my goal.
14 coordinator?                                   14 Q. Okay. Was there a minimum
15       MS. PUTMAN: Object to the form.          15 number of visits required under ADOC
16 A. Yes.                                        16 regulations?
17 Q. And what was it that you were               17 A. No, sir.
18 expected to do with the information you        18 Q. About how many times as
19 received from the wardens?                     19 institutional coordinator did you visit
20 A. Look into it.                               20 St. Clair?
21 Q. And were you responsible for                21 A. For what period of time?
22 addressing the concerns or the issues          22 Q. As institutional coordinator.
23 raised?                                        23 A. Numerous.
                                        Page 27                                           Page 29
 1 A. Yes.                                         1 Q. So you said earlier that your
 2 Q. What kind of issues were raised?             2 goal was to get to each facility once a
 3 Do you recall?                                  3 quarter. Am I recalling that correctly?
 4 A. All kinds.                                   4 A. Yes.
 5 Q. Would the staffing levels at the             5 Q. Did you -- did you achieve that
 6 various facilities be brought up?               6 goal? Were you able to visit each
 7 A. Yes.                                         7 facility once a quarter?
 8 Q. Would violence at the facilities             8 A. No.
 9 be raised?                                      9 Q. So it's safe to say you visited
10 A. Yes.                                        10 St. Clair less than -- less than four
11 Q. Would the -- would contraband at            11 times a year, typically?
12 the facilities be discussed?                   12       MS. PUTMAN: Object to the form.
13 A. Yes.                                        13 A. I probably visited St. Clair
14 Q. Would -- would issues with the              14 more than four times a year.
15 facilities such as fences or locks be          15 Q. Sorry, can you explain that?
16 raised?                                        16 Because you said -- oh, I see. Okay.
17 A. Yes.                                        17 So, why did you -- so, am I understanding
18 Q. Were minutes taken at these                 18 you correctly, you visited St. Clair more
19 meetings?                                      19 than other facilities?
20 A. I don't know. Not -- I don't                20 A. I didn't say that.
21 know. Not -- not to my knowledge, not          21 Q. Well, you said that you did not
22 that -- not minutes as you would take and      22 visit each facility in your region every
23 then everybody would get a copy of these       23 quarter; right?
                                                                                8 (Pages 26 - 29)
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                                          Page 30                                           Page 32
 1 A. Say that again?                                1 any times that I went.
 2 Q. You testified that you did not                 2 Q. Okay. Do you recall any
 3 -- your goal of getting to each facility          3 particular instance where you felt like
 4 every quarter, you did not achieve that;          4 you had to go to St. Clair when you were
 5 correct?                                          5 institutional coordinator?
 6 A. Correct.                                       6 A. Yes.
 7 Q. But you visited St. Clair more                 7 Q. Which instance -- can you --
 8 than four times a year; correct?                  8 which instance was that?
 9 A. Probably.                                      9 A. If they had a major incident
10 Q. So that would mean that you                   10 that was happening. I can recall one. I
11 visited St. Clair more than other                11 was in a -- we were actually having a
12 facilities. Is that right?                       12 wardens meeting in the southern part of
13 A. Not necessarily.                              13 the state and an incident occurred, and I
14 Q. Can you explain that to me?                   14 don't know what the incident was right
15 A. Because there were other                      15 now, but I left that meeting to go to St.
16 facilities I might have visited more than        16 Clair.
17 St. Clair. Just because I didn't -- just         17 Q. So it was significant enough for
18 because I say I went to St. Clair                18 you to leave a meeting?
19 probably more than four times in a year          19 A. Yes.
20 does not mean that I -- there could have         20 Q. Do you recall when that was?
21 been another facility I went to five or          21 A. I do not.
22 six times within a year.                         22 Q. Would that have been -- if there
23 Q. Understood. Yeah. And that                    23 were minutes for a wardens meeting, would
                                          Page 31                                           Page 33
 1 wasn't -- my question was there was at            1 that have been reflected in the minutes?
 2 least one other facility you did not --           2 A. I have no idea.
 3 you visited less than St. Clair?                  3 Q. Okay. As institutional
 4 A. At least one.                                  4 coordinator, were you -- what information
 5 Q. Understood. And how would you                  5 were you provided as institutional
 6 decide which facilities to visit?                 6 coordinator about the facilities?
 7 A. Well, the max facilities within                7 A. Can you be more specif- --
 8 my region I probably visited more than I          8 Q. Sure.
 9 would a work release facility. Their              9 A. -- specific?
10 staffing situations were different.              10 Q. Sure. Were you provided the
11 Day-to-day operations within the                 11 staffing levels for each facility as
12 facilities are different. There are any          12 institutional coordinator?
13 number of things that could take place           13 A. Yes.
14 that would cause me to have to go to a           14 Q. How often?
15 facility. And so the goal being to go at         15 A. I don't recall.
16 least quarterly, but if there was an             16 Q. Was it daily?
17 incident that occurred at a facility and         17 A. I don't recall.
18 I felt like I needed to be on site, then         18 Q. So, I mean -- okay. Were you
19 I would go to the facility.                      19 provided -- did you -- strike that.
20 Q. So, did you feel like you needed              20       Were you provided incident
21 to be on site at St. Clair often?                21 reports from the facilities?
22       MS. PUTMAN: Object to the form.            22 A. Yes, sir.
23 A. I felt like I needed to be there              23 Q. Were you responsible for reading
                                                                                 9 (Pages 30 - 33)
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 1 all those incident reports?                     1 Q. So you would be aware that locks
 2 A. I wouldn't say I was responsible             2 were broken?
 3 for reading them. I tried to read those         3 A. Yes.
 4 that were most critical.                        4 Q. Were you -- as institutional
 5 Q. Were you provided -- strike                  5 coordinator, were you provided
 6 that.                                           6 information as to the capacity of each
 7       Were you provided with duty               7 facility? The inmate capacity, I'm
 8 officer reports?                                8 sorry.
 9 A. Yes.                                         9 A. Yes.
10 Q. Were you provided with I&I                  10 Q. So you were aware if any
11 investigation reports?                         11 facility was operating above its designed
12 A. Maybe some. Not on a regular                12 capacity?
13 basis.                                         13 A. Yes.
14 Q. Were you informed when staff at             14 Q. You were promoted to the
15 the facilities were arrested or otherwise      15 position of associate commissioner in
16 caught breaking regulations?                   16 2014. Is that right?
17       MS. PUTMAN: Object to the form.          17 A. I don't remember the year, but
18 A. Yes.                                        18 yes.
19 Q. Do you recall how often you                 19 Q. Is that -- is that a ballpark?
20 learned that an employee was arrested?         20 A. I don't remember the year.
21 A. Too often, but I can't recall a             21 Q. Okay. You served as the
22 number.                                        22 associate commissioner until 2018. Is
23 Q. You just said "too often." So,              23 that correct?
                                        Page 35                                            Page 37
 1 would one be too often?                         1 A. Yes.
 2 A. One would be too often.                      2 Q. So from 1981 when you started
 3 Q. Understood. And do you recall                3 until 2018 when you ended your career
 4 the circumstances of any of those               4 with Alabama Department of Corrections,
 5 arrests?                                        5 that's about 40 years of experience. Is
 6 A. Contraband, being caught                     6 my math right there?
 7 bringing contraband into the facility.          7 A. It's 35, somewhere in that
 8 That was probably the most prevalent.           8 neighborhood.
 9 Q. And do you recall any of those               9 Q. So, would you say that you had a
10 arrests being at St. Clair?                    10 lot of experience and knowledge about the
11 A. Not specifically, no.                       11 ADOC prison system?
12 Q. But did they occur at St. Clair?            12 A. Yes.
13 A. Yes.                                        13 Q. Can you walk me through your job
14 Q. As institutional coordinator,               14 responsibilities as associate
15 did you review requests for improvements       15 commissioner of ADOC?
16 on the facility?                               16 A. Primarily, I supervised the
17       MS. PUTMAN: Object to the form.          17 regional coordinators, oversaw -- through
18       But you can answer.                      18 the coordinators, oversaw the day-to-day
19 A. I would say yes. Yes.                       19 operations of the facilities, the male
20 Q. So for example, if a -- if there            20 facilities. At one point, I think I had
21 was a request to fix broken locks at a         21 responsibilities for transportation.
22 facility, were you aware of that request?      22 Maybe that was it.
23 A. Yes.                                        23 Q. So I'd like to -- I'm going to
                                                                               10 (Pages 34 - 37)
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                                         Page 38                                            Page 40
 1 hand you what I'm going to mark as               1 Q. So if we go back to the first
 2 Plaintiff's Exhibit 1 here. If I can put         2 page here, you see the box that says
 3 the sticker on.                                  3 "Responsibilities/Results," are these the
 4       Mr. Culliver, do you recognize             4 responsibilities that you had as
 5 this document?                                   5 associate commissioner?
 6 (Plaintiff's Exhibit 1 was marked for            6     (Witness reviews document.)
 7 identification and is attached.)                 7 Q. We can walk through each if
 8 A. Yes.                                          8 that's easier, as well.
 9 Q. Can you tell me what this                     9 A. I'm almost finished.
10 document is?                                    10 Q. Understood. Take your time.
11 A. Employee performance                         11     (Witness reviews document.)
12 preappraisal.                                   12 A. Yes.
13 Q. When have you seen this                      13 Q. So number 2 here says that you
14 document?                                       14 were responsible for developing and
15 A. During a review.                             15 implementing policies and procedures for
16 Q. And so if you look at the top of             16 maintaining the security and safety of
17 this first page here, it says period            17 the inmates, facilities, and surrounding
18 covered from 10/1/2016 to 9/1/2017. You         18 communities. You see that?
19 see that?                                       19 A. It says, "Provides assistance to
20 A. Yes, sir.                                    20 the institutional coordinators in
21 Q. So you testified earlier that                21 developing."
22 you couldn't recall when you were               22 Q. Yes. So as to the
23 promoted to associate commissioner.             23 responsibility for maintaining security
                                         Page 39                                            Page 41
 1 According to this, you were associate            1 and safety of inmates, facilities, and
 2 commissioner at least at the beginning of        2 surrounding communities, so was it true
 3 2016; right?                                     3 that as associate commissioner, you were
 4 A. Yes, sir.                                     4 responsible for ensuring the safety of
 5 Q. Okay.                                         5 all of the inmates in ADOC custody?
 6 A. Or at least in October of 2016.               6 A. In form.
 7 Q. Yes, sir. If you go turn to                   7 Q. Can you explain that?
 8 page 2, next to employee signature,              8 A. One, I wasn't assigned to a
 9 that's your signature; right?                    9 facility specifically, which means I was
10 A. Yes, sir.                                    10 not the day-to-day, on the ground. I
11 Q. And underneath that, there's a               11 didn't work a shift -- or I did
12 line item that says rater's signature?          12 sometimes, but I didn't -- I was not on
13 A. Yes, sir.                                    13 that responsibility. So within the grand
14 Q. Is that Jefferson Dunn's                     14 scope of things, yes, but the information
15 signature?                                      15 I'm receiving is generally after an
16 A. It appears to be, yes.                       16 incident has occurred or if we're having
17 Q. And who was Jefferson Dunn?                  17 staffing issues, then I get a report that
18 A. At this time, he was the                     18 we're having staffing issues, so things
19 commissioner of the Alabama Department of       19 like that.
20 Corrections.                                    20 Q. So you mentioned if you were
21 Q. And was he your direct                       21 having staffing issues. Was it your job
22 supervisor as associate commissioner?           22 if you were told about staffing issues to
23 A. Yes, sir.                                    23 address them?
                                                                                11 (Pages 38 - 41)
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                                       Page 42                                          Page 44
 1 A. To the best of my ability.                  1 correctional officers who were working
 2 Q. So you said that, in form, you              2 admin duties, that you move those
 3 were responsible for the security, not --      3 officers from admin duties and reassign
 4 strike that. That's a bad question.            4 them to a shift. But then, I may have
 5        So you mentioned -- you just            5 been overlooking something that was going
 6 said that you were -- you were required        6 on at the facility that, if we move that
 7 to address staffing issues to the best of      7 admin officer, then this is what happens
 8 your ability. Can you explain that a           8 here.
 9 little bit? What was the best of your          9        So there were suggestions. If
10 ability?                                      10 I -- if I mandated, then they were
11 A. Made aware, officer suggestions            11 responsible for doing it. If I made
12 based on the amount of staff that were at     12 suggestions, then they were suggestions
13 the facility, if we could shift staff,        13 for them to look at, see if it was
14 the number of people that may be assigned     14 feasible, to give me feedback as to
15 to a shift. Do we need to try and shift       15 whether it was or it wasn't.
16 more staff here or there. We would have       16 Q. So, am I understanding you
17 discussions with the wardens about            17 correctly that a lot of your -- a lot of
18 recruiting. Certain places were harder        18 your decisions were informed by
19 to recruit than others.                       19 information you were receiving from the
20        So there were no immediate --          20 wardens?
21 well, I take that back to a certain           21        MS. PUTMAN: Object to the form.
22 degree. We could borrow from Peter to         22        But you can answer.
23 pay Paul. We could borrow from one            23 A. Yes.
                                       Page 43                                          Page 45
 1 facility and try to direct people to           1 Q. And was it your responsibility
 2 another facility if -- those types of          2 to ensure that the information that you
 3 things. Authorized our correctional            3 were receiving was full and accurate?
 4 emergency response team to work at a           4 A. Yes.
 5 facility for periods of time to assist         5 Q. Okay. Did you do that?
 6 with staffing.                                 6 A. I did my best to do it.
 7 Q. And so you said you would offer             7 Q. Okay. And how would you do
 8 suggestions. Once you offered a                8 that?
 9 suggestion, were you responsible for           9 A. I would discuss it with the
10 ensuring whether or not that suggestion       10 institutional coordinators who were
11 was put into action?                          11 direct reports, go on site to actually
12 A. Well, if I offered the                     12 see. From the standpoint of staffing, I
13 suggestion, it was for the warden to          13 received the reports, so I basically
14 review and see if that was going to --        14 would know how bad or how good a facility
15 would work. Then there would be               15 was doing as far as staffing levels were
16 discussions between the warden,               16 concerned.
17 institutional coordinator, and myself as      17 Q. Okay. So -- so you mentioned
18 to what would be best.                        18 that you could give mandates about
19       The warden, being at the                19 staffing. Am I recalling that correctly?
20 facility, should have been more               20 A. I could give mandates about
21 knowledgeable about what the needs of the     21 anything, but staffing was one of those,
22 facility were at a specific time. So I        22 yes.
23 may suggest that you move admin staff,        23 Q. Did you give staffing mandates?
                                                                            12 (Pages 42 - 45)
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                                        Page 46                                             Page 48
 1 A. Probably not.                                1 minute. Going back like you testified
 2 Q. Why not?                                     2 earlier that you were responsible for all
 3 A. Because probably -- I offered                3 -- for the safety of all inmates in ADOC
 4 suggestions. They probably was normally         4 custody in form, so -- and by that, am I
 5 went through with, so there wasn't              5 correct that you were saying that you
 6 necessarily a need.                             6 were responsible, but you weren't the one
 7 Q. I'm sorry, I didn't catch the                7 on the ground implementing that at all
 8 last part of that.                              8 times. Is that -- am I understanding
 9 A. Because when I made a suggestion             9 that correctly?
10 -- if we sit down and talk about               10 A. For the most part, yes. And
11 suggestions to try to make things better       11 that -- that was male facilities, not all
12 for a certain shift or et cetera, then         12 facilities.
13 there wasn't a need for any mandate            13 Q. Understood. So, was that
14 because normally those things were             14 responsibility to ADOC, that was all --
15 followed or there was a better suggestion      15 for security and safety, that was as to
16 that the warden may have or a regional         16 all inmates in these facilities; right?
17 coordinator may have, and we might have        17       MS. PUTMAN: Object to the form.
18 went that direction.                           18 A. All male inmates in male
19 Q. So in that case, if after those             19 facilities?
20 discussions, it was clear that improve --      20 Q. Correct.
21 that nothing had improved even if the          21 A. Yes.
22 suggestion wasn't put into place or it         22 Q. So that didn't depend on the
23 wasn't successful, what was your               23 offense that the inmate may have;
                                        Page 47                                             Page 49
 1 responsibility?                                 1 correct?
 2       MS. PUTMAN: Object to the form.           2 A. It did not.
 3 A. To continue to look for more                 3 Q. And did it -- was an inmate who
 4 ways to try to make the situation better.       4 had more behavioral issues entitled to
 5 Q. And what would you do -- strike              5 less safety?
 6 that.                                           6 A. No.
 7       Can you give me an example of,            7 Q. Okay. Is there anything outside
 8 with regard to staffing, when you looked        8 of the items listed on the first page of
 9 for a new way to make things better?            9 Plaintiff's Exhibit 1 that you were
10 A. As a department, we did any                 10 responsible for as associate
11 number of things. We worked with               11 commissioner?
12 marketing teams to find better ways to         12 A. Not -- nothing that I can
13 reach out to try to get staff. Through         13 specifically say.
14 the legislature, we tried to get salaries      14 Q. We just talked about -- staffing
15 raised, hoping that that would increase        15 is not directly listed on here, but we
16 people who wanted to come and work for         16 just talked about that you were
17 the Department, using an emergency             17 responsible for ensuring staffing; right?
18 response team out of character to a            18 A. I don't think I said I was
19 certain extent to fill voids that we had       19 responsible for ensuring staffing, but
20 in staffing.                                   20 staffing -- staffing issues were brought
21 Q. Was -- are those the only --                21 to my attention, yes.
22 strike that.                                   22 Q. And you were responsible for
23       So I want to step back for a             23 addressing those issues; right?
                                                                                13 (Pages 46 - 49)
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                                           Page 50                                           Page 52
 1 A. Yes.                                            1 when I was a warden.
 2 Q. Were you responsible for any                    2 Q. Okay. And I'm sorry, did you --
 3 budgets?                                           3 do you recall how often they were done?
 4 A. No, sir.                                        4 A. No, sir. There's a -- there's a
 5 Q. Were you responsible for                        5 policy that says that, but I don't -- I
 6 security audits?                                   6 don't recall.
 7 A. Yes.                                            7 Q. Do you know if that policy was
 8 Q. Can you describe to me what a                   8 followed?
 9 security audit is?                                 9      MS. PUTMAN: Make sure and let
10 A. It's a -- it's a mechanism used                10 him finish.
11 to, I would say, grade -- I would use             11      MR. EARL: Excuse me, I'm sorry.
12 that word -- where a facility was in              12      MS. PUTMAN: That's okay.
13 their day-to-day security operations.             13 A. I don't know.
14 Q. And do you recall how often                    14 Q. Is it possible that it wasn't?
15 security audits were required to be               15 A. It is possible.
16 conducted?                                        16 Q. Is it likely that it wasn't?
17 A. No, sir, I do not.                             17      MS. PUTMAN: Object to the form.
18 Q. Do you recall how often they                   18 A. It's possible.
19 were conducted?                                   19 Q. And safe to say all these
20 A. No, sir, I do not.                             20 responsibilities that we've been talking
21 Q. When a security audit was                      21 about, those all applied equally to St.
22 conducted, you were responsible for               22 Clair; correct?
23 reviewing the report from that audit?             23 A. Yes, sir.
                                           Page 51                                           Page 53
 1 A. Yes, sir.                                       1 Q. You were an associate
 2 Q. And what was your responsibility                2 commissioner at ADOC. Were there other
 3 with regard to follow-up from that                 3 commissioners as well?
 4 report?                                            4 A. I don't understand the question.
 5 A. Basically -- basically, I would                 5 Q. So you were an associate
 6 get a -- well, first of all, I don't -- I          6 commissioner. Were there -- and
 7 don't really recall at what point the              7 obviously, you mentioned Jefferson Dunn
 8 Department actually began doing security           8 was the commissioner. Were there other
 9 audits. I just -- I don't recall that.             9 commissioners at ADOC?
10 And it was -- it was phased in over a             10 A. There were deputy commissioners.
11 period of time. But there -- the                  11 Q. And who were they?
12 documents itself and putting a team               12 A. I don't recall. But the
13 together to actually go out and do                13 difference -- the difference was an
14 security audits, I just don't remember            14 associate commissioner is a merit system
15 exactly how many or which facilities              15 in the State of Alabama's merit personnel
16 overall. I cannot recall that.                    16 system. A deputy commissioner is
17 Q. So you said that you couldn't                  17 appointed by the warden -- I mean,
18 recall when security audits began at              18 appointed by the commissioner.
19 ADOC. Did they begin while you were               19 Q. So --
20 associate commissioner?                           20 A. It is not a merit -- it is not a
21 A. They actually began when I was                 21 merit position. They work at the
22 institutional coordinator, I believe. I           22 pleasure of the commissioner.
23 don't recall security audits being done           23 Q. Understood. So, are you saying
                                                                                 14 (Pages 50 - 53)
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                                        Page 54                                           Page 56
 1 that as associate commissioner, you held        1 I can't remember it all.
 2 a higher rank than they did?                    2 Q. I'm sorry. So, can you -- let's
 3 A. No, sir.                                     3 do it this way. Can you describe the
 4 Q. So if they -- I guess my                     4 deputy commissioner position?
 5 question is, what is the difference             5 A. I just did.
 6 between a merit position and a position         6 Q. Well, you said that they had two
 7 serving at the pleasure of the                  7 or three divisions under them. I'm not
 8 commissioner?                                   8 -- that doesn't tell me what they do.
 9 A. Merit -- a merit position in the             9 A. They do the same thing the
10 State of Alabama's personnel policies, I       10 associate commissioners do (indicating),
11 mean, there is -- the commissioner cannot      11 but it's not within their -- how they got
12 just fire me. You know, I don't work at        12 the position is primarily the difference.
13 the pleasure of the commissioner. I have       13 Their day-to-day jobs are the same. They
14 a merit job, and as long as I meet these       14 have responsibilities for whatever
15 standards (indicating), et cetera, my job      15 divisions that they are responsible for.
16 should be secure.                              16 Q. So, were their responsibilities
17       A deputy position, the                   17 overlapping with yours?
18 commissioner has the opportunity to            18 A. In one -- I don't -- I could --
19 appoint whomever he chooses or she             19 yes. I mean, somewhat in all of them
20 chooses to that position, and whenever he      20 they overlap, because if the system's --
21 gets ready or she gets ready to release        21 if the IT system is not working in the
22 them, they can do that without --              22 facilities, that's a problem for me, so
23 particularly without cause. I mean, it         23 we -- yes, we had to go back and forth.
                                        Page 55                                           Page 57
 1 doesn't have to be a cause.                     1      One of the -- one of the
 2 Q. Understood. So, do you                       2 positions had to do with maintenance, and
 3 recall -- you don't recall any of the           3 so the same. If it wasn't -- if it was a
 4 deputy commissioners that you -- that           4 problem in a facility, because a deputy
 5 were serving while you were associate           5 commissioner was actually over our
 6 commissioner?                                   6 engineering, then that's a problem for me
 7 A. I can try to give you positions              7 as well.
 8 or responsibilities.                            8 Q. So, are you saying that the
 9 Q. I'm sorry, I'm asking for names.             9 deputy commissioner position was
10 A. Bran, that's the only person                10 organized by category? So you said
11 that comes to mind at the moment, but          11 there's a deputy commissioner of
12 there were more. I can't -- I can't even       12 engineering, or maintenance. Is that --
13 remember the positions at this moment,         13 so deputy commissioners were assigned to
14 sir.                                           14 specific subject areas?
15 Q. And now the question I think you            15 A. Yes.
16 thought I was asking, which is, do you         16 Q. Okay. So, was it -- but, and
17 recall what their responsibilities were?       17 then -- so there were multiple deputy
18 A. One of the areas was information            18 commissioners per group of facilities.
19 systems. One was administration, I             19 Am I --
20 think. One dealt with information              20 A. I don't think the deputy
21 systems. And they -- the deputy                21 commissioners -- they weren't -- there
22 commissioner slots would normally have         22 wasn't a facility they were presiding.
23 about two to three divisions under them.       23 They were deputy commissioners within the
                                                                              15 (Pages 54 - 57)
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                                        Page 58                                          Page 60
 1 Department of Corrections, not like an     1 responsibilities without reviewing the
 2 institutional coordinator who was          2 incident reports?
 3 assigned certain facilities to be          3 A. Probably, yes.
 4 responsible for.                           4 Q. How would you do that?
 5 Q. Understood. So, and this is --          5 A. I don't know.
 6 and you answered a little bit of this.     6 Q. Okay. Would you review duty
 7 But could you just give me an overview of 7 officer reports?
 8 the hierarchy at ADOC from commissioner 8 A. Yes.
 9 to associate commissioner and on down?     9 Q. Were you responsible for
10 A. You have commissioner, chief of        10 reviewing the duty officer reports?
11 staff. Associate commissioners were       11 A. It's not listed here.
12 equal across, and the deputy              12 Q. Could you do -- could you
13 commissioners were -- if you look at an   13 achieve these goals without reviewing
14 org chart, it goes across, straight       14 duty officer reports?
15 across. You got a commissioner. To the    15 A. Yes.
16 left or to the right, you have his        16 Q. Is there a way to fully
17 executive secretary. Directly up under    17 understand the -- the events occurring in
18 that, you would generally have a chief of 18 a facility without reviewing the incident
19 staff. And from there, (indicating).      19 reports?
20 Q. And so, I think we talked              20 A. I don't know if it is.
21 earlier about what information you were   21 Q. So when your job responsibility
22 provided as institutional coordinator.    22 is to provide assistance to the
23 Were you provided -- was the information 23 institutional coordinators in developing
                                        Page 59                                          Page 61
 1 you were provided as associate                  1 and implementing policies and procedures
 2 commissioner any different?                     2 for maintaining the security and safety
 3 A. Not specifically. But                        3 of the inmates, facilities, and
 4 conversations with chief of staff and           4 surrounding circumstances and you just
 5 commissioner -- the commissioner were           5 testified that there's no way -- you
 6 separate from -- you know, I may share --       6 don't know if there's a way to do that,
 7 depending on what that information was,         7 to ensure -- to understand the security
 8 that information may be shared with the         8 at a prison without reviewing the
 9 institutional coordinators, and it may          9 incident reports. Is that right?
10 filter down to the wardens or it may not.      10       MS. PUTMAN: Object to the form.
11 It just -- just depended.                      11 A. Yes. The caveat to that is I
12 Q. So as associate commissioner,               12 grew up in corrections, from a
13 you received incident reports?                 13 correctional officer trainee to the
14 A. I had access.                               14 position I retired from, and so it was a
15 Q. Were you responsible for                    15 natural thing for me to delve into that,
16 reviewing them?                                16 or to try to see what happened.
17 A. There's no way I could review               17       If you were -- if you are
18 all of them.                                   18 outside of corrections or if you don't
19 Q. That's not what I asked.                    19 have a hands-on approach, yes, because
20 A. I don't know if that was part of            20 that information can be provided to you
21 -- it's not listed in here as a                21 without you reading the incident report.
22 responsibility, so I would say no.             22 Q. But that information requires
23 Q. Is it possible to fulfill these             23 that you're getting full and accurate
                                                                             16 (Pages 58 - 61)
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                                        Page 62                                           Page 64
 1 reporting from wardens and institutional        1 it upon myself, it was my -- my thought
 2 coordinators. Is that right?                    2 was to -- in order to keep a pulse
 3 A. Yes.                                         3 because that -- once you get to this
 4 Q. So if you're relying solely on               4 level within the department, some people
 5 the information from institutional              5 tend to kind of let that go, separate.
 6 coordinators and wardens, is there any          6 Or I wouldn't say let it go, but they
 7 way to be ensuring that you're getting          7 separate themselves from that to a degree
 8 the full view of the circumstances at a         8 because there -- there are people under
 9 prison?                                         9 you that are supposed to be doing their
10 A. I think -- I think yes.                     10 job and doing that. And the person that
11 Q. Solely by relying on the                    11 is at this level generally has things
12 information --                                 12 reported to them. And I think if you --
13 A. If you trust the people that                13 if you check across the country and
14 you're relying on, yes.                        14 people at this level, that's generally
15 Q. And did you ever not trust                  15 how that works.
16 anyone you were relying on?                    16       But I grew up in this, so it was
17 A. I can't answer that question.               17 an interest to me; it was a concern to me
18 Q. Because you don't know or?                  18 because I was concerned for the staffing
19 A. Because I tried to read through             19 and inmate welfare within the facilities.
20 reports -- can I -- can I just provide a       20       And so we can go back to your
21 caveat about incident reports?                 21 questions now. I just -- I don't -- I
22 Q. Please.                                     22 don't know how much you know about the
23 A. Okay. So duty officer reports               23 system and how reports come and the
                                        Page 63                                           Page 65
 1 -- and this could have changed in the           1 differences in a Class A, a Class B, a
 2 last four years. I have no idea. And            2 Class C report.
 3 really, I'm struggling with this because        3 Q. Well, and that's a good -- well,
 4 I divorced myself from corrections. I           4 I guess I'll start here. I do just want
 5 really have little or nothing to do with        5 to clarify. So everything I'm asking you
 6 that. Okay? So.                                 6 is about your experience while you were
 7        But the incident reports, a duty         7 there. So you mentioned you don't know
 8 officer report is considered -- you get a       8 how it is now. I'm solely limiting it to
 9 duty -- a duty officer report goes out if       9 your --
10 it's a Class A or a Class B incident.          10 A. I understand that.
11 Okay? And the associate commissioner of        11 Q. Yeah.
12 operations at the time that I was there        12 A. But in my caveat to try to
13 would automatically get those reports.         13 explain that to you, I'm saying that all
14 They were e-mailed to you. Twenty-three        14 this could have changed, whatever, but
15 facilities, that could be a hundred            15 this is the way it was when I was there.
16 reports in a 24-hour period, but -- not        16 Q. Understood.
17 likely, but it could be. So those --           17 A. Yeah.
18 those come, and I did my best to try and       18 Q. I just wanted to make that
19 at least scan those reports.                   19 clear.
20        Class A incidents, I won't say          20       So to your point, can you please
21 that I've read each and every one of           21 define a Class A incident to me?
22 those duty officer reports, but I would        22 A. I can't give you what they were
23 say 95 percent of them, I did. So I took       23 specifically. A homicide was, a suicide
                                                                              17 (Pages 62 - 65)
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                                         Page 66                                             Page 68
 1 was, a natural death was. Depending on           1 A. No, not necessarily. Class A
 2 the level, an act of violence, it could          2 and Class B reports, I didn't read a lot
 3 be. And there are others, but those are          3 of Class A and Class B reports per se,
 4 things that come to the top of my head.          4 but I read duty officer reports.
 5 Q. Who was responsible for                       5       A duty officer report and an
 6 classifying an incident as Class A or            6 incident report are two different things.
 7 Class B?                                         7 They start out the same, but they are --
 8 A. There is a policy --                          8 they are different.
 9 Q. Okay.                                         9 Q. Can you explain that difference
10 A. -- in place in the -- and the                10 to me?
11 type of incident that occurred, if the          11 A. A duty officer report basically
12 policy -- if the policy is followed, then       12 gives a synopsis, and it's the first --
13 you just follow the policy. So the list         13 the first viewing so that the powers that
14 of incidents, the list of type, there's a       14 be know that we had this major incident
15 whole range of list of types of                 15 at a facility, and then it's followed up
16 incidents, and they are broken down into        16 with an incident report that goes into
17 Class A, Class B, and Class C.                  17 greater detail about what actually
18 Q. And what was the difference                  18 happened.
19 between Class B and Class C incidents?          19 Q. So for every incident, there was
20 A. Class B, I can't give you a good             20 an incident and a duty officer report?
21 example, but I -- because this may not be       21 A. I don't remember. I know duty
22 right. But say a Class B may be a fight,        22 officer reports were done for the A and
23 a fistfight.                                    23 B. I don't think a duty officer report
                                         Page 67                                             Page 69
 1       A Class C would be -- it could             1 is done for a C incident.
 2 be -- there's a whole variety of those.          2 Q. Understood. And you reviewed
 3 But it could be basically failure to             3 duty officer reports or incident reports?
 4 obey, when an inmate failed to do what an        4 A. Duty officer reports.
 5 officer told them to do. It didn't lead          5 Q. So, were there too many duty
 6 to any use of force. It didn't -- and            6 officer reports coming in to you to
 7 none of those things happened. He simply         7 review?
 8 just failed to do what he was told.              8 A. I read all duty officer reports.
 9 Q. So you mentioned that there                   9 I can't say that I never missed reading
10 might be -- and there might be a hundred        10 an A or B. I would pretty much -- and I
11 reports e-mailed to you in a day. Is            11 -- I'll say any and every A report that
12 your testimony that you didn't review all       12 ever came in, I -- unless I was sick or
13 of the reports that came to you because         13 wasn't there or on vacation or whatever,
14 there were too many to review?                  14 even coming back off of vacation, I'm
15       MS. PUTMAN: Object to the form.           15 trying to catch that up. Actually, my
16 A. I reviewed -- ask the question               16 phone stayed with me all the time so
17 again.                                          17 there was no vacation for real if you
18 Q. I'll ask it this way. Were                   18 asked my wife, so. She just says I
19 there too many reports coming in to you         19 worked all the time, and I am a
20 of Class A, Class B incidents for you to        20 workaholic, so that was the -- there were
21 review?                                         21 numerous A and B reports coming in daily.
22       MS. PUTMAN: Object to the form.           22 I would not say that there was too many,
23       But you can answer.                       23 no.
                                                                                18 (Pages 66 - 69)
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                                         Page 70                                           Page 72
 1 Q. You mentioned earlier that there              1 -- the one person I would say was Edward
 2 are certain people who get to your level         2 Ellington, and his experience -- that's
 3 that separate themselves. Can you                3 probably not right, either.
 4 describe -- can you explain what you             4       My confidence level in Edward
 5 meant by that?                                   5 Ellington and Cheryl Price was different.
 6 A. I think it's like any executive               6 Cheryl Price I had worked with in
 7 in any other profession. So you're an            7 facilities for years in and out. We
 8 attorney. If you aspire to be the                8 basically started corrections
 9 attorney general of a state, you're not          9 approximately the same time. We were at
10 going to be able to keep up with                10 one facility together for a number of
11 everything that goes on across that state       11 years.
12 every day. You have people in place.            12       Edward Ellington, I didn't have
13 There are certain cases that will be of         13 any -- I didn't have any real outside
14 greater interest to you than others for         14 work with him. He came -- as a
15 whatever reason.                                15 coordinator, I had not necessarily worked
16       So it's -- it's no different.             16 with him in the field. And he had been
17 The Department of Corrections is no             17 in women's services or at a women's
18 different. The warden -- I felt my job          18 facility, and so our contact was not
19 as associate commissioner was -- I didn't       19 nearly as great, and so my confidence
20 have -- I didn't need a commissioner. I         20 level was not as secure with him as it
21 didn't need for everything to have to run       21 was with Cheryl Price.
22 to him or somebody to have to go to him         22 Q. So, what was Edward Ellington's
23 to get an answer. He had enough trust in        23 position?
                                         Page 71                                           Page 73
 1 me. He fired me one time, then he hired          1 A. Institutional coordinator,
 2 me back. He had enough trust in me to --         2 regional coordinator.
 3 "This is your responsibility."                   3 Q. And Cheryl Price's position?
 4       And when there was something               4 A. Same.
 5 that I felt he needed to know, then I            5 Q. And had -- do you recall how
 6 would make sure he knew.                         6 long you worked with Edward Ellington?
 7 Q. So -- and you mentioned this                  7 A. No, sir.
 8 earlier as well, that a lot of this              8 Q. Was it more than one year?
 9 involves having trust in the people              9 A. Yes, sir.
10 reporting to you. Is that right?                10 Q. Was it more than two?
11 A. Yes, sir.                                    11 A. I don't know. I don't -- I
12 Q. Were there people that were                  12 really don't recall.
13 reporting to you that you didn't trust?         13      I will also say that, to just
14 A. I would say there were people                14 put that into context, Gwen Mosley and I
15 that reported to me that I trusted more         15 were institutional coordinators together.
16 than others.                                    16 When I was promoted to associate
17 Q. Who were the people you trusted              17 commissioner, I had more confidence in
18 less?                                           18 Gwen Mosley than I did in Cheryl Price
19 A. Just people.                                 19 because we were -- we were there
20 Q. You don't recall any names?                  20 together. We -- I made warden, and she
21 A. Yeah. Yes, I do.                             21 was a warden, so.
22 Q. Who were those people?                       22 Q. Did Mr. Ellington ever do
23 A. Well, people I -- the one person             23 anything that caused you to not to trust
                                                                               19 (Pages 70 - 73)
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                                       Page 74                                           Page 76
 1 him?                                           1 meeting that you attended. Is that
 2 A. Not that I can recall.                      2 right?
 3 Q. So, do you recall ever reviewing            3 A. Yes.
 4 -- strike that.                                4 Q. And is that where -- is that
 5       So stepping back to your                 5 when requests would be approved or not
 6 position as associate commissioner of          6 approved?
 7 operations, you received -- we just            7 A. I won't -- I don't know. And I
 8 talked about incident reports and duty         8 say I don't know. In some cases, yes.
 9 officer reports. You received I&I              9 And then in some cases, funding may have
10 investigation reports?                        10 had some implications on that. So for
11 A. I don't recall. If I did, it               11 the most part, the answer would be yes.
12 was not on a regular basis.                   12 But, I mean, an item -- an item could be
13 Q. What about homicide reports?               13 pushed back or taken off, but it didn't
14 A. Homicide reports from?                     14 need my authorization to do that, but --
15 Q. Were there specific -- were                15 you know.
16 there reports that were distributed           16       So sometimes -- sometimes there
17 specifically geared towards homicides         17 was -- one thing may have been a priority
18 when homicides occurred in the                18 at this point, but before that project
19 facilities?                                   19 was began, there may -- something else
20 A. The same, duty officer report,             20 may come up, and that project had to be
21 duty officer report, incident report.         21 pushed back and something else took
22 Q. Understood. What about requests            22 precedence.
23 for repairs at facilities?                    23 Q. But safe to say -- strike that.
                                       Page 75                                           Page 77
 1 A. They -- to the best of my               1       So any requests for facility
 2 recollection, they went to engineers. So   2 repairs would be coming through this
 3 each facility has a maintenance staff,     3 meeting, though. Is that correct?
 4 and it depended -- sometimes it would      4 A. Major.
 5 depend on the level of -- at some point,   5 Q. What would be considered a major
 6 irregardless, because there were -- there  6 request?
 7 were meetings. There was a committee or    7 A. Anything that needed capital
 8 a team that met, I want to say once a      8 funding, emergency-type situations, and
 9 month, maybe biweekly. I can't recall.     9 then just different projects. If
10 But the deputy commissioner over          10 Tutwiler needed more activity space, that
11 engineers, the -- I don't know the title, 11 might be on that list. I mean, it's.
12 but the person that was over -- actually  12 Q. What projects would require
13 over engineers itself. I know it sounds   13 capital funding?
14 redundant, but there was another person   14 A. I think it had to do with how
15 that was under the deputy commissioner    15 much funding was needed. I can't recall
16 that basically ran engineers, the         16 that specifically, but yes.
17 day-to-day. The deputy commissioner over 17 Q. And who was responsible for
18 women's services, myself, and the         18 classifying a situation as an emergency
19 accounting director, and there would      19 or not?
20 sometimes be other people at the table.   20 A. At the end of the day, I think
21 But when requests were made, that was the 21 it would be a collaboration between the
22 process that we kind of went through, so. 22 deputy commissioner of engineers and
23 Q. But that process ended with a          23 myself if it was a male facility.
                                                                             20 (Pages 74 - 77)
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                                      Page 78                                          Page 80
 1 Q. So --                                      1 A. Rarely.
 2 A. And then --                                2 Q. And safe to say you didn't
 3 Q. Oh, I'm sorry.                             3 attend QIT meetings?
 4 A. And then the accounting                    4 A. I don't even know that that
 5 director.                                     5 existed when I was at -- I don't know
 6 Q. Understood. So, does that mean             6 what a QIT meeting is.
 7 that you received and reviewed every          7 Q. What about memoranda, do you
 8 request for repairs at a facility?            8 recall receiving memoranda?
 9 A. No.                                        9 A. Yes.
10 Q. So if you were responsible for            10 Q. From whom?
11 deeming whether a request was an             11 A. The wardens. I mean, I got them
12 emergency or not, how would you be able      12 from up and I got them from down, I mean.
13 to do that without reviewing each            13 Q. And what would -- do you recall
14 request?                                     14 any specific examples that you received?
15 A. I can't give you an answer for            15 A. It could be about almost
16 that.                                        16 anything.
17 Q. Okay. As associate commissioner           17 Q. What would be the reason for you
18 of operations, would you review meeting      18 receiving a memoranda?
19 minutes?                                     19 A. I can't give you anything
20 A. What kind of minutes?                     20 specific. I could just be copied. I
21 Q. Meeting minutes.                          21 can't -- I can't tell you. I can't tell
22 A. Meeting minutes of what?                  22 you.
23 Q. Security staff meeting minutes.           23 Q. I guess what I'm asking is, what
                                      Page 79                                          Page 81
 1 A. For a facility?                       1 would be the reason for putting something
 2 Q. Yes.                                  2 in a memoranda versus a phone call or
 3 A. No.                                   3 discussing it at a meeting?
 4 Q. What about staff meeting minutes      4 A. It doesn't say in writing if
 5 at a facility?                           5 they didn't write it then.
 6 A. No.                                   6 Q. Understood.
 7 Q. What about quality improvement        7      So I want to go back quickly to
 8 team meeting minutes?                    8 our discussion about Mr. Ellington. So
 9 A. What is quality improvement team      9 you mentioned that you didn't trust him
10 minutes?                                10 as much as you trusted others. Is that
11 Q. Well, that's a question for you,     11 right?
12 I think. Do you know? You know what the 12      MS. PUTMAN: Object to the form.
13 quality improvement team is? What about 13 A. Confidence, I didn't have as
14 QIT?                                    14 much confidence.
15 A. I don't.                             15 Q. So if you didn't have as much
16 Q. I'm sorry, you still don't?          16 confidence in him, yet he reported to
17 A. I don't. It doesn't ring a           17 you, how did you bridge that gap?
18 bell.                                   18 A. I don't know. I don't think
19 Q. Okay. Would you attend any of        19 that was hard. I mean, just like working
20 these? Would you attend security staff  20 with you, I probably wouldn't have a
21 meetings?                               21 whole lot of confidence in you, but if
22 A. Rarely.                              22 you had a job to do or if I had a job to
23 Q. What about staff meetings?           23 do for you, I'm going to do my job.
                                                                           21 (Pages 78 - 81)
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                                        Page 82                                            Page 84
 1 Q. So --                                        1 reports or indirect?
 2 A. So until I -- and I tried to --              2 Q. Both.
 3 I tried to go back and explain that.            3 A. Direct reports, I wouldn't say I
 4 Your term was "trust," and I agreed to          4 was -- I wouldn't say it was -- I
 5 trust, but it was about confidence, the         5 wouldn't say it was a responsibility. It
 6 amount of confidence I had in that              6 is in one way, but it is not. I was
 7 particular person.                              7 going to make sure that the information
 8       And so I think the more you work          8 that I got, I was -- I was looking to
 9 with a person, you learn more things            9 make sure that was correct.
10 about them, then, you know, your level of      10        But as I said, though, as the
11 confidence or your level of trust goes up      11 confidence level -- if every time you
12 with them.                                     12 bring me something, that's it, then I'm
13 Q. So as part of your role, would              13 going to pay less and less attention to
14 you -- was part of your role to review         14 what's in the small print than I -- than
15 information to ensure that you could --        15 I would.
16 you could trust the people reporting to        16 Q. I'm sorry, can you explain that
17 you?                                           17 a little bit? What did you mean by
18 A. It was natural. I don't know.               18 you'll "pay less and less attention to
19 It's not part of a role, at least I don't      19 what's in the small print than I would"?
20 think. I think people do that without          20 A. It's the same analogy that I
21 doing it. But for me, I think it's a           21 just gave you about being the attorney
22 natural thing. So if you tell me               22 general. It's the same.
23 something and then I find out you lied to      23        If you work with someone on a
                                        Page 83                                            Page 85
 1 me, then that's an issue. So, you know,         1 day-to-day basis and the information that
 2 if you tell me something and you                2 they bring you is accurate -- I mean,
 3 consistently tell me things and I find          3 when you first start, you may
 4 out what you were telling me is correct,        4 double-check that; right? Or you may
 5 then I double-check less and move forward       5 talk to somebody else about that to see.
 6 more.                                           6 If it doesn't sound right to you, if it
 7 Q. Do you recall a situation where              7 doesn't sound like the norm, then you may
 8 someone lied to you?                            8 say, well, I don't think that's happened
 9 A. I do not.                                    9 before or that doesn't sound right, so
10 Q. What about performance, would               10 you may look it up. But as your
11 you review information you received to         11 confidence -- my confidence builds up in
12 ensure that the people reporting to you        12 you, then less and less do I go back
13 were performing to your standards?             13 trying to double-check that.
14 A. Repeat the question, please?                14 Q. So, was accuracy the main factor
15 Q. Would you review the information            15 you considered in whether you trusted a
16 received, whether it be the duty officer       16 subordinate or not?
17 reports or other information, to ensure        17        MS. PUTMAN: Object to the form.
18 that the people reporting to you were          18 A. I guess that's kind of hard for
19 meeting your standards?                        19 me to say. I don't know. I never
20 A. Direct report or indirect?                  20 thought about it before. I never thought
21 Because I only had three people,               21 about how my thought process got me to
22 literally, that directly reported to me.       22 where I was where I trust somebody or
23 So, are you -- are you specifying direct       23 have confidence in them.
                                                                               22 (Pages 82 - 85)
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                                         Page 86                                           Page 88
 1 Q. Well, so, for example, if you --        1 phone and call the warden at the
 2 if you received a memoranda that was       2 facility. And what the warden or the
 3 accurate and accurately detailed an        3 duty officer at the facility reported to
 4 incident but the facts of that incident    4 the regional should have been the same
 5 suggested that the person didn't do their  5 thing the regional reported to me. So we
 6 job correctly or was not meeting quality   6 should stay -- we should be in the same
 7 standards under that position, would that  7 thing. So that -- that's not like every
 8 be something you would be looking for?     8 time, but it just depends.
 9       MS. PUTMAN: Object to the form.      9       I don't know if I answered your
10 A. Repeat, please.                        10 question or not. I just -- that's how --
11 Q. Yeah, that was not a good              11 I guess indirectly and maybe without even
12 question, I apologize.                    12 knowing it, that's how I was validating
13       MS. PUTMAN: Hey, can we take        13 this. But as I think about how the
14 about a five-minute break?                14 validation would come about, those are
15       MR. EARL: Yeah.                     15 the types of things that I would do.
16       MS. PUTMAN: Okay.                   16 Q. So, do you recall a situation
17       THE VIDEOGRAPHER: We're going 17 where you felt like you needed to call
18 off the record at 10:25.                  18 the warden about a report you received?
19          (Break taken.)                   19 A. Not specifically, no.
20       THE VIDEOGRAPHER: We're going 20 Q. So for example, if you reviewed
21 back on the record at 10:37.              21 a duty officer report that stated that an
22 Q. (By Mr. Earl) Mr. Culliver,            22 inmate was stabbed but the duty officer
23 before we took a break, you mentioned     23 report didn't classify the category of
                                         Page 87                                           Page 89
 1 that you were confident in people                1 incident as involving a weapon, would
 2 reporting to you if they gave you                2 that raise issues with you?
 3 accurate information. Do you recall              3       MS. PUTMAN: Object to the form.
 4 that?                                            4       But you can answer.
 5 A. Yes, sir.                                     5 A. Please repeat.
 6 Q. What did you do to confirm that               6 Q. So if, for example, you reviewed
 7 the information being given to you was           7 a duty officer report where the narrative
 8 accurate?                                        8 explains that an inmate was stabbed but
 9 A. I'm going to use a scenario.                  9 the incident -- the classification of the
10 Let's say I write the -- I read over a          10 incident does not indicate that it
11 duty officer report. If there was a             11 involved a weapon, so for example, the
12 Class A, a Class B incident, particularly       12 incident is classified as an assault but
13 Class A -- we'll stick with Class A.            13 it doesn't say assault with a weapon,
14       If there was a Class A incident,          14 would that raise issues of concern for
15 if the regional coordinator -- and let's        15 you?
16 say it took place after hours. If I             16       MS. PUTMAN: Object to the form.
17 didn't hear from the regional coordinator       17 A. That's -- there's a concern
18 after hours, then that's my first stop          18 there, but I'm not going to turn
19 that morning to find out who they talked        19 cartwheels about it. I'm not. That's a
20 to, da, da, da, and then I may have some        20 -- I think you would have to actually
21 questions about the report. If there was        21 understand the inner mechanics of the --
22 a Class A report -- it just depended on         22 of the system of how the module is set up
23 what it was -- then I may pick up the           23 and how that module works to be able to
                                                                               23 (Pages 86 - 89)
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                                        Page 90                                           Page 92
 1 do that.                                        1 you get to type of incident, there's a
 2       If you say there was an assault           2 list of types of incidents that you do.
 3 and I read in the narrative that it was a       3       If it was a homicide, it was --
 4 stabbing or believed to be a stabbing, if       4 there's got to be an A. It won't -- the
 5 it said they didn't find a weapon or the        5 module won't move forward because that's
 6 questions didn't mention a weapon, then         6 a Class A. You cannot put that's a Class
 7 at that particular time when that               7 C incident in. It won't take it, or it
 8 happened, when that person that was doing       8 shouldn't take it. I won't say it won't,
 9 that, that's what they had was an assault       9 but it should not take it.
10 that they didn't really know. It's -- I        10       So, does that --
11 wouldn't say that it's easy to say, you        11 Q. Yeah. I guess, are the -- is
12 know, if I had a puncture wound in my          12 what is input into that module stored
13 side that something happened, but I could      13 somewhere?
14 have fell on a bed, so I might not know.       14 A. Yes.
15 So that could raise -- it would have to        15 Q. Is there a database?
16 -- there would have to be more details         16 A. Yes.
17 involved for me to say, "Why you didn't        17 Q. Do you know how long that
18 do this assault with a weapon as opposed       18 database was in place?
19 to assault?" And that's not a -- that's        19 A. Not specifically, but quite a --
20 really back to the regional coordinator        20 Q. Was --
21 because the regional coordinators              21 A. -- quite a while.
22 actually supervise the wardens. And I do       22 Q. -- that in place while you were
23 too, but it's.                                 23 an institutional coordinator?
                                        Page 91                                           Page 93
 1 Q. So if, for example, the                      1 A. Yes.
 2 narrative was specific enough to say that       2 Q. Was that in place while you were
 3 the inmate was stabbed, but in the              3 a warden?
 4 scenario I'm talking about, occurred            4 A. Yes. Before I -- before I was
 5 where the duty officer report doesn't           5 promoted, I'm pretty sure that was in
 6 classify it as involving a weapon, then         6 place. I'm not totally sure, but yes.
 7 that would be concerning to you?                7 Q. And was there a specific name
 8 A. I would want to know why.                    8 for that database?
 9 Q. That would be inaccurate                     9 A. I'm not sure I understand the
10 information; right?                            10 question.
11       MS. PUTMAN: Object to the form.          11 Q. How was it referred to? Was it
12 A. I would need to know why. I                 12 called the incident database? Was it
13 would need to know the why first before I      13 called -- is there some way it was
14 could say that was actually inaccurate.        14 referred to within ADOC?
15 Q. Mr. Culliver, you mentioned the             15 A. Incident module.
16 term "module." Can you explain to me           16 Q. Incident module. Okay.
17 what that is?                                  17 A. Or incident report module
18 A. I tried already. It's -- so the             18 sometimes.
19 reports are done on a computer, and            19 Q. And who had access to that
20 there's a module, there's an incident          20 incident report module? The database, I
21 report module that you click an app and        21 mean, not the --
22 it takes you to the app. And it's like         22 A. Not (indicating)?
23 filling a form (indicating), you know, so      23 Q. I don't mean the individual
                                                                              24 (Pages 90 - 93)
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                                        Page 94                                            Page 96
 1 reports but the database itself.                1 not the thing. And I don't know what
 2 A. So I'm probably a little slow                2 other commissioners actually had access
 3 with the technical terminology, so you          3 to the reports. I don't know.
 4 probably need to break that down in order       4 Q. Okay. And that would be -- that
 5 to --                                           5 would contain every duty officer report,
 6 Q. So I guess what I'm asking is,               6 so that's A, B, and C?
 7 right, all -- so an incident occurs. The        7 A. Yes, sir.
 8 officer who dealt with it puts in a duty        8 Q. Going back to how you measured
 9 officer report; correct?                        9 your confidence in your subordinates,
10 A. Correct.                                    10 aside from accuracy, was there any other
11 Q. That duty officer report is                 11 instance or -- strike that.
12 generated in this module.                      12      Aside from accuracy, was there
13 A. Correct.                                    13 anything else that could occur that would
14 Q. Correct? That duty officer                  14 cause you to lose confidence in your --
15 report is then -- the report itself is         15 in the people reporting to you?
16 then disseminated presumably to the            16 A. I can't think of anything.
17 warden, to the institutional coordinator,      17 Q. So for example, if you had --
18 then to you. Is that right?                    18 even if you had received accurate
19 A. That's correct. Well,                       19 information but that information
20 simultaneously, but yes.                       20 suggested that the employee was
21 Q. Understood.                                 21 underperforming or -- would that cause
22 A. Yeah.                                       22 you to lose confidence in them?
23 Q. And then that duty officer                  23      MS. PUTMAN: Object to the form.
                                        Page 95                                            Page 97
 1 report is also saved somewhere with the   1 A. I don't -- I don't know
 2 duty officer reports from the day before  2 specifically. I can't answer that
 3 and the day before and the day before.    3 specifically. It would probably have to
 4 Is that right?                            4 -- it would probably depend on what it
 5 A. Correct.                               5 was.
 6 Q. Who has access to the repository       6 Q. So, were you reviewing -- strike
 7 of incident reports? Can anybody at ADOC 7 that.
 8 access that, that database?               8       As your -- in your role as
 9 A. At the facility -- I'm not             9 associate commissioner of operations, did
10 positive, but at the facility, unless    10 you review and analyze things to decide
11 it's marked confidential, then if you    11 and ensure that the people underneath you
12 have access to the incident module, you  12 were doing their jobs?
13 use that. But if I'm at Hillbrook and it 13 A. They had results and
14 happened at Ocean View, the people at    14 responsibilities just like I did
15 Ocean View can view Ocean View reports, 15 (indicating). That's part of my job is
16 people at Hillbrook can review Hillbrook 16 to do that, yes.
17 reports.                                 17 Q. So you were evaluating their
18       As it comes up, then the           18 performance?
19 institutional coordinators and myself,   19 A. Yes.
20 the associate commissioner, I'm fairly   20 Q. And do you recall any instance
21 sure that the commissioner had access. I 21 where you had concerns or issues with
22 don't know about chief of staff because  22 someone's performance?
23 that really wasn't -- the security was   23 A. Not specifically, no, sir.
                                                                               25 (Pages 94 - 97)
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                                        Page 98                                         Page 100
 1 Q. Did it ever happen?                          1 Q. So, how can you do that when
 2 A. I don't know.                                2 you're only relying on him to bring
 3 Q. Okay. So --                                  3 issues with his direct reports to you?
 4 A. I can't -- I can't remember a                4       MS. PUTMAN: Object to the form.
 5 time where -- I mean, so the coordinators       5 A. Repeat, please.
 6 were -- one was two offices down and the        6 Q. If the way in which you were
 7 other one was three offices down from me.       7 evaluating whether employees were meeting
 8 We talked back and forth throughout the         8 their performance standards was reliant
 9 day. If they had situations, they would         9 on the institutional coordinators coming
10 bring them to me. If we needed to              10 to you with and identifying potential
11 collectively sit down and talk about some      11 issues, how were you then also able to
12 things, then we did that.                      12 evaluate the institutional coordinators?
13       I'm not really a hard ass as a           13       MS. PUTMAN: Object to the form.
14 supervisor. I just want you to do your         14 A. Based on what they brought to
15 job, and as long as -- I think everybody       15 me. Based on whether or not the
16 works differently. And so the accuracy         16 decisions that was made, whether those
17 part, right, if you're lying to me,            17 were carried out or not carried out. If
18 that's a serious issue to me; right? If        18 I got something from a warden before I
19 you make a mistake in what you tell me,        19 got it from the institutional
20 then that takes some points off, too, but      20 coordinator. If the warden and I
21 it doesn't as if you just lied; right?         21 discussed some issue and the
22 If you repeatedly make the same mistake,       22 institutional coordinator was included in
23 then we have an issue, if that helps you.      23 that and we said we were going to do X,
                                        Page 99                                         Page 101
 1 Q. It does.                                     1 Y, Z, a week later or two weeks later,
 2 A. Okay.                                        2 the warden calls and says, "Grantt, what
 3 Q. And how would you ensure whether             3 happened?" Those are the ways, I guess.
 4 -- subordinates were not repeatedly             4 Q. You mentioned you would do that
 5 making the same mistakes?                       5 evaluation based on what the
 6 A. Discussions. If I -- if I said               6 institutional coordinators brought to
 7 we need to do X, Y, Z, you have a time          7 you. You wouldn't know the things they
 8 frame for X, Y, Z, whether you met that         8 didn't bring to you though; right?
 9 time frame, whether you did what I told         9 A. If it -- if it was to a serious
10 you to do.                                     10 enough level, I would because somebody
11 Q. You mentioned discussions. Were             11 else would tell me. That's what I just
12 those -- those discussions were with the       12 -- that's what I call myself trying to
13 institutional coordinators?                    13 just explain to you. That's the check
14 A. Yes.                                        14 and the balance. Or when I go to the
15 Q. So for example, you mentioned               15 facility, if I walk through and we said
16 earlier that you were less confident with      16 we were going to do X, Y, Z, that's not
17 Mr. Ellington, who was an institutional        17 done, that's a check and a balance.
18 coordinator; right?                            18 Q. So we've been talking a lot
19 A. Yes.                                        19 about reporting to you. Can you walk me
20 Q. So presumably, you had to -- you            20 through who you reported to?
21 had to also ensure that he was doing his       21 A. Commissioner Dunn.
22 job; correct?                                  22 Q. And --
23 A. Yes.                                        23 A. The chief of staff.
                                                                            26 (Pages 98 - 101)
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                                        Page 102                                          Page 104
 1 Q. And I'm sorry, who was the chief              1 had a Class A incident happen, like let's
 2 of staff while you were associate                2 say it was a homicide. When I got that
 3 commissioner?                                    3 call, he was the next person I was going
 4 A. Last name was Brown, Steve                    4 to talk to. I don't care if it was 1:00
 5 Brown.                                           5 in the morning, 2:00. It doesn't make
 6 Q. And how would you give reports                6 any difference. I was going to talk to
 7 to Mr. Dunn?                                     7 that person. If there was a
 8 A. Mostly verbally.                              8 disturbance-type situation, he's going to
 9 Q. Did you use e-mail?                           9 call.
10 A. Sometimes.                                   10       So if you -- if you -- if you
11 Q. Would you have regular meetings              11 had a list of the A category incidents,
12 with Mr. Dunn?                                  12 he would -- he was getting a call.
13 A. We had a regular -- well, not                13 Q. Was he ever made aware of B
14 specifically. The team had a meeting            14 category incidents?
15 every Monday, I think, once a week.             15 A. It would have -- it would have
16 Q. Who else was in that meeting?                16 been unusual. For me to make a phone
17 A. All the commissioners. All the               17 call to say that, you know.
18 associate and deputy commissioners. My          18 Q. Would you communicate those some
19 bad.                                            19 other way?
20 Q. And were there minutes taken of              20 A. Not necessarily.
21 those meetings?                                 21 Q. Would you speak with Mr. Dunn
22 A. I never saw any. The executive               22 about staffing issues?
23 secretary was in the meetings.                  23 A. Yes.
                                        Page 103                                          Page 105
 1 Q. Was counsel included in those                 1 Q. And what would those discussions
 2 meetings?                                        2 consist of?
 3 A. Yes.                                          3 A. He had the same data that I had
 4 Q. Every single one?                             4 for that part. He had access to the same
 5 A. I can't recall one -- if the                  5 data that I had. If -- well, so we had
 6 chief counsel for ADOC wasn't there,             6 discussions of like staff coming out of
 7 there would normally be a substitute             7 the academy, new staff coming out of the
 8 there.                                           8 academy, so. And we used -- I'll use
 9 Q. And what is it that you would                 9 Limestone Correctional Facility as an
10 report to Mr. Dunn?                             10 example.
11 A. Whatever transferred -- whatever             11       When our staffing numbers began
12 rose to that level that I thought and it        12 to fall like consistently, Limestone was
13 was -- well, let's stop.                        13 actually in pretty good -- they were
14      If there --                                14 probably the -- probably the entire time
15      MS. PUTMAN: Sorry, I want to               15 that I was associate commissioner of ops,
16 stop. I just want to make sure we're not        16 Limestone staffing was better than any
17 asking any questions about anything he          17 other facility that I had. We had
18 would have discussed with counsel in            18 discussions about instead of that person
19 these meetings.                                 19 going to Limestone, that person would go
20      MR. EARL: No. Understood.                  20 where they were needed more so and not
21      MS. PUTMAN: Okay.                          21 to -- not to put a hardship on that
22 A. So if there was -- if there was              22 person and not to put a hardship on the
23 an incident that happened, let's say we         23 facility either. But if that facility
                                                                             27 (Pages 102 - 105)
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                                        Page 106                                           Page 108
 1 was, let's say, 80 percent staffed and           1       THE WITNESS: A problem
 2 another facility was at 60 percent, then         2 placements.
 3 we would -- we would have discussions            3 Q. So, is it safe to say -- strike
 4 about that, or I would approach --               4 that.
 5 approach the idea that, or the suggestion        5       Is it accurate to say that St.
 6 that we take five of these people and            6 Clair was never 100 percent staffed to
 7 send to this facility. And then we --            7 ADOC standards during your tenure as
 8 and then we would try to do that ahead of        8 associate commissioner of operations?
 9 time. If there was a -- if we lost a             9 A. Yes.
10 sizable number of people within a 30-day        10 Q. What about, is the same true for
11 period or if there was a steady decline         11 your tenure as institutional coordinator?
12 of staff, we would -- we would talk about       12 A. Probably.
13 those things.                                   13 Q. And you said Jefferson Dunn, as
14       But the thing is that in most             14 you were associate commissioner, would
15 cases, you're not able to replace those         15 have been aware of that; correct?
16 people just like right away, and so there       16 A. Yes.
17 were -- there were all types of                 17 Q. You mentioned that you would
18 discussions that was had about those            18 discuss potentially -- I'm using -- I'm
19 types of things. But yeah, staffing             19 summarizing here -- diverting academy
20 would be one.                                   20 graduates from one facility to another.
21       Incidents, specific incidents,            21 Am I recalling that correctly?
22 what happened, do we know what happened.        22 A. Yes, sir.
23 Hurricanes or tornados ripping through,         23 Q. Is that a -- is that a more
                                        Page 107                                           Page 109
 1 you know, what type of procedures and      1 temporary solution, or was that meant to
 2 things we need to do, those -- all of      2 be a more permanent solution?
 3 those things would come into play.         3 A. It was a temporary solution. I
 4 Executions. We -- but the major things     4 think we did -- I think the academy was
 5 that were happening within the Department 5 12 weeks long. I'm not sure. So as the
 6 are the types of things that he and I      6 -- as -- we would -- we would rotate.
 7 would have conversations about.            7 So, you know, if a facility had a large
 8 Q. You mentioned that at one point,        8 number of candidates in the academy and
 9 your staffing numbers began to -- I'll     9 we rotated five of those from going to
10 read back. I don't want to misquote you.  10 that facility to going to another
11 A. Significantly decline.                 11 facility, unless they wanted to stay
12 Q. Yes. Do you recall when that           12 there, then the goal was to move them to
13 was?                                      13 their original facility when the next
14 A. No, sir.                               14 class graduated and replace them.
15 Q. Was that before you became             15       Does that make --
16 associate commissioner of operations?     16 Q. It does. So essentially, you
17 A. Yes.                                   17 would have a temporary solution by
18 Q. And did that include at St.            18 diverting from one recruiting class, and
19 Clair?                                    19 then you would essentially do the same
20 A. I can't be specific about that,        20 thing with the next recruiting class?
21 but St. Clair was a problem placements.   21 A. Unless the staffing at that
22       THE COURT REPORTER: St. Clair 22 facility, their numbers came up, and then
23 was what?                                 23 we wouldn't necessarily do that.
                                                                             28 (Pages 106 - 109)
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                                        Page 110                                          Page 112
 1 Q. Understood. And did you and                   1 Q. And you mentioned that it was
 2 Commissioner Dunn discuss more permanent         2 difficult to hire staff. Do you know why
 3 solutions?                                       3 that was?
 4 A. Yes. I mean, the permanent                    4 A. I really don't. I mean,
 5 solution is to be able to hire more staff        5 corrections is -- you wouldn't want to be
 6 and get more staff on board. I mean,             6 a correctional officer, do you? I'll
 7 that's discussion or not discussion. But         7 refer you.
 8 yes, we did have those discussions.              8 Q. I can't say I've --
 9       The problem was recruiting the             9 A. I'm just -- so it's a difficult
10 people and getting them there, and so we        10 job, and it's not a job that everybody
11 discussed that as well. And at some             11 can do. And sometimes even when you
12 point, a team was actually formulated and       12 bring people in, because we had -- we had
13 brought in, and we had meetings about           13 a process in place where we hire people
14 marketing and different things like that        14 and they go straight to the academy.
15 to try and increase our numbers.                15       We tried to change that because
16 Q. So, who was on that team?                    16 they go to the academy, they get trained,
17 A. Attorneys, whoever was hired as              17 they come back to the facility, and they
18 the marketing. I don't remember. I              18 quit in three months. We just put money
19 don't recall who that was. But marketing        19 -- we invested money in stuff that just
20 experts, myself, Mr. Dunn, chief of             20 went down the drain. Or they go to some
21 staff. I feel pretty sure that the              21 local county jail and go to work, but
22 accounting director was, and probably           22 they had all this training that the
23 some others too that I don't recall.            23 Department had already did, and so we
                                        Page 111                                          Page 113
 1 Q. So, would you say that staffing               1 changed that. To start, we would bring
 2 -- well, let me back up.                         2 them in, keep them at the facility for
 3       When was -- do you recall when             3 two, three weeks, four weeks until the
 4 that team was put together?                      4 next class would start based on when we
 5 A. No, sir. I was -- I was                       5 hired them. So, you know, sometimes the
 6 associate commissioner, so it was in that        6 warden or the staff could kind of feel
 7 range.                                           7 the person out and say, "We don't think
 8 Q. Was it towards the beginning or               8 this person is right." That's not
 9 end of your tenure?                              9 necessarily saying that that person
10 A. I don't know. I don't know.                  10 didn't get to go to the academy, but you
11 Q. So, would you say that during                11 -- at least you had that, and it gave the
12 the -- your tenure as associate                 12 person an opportunity to see what they
13 commissioner, that staffing at ADOC             13 would actually be dealing with on a
14 facilities was a crisis?                        14 day-to-day basis and whether they thought
15       MS. PUTMAN: Object to the form.           15 they were going to be able to do that or
16 A. At some facilities, yes.                     16 not, so.
17 Q. Was St. Clair one of those                   17 Q. So when you sent these people to
18 facilities?                                     18 the -- to the facilities, were they
19 A. Yes.                                         19 working as corrections officers?
20 Q. What about during your tenure as             20 A. They were shadowing a
21 institutional coordinator?                      21 correctional officer.
22 A. Staffing was better at St. Clair             22 Q. And did you and Commissioner
23 than it was when I was an associate.            23 Dunn ever consider whether the conditions
                                                                             29 (Pages 110 - 113)
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                                        Page 114                                            Page 116
 1 at the prison were a reason why staff            1 manning theory charts -- they call it
 2 were quitting?                                   2 something else I can't -- so if we use
 3       MS. PUTMAN: Object to the form.            3 that and we bring consultants in and we
 4 A. I don't know if we ever had a                 4 go by their plan as to what they say any
 5 conversation about that. I don't -- I            5 facility in the country needs to be able
 6 don't know. I don't know. I can't                6 to operate on a safe basis, and if you
 7 remember that. I can't say that.                 7 get to those numbers, you are still
 8       But if I hired you and you went            8 outnumbered at least five to one.
 9 to a facility that was already short of          9       So if -- it might just start
10 staff, you witnessed a fight or you             10 with one officer. But if I have an
11 witnessed the officer tell an inmate to         11 officer that's in direct contact, meaning
12 do X, Y, Z, stop, turn around, go back,         12 that officer is on the floor in a
13 and the inmate said, "F you," and kept          13 cellblock, it's 100 inmates in the
14 going and you saw this day after day,           14 cellblock or if it's 20 inmates in the
15 would you stay?                                 15 cellblock and there's one officer in
16 Q. Well, I think that I would                   16 there, if they want -- if they want that
17 probably -- you know what, I'm going to         17 cellblock, I don't care how good he is, I
18 ask a question. It was rhetorical.              18 don't care how buffed up he is, I don't
19       So I guess my question to you             19 care, at some point he's going to go
20 would be, is the answer, then, to --            20 down. He might fight to the end, but at
21 strike that.                                    21 some point, that one officer cannot hold
22       In that scenario, isn't the               22 off 20 people.
23 answer to attempt to avoid those                23 Q. But you would agree that there's
                                        Page 115                                            Page 117
 1 situations from happening?                       1 other ways to manage a prison population
 2       MS. PUTMAN: Object to the form.            2 to accommodate short staffing; right?
 3 A. Yes.                                          3        MS. PUTMAN: Object to the form.
 4 Q. And can you do that with a lower              4 A. Such as?
 5 number of staff?                                 5 Q. So for example, could you have
 6 A. That's the cause of the                       6 put St. Clair on -- hypothetically, could
 7 problems. That's -- not -- not all of            7 you put a facility on lockdown?
 8 the problems. But if -- so inmates are           8 A. Could we have put it on
 9 not dumb; right? There's not a prison in         9 lockdown? Sure. I need more staff to
10 this country, and maybe some of the             10 run a locked down facility than I do an
11 federal facilities, that anytime the            11 open facility.
12 inmate population want to take the              12 Q. Can you explain that?
13 prison, they literally can do that              13 A. If the facility is locked down,
14 because every day, every shift, the             14 if it's truly locked down, then I'm
15 inmates outnumber the staff. Every day,         15 delivering meals to the cell three times
16 every prison, I don't care where anybody        16 a day. By standard and probably by law,
17 tells you; right?                               17 I have to give you some period of
18       So you can do the manning. You            18 exercise during the day, during a 24-hour
19 can do the manning. You can do the              19 period. And I think they might have
20 reports. You can do all of that; right?         20 adjusted that some; right? But
21 And if you're lucky, you can hire enough        21 everything that -- with an open facility.
22 people to get to be -- if we -- if we use       22        So open facility, even if it's a
23 the National Institute of Corrections           23 dormitory-type situation and I feed from
                                                                              30 (Pages 114 - 117)
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                                       Page 118                                           Page 120
 1 a lockdown, that means the inmates are          1 legislature raised -- provided the
 2 coming out, they're going to the dining         2 Department enough funding to be able to
 3 hall, they're eating, they're coming            3 raise salaries. To what I'm hearing,
 4 back, I'm putting them back in place            4 what I see on the news, that raise in the
 5 before I take the next. The likelihood          5 salaries still has not put ADOC to the
 6 is my feeding them -- you know, before          6 point where every facility, every major
 7 the day's out, something that is a              7 facility -- I'm not even talking about --
 8 requirement is not going to get done.           8 can be fully staffed based on -- based on
 9 When those things doesn't get done, then        9 the manning charts.
10 you have unrest.                               10 Q. So you mentioned earlier that
11       And so if you -- if you were             11 the staffing at St. Clair was a -- was
12 already short staffed, that helps to a         12 likely a crisis while you were
13 certain standpoint. But the amount of          13 institutional coordinator. Do you
14 time that you can continue to do that,         14 remember that?
15 you -- it turns back into the same thing.      15       MS. PUTMAN: Object to the form.
16 You end up with the same situation.            16 A. Possibly. I think I said
17 Q. Well, you -- so you would put --            17 possibly.
18 you mentioned earlier you put in               18 Q. Possibly. So, were these
19 temporary solutions for staffing and, you      19 efforts with media and new salaries, was
20 know, you just mentioned that a lockdown       20 any of this done while you were
21 would need to be a temporary solution;         21 institutional coordinator?
22 correct?                                       22 A. I know the salaries wasn't. The
23 A. Yes.                                        23 requests, we always -- the Department
                                       Page 119                                           Page 121
 1       MS. PUTMAN: Object to the form.           1 always requests more funding. The
 2 Q. But presumably with that                     2 marketing campaign, et cetera, et cetera,
 3 temporary solution, it would allow new          3 I know that took place when I was
 4 recruits to come in who would then come         4 associate commissioner.
 5 in to a prison system that was not as           5 Q. And so as the -- as ADOC was
 6 violent and not seeing the things you           6 attempting to hire more officers, what
 7 mentioned earlier that caused them to           7 was being done to try and improve the
 8 quit. Is that right?                            8 conditions and safety of the facilities?
 9       MS. PUTMAN: Object to form.               9 A. Different things at different
10 A. If I could hire them.                       10 facilities. I think -- I know the lock
11       MS. PUTMAN: Object to the form.          11 system at Donaldson was replaced. I
12 Sorry.                                         12 recall that. I don't recall times, but I
13 A. The first thing I have to be                13 know that was replaced.
14 able to do is hire people to come. I           14       St. Clair, there was a
15 don't know how much money the Department       15 refurbishing at St. Clair. There were
16 spent on recruiting, doing a new               16 some locks replaced at St. Clair. I'm
17 recruiting department, media. I don't          17 not -- I'm not sure about the fencing. I
18 know. I don't know what that figure is,        18 know we had an idea that we broached with
19 but that figure is out there. But a            19 engineers about the quad at St. Clair.
20 great deal of money was spent to try and       20 Are you familiar with St. Clair?
21 recruit and hire staff. And I don't            21 Q. A little bit.
22 know -- I want to say it was -- it was         22 A. Okay. So what I call the quad
23 since I've been gone. But the                  23 is there are four population cellblock
                                                                            31 (Pages 118 - 121)
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                                        Page 122                                          Page 124
 1 units that are separate, or separated to         1 as many as for or five hundred inmates
 2 a degree from the administrative. One's          2 just in that area. What the fencing
 3 on one side of the facility and the              3 would do was limit the amount of staff --
 4 segregation unit is on the other side of         4 I mean, limit the amount of inmate
 5 the facility. And then, of course,               5 population. It was a smaller area to try
 6 there's a dormitory or an open bay-type          6 and contain. If you had a -- if I had a
 7 dormitory that's also on the same side of        7 problem to occur inside of this fencing
 8 the facility with the segregation unit.          8 area, I don't have to try to run through
 9       But the quad is a population               9 three or four hundred people. I have a
10 area, two-man cells. I don't remember           10 100 people or 50 people trying to run.
11 exactly how many cells. I should, but I         11 Q. But is it the case that,
12 don't. So there's a -- there's a gate.          12 generally, closer contact among inmates
13 As you walk across the yard, you go into        13 creates more altercations?
14 that area, there's a gate, and there's a        14       MS. PUTMAN: Object to the form.
15 small gatehouse there. So the proposal          15 A. I don't -- I don't -- I don't
16 was to fence the front side of those --         16 think so. I think it depends on the
17 each one of those housing units off such        17 caliber of inmate. It's the same thing
18 that inmates from other housing units           18 with locking them down. So if I lock two
19 could not go back and forth without a           19 inmates down in a cell together for 23
20 gate being open. You could still come           20 hours a day, you're going to get on my
21 out and you could still get sunshine.           21 nerves at some point. And so we -- so
22 You could still -- you couldn't rec             22 I've got an altercation -- I have an
23 because it wasn't big enough for you to         23 altercation that occurs inside of the
                                        Page 123                                          Page 125
 1 rec. But fresh air, sunshine you could           1 cell itself, right, that I may or may not
 2 get. I'm not clear as to whether that            2 know about. And short staffing, with
 3 was finished or not. I don't recall.             3 short -- if I had adequate staffing and
 4 Q. When you said -- just to clarify              4 I'm making my rounds like I'm supposed
 5 when you said -- did you say "rec"?              5 to, then yeah, at some point I'm going to
 6 A. Yes.                                          6 see swelling of the eye if it was that
 7 Q. Can you define what that means?               7 bad. I'm not saying -- I'm not talking
 8 A. Basketball, softball.                         8 about just pushing, but I'm talking about
 9 Q. So recreation?                                9 -- or somebody trying to take advantage
10 A. Running. Yes.                                10 of somebody in a sexual manner, any of
11 Q. Okay. So sticking with the                   11 those types of things, or you're just
12 fence project you mentioned, so is it           12 trying to take -- I got coffee, you don't
13 accurate that the fencing project created       13 have any. My folks send me money. You
14 a smaller space for inmates at that             14 can't take my coffee. But I still got a
15 particular wing to convene in?                  15 situation there; right? So it's a --
16 A. Yes. But more -- from my                     16 it's six of one, half a dozen of the
17 standpoint, more importantly what it did        17 other.
18 was in that quad -- so for feeding, those       18 Q. Would it surprise you to learn
19 inmates would come out and go to the            19 that the inmates in the new fenced
20 dining hall and they would come back.           20 section at St. Clair refer to it as the
21 When that line was to a certain point,          21 killing zone?
22 the next cellblock would be called for.         22 A. No, I didn't. It's after my
23 That whole quad area, secured, could have       23 time.
                                                                             32 (Pages 122 - 125)
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                                        Page 126                                           Page 128
 1 Q. I asked if you would be                       1 I would get it. I mean, it's available
 2 surprised to learn that. Does that               2 online. Well, not necessarily online out
 3 surprise you?                                    3 there, but in-house online.
 4 A. I don't -- 35 years, 37 years,                4 Q. Would Jefferson Dunn receive
 5 no, nothing -- nothing really about that         5 them?
 6 surprises me. It may -- it may cause me          6 A. I can't answer.
 7 to step back for a minute. But for               7 Q. Did he ever discuss those with
 8 inmates to label an area, that doesn't           8 you?
 9 surprise me, no.                                 9 A. Specific statistical reports?
10       Holman was called the bottom              10 Q. Correct.
11 when I was there. It was -- the whole           11 A. Not that I can recall.
12 prison, it was called the bottom. Why           12 Q. So, Mr. Culliver, you're aware
13 was it called the bottom? They said,            13 that you're a defendant in this lawsuit;
14 well, it was -- and at that time, it was        14 right?
15 the max security prison literally for the       15 A. Yes, sir.
16 state. It was the bottom of the barrel.         16 Q. Hold on one second, apologies.
17 Plus it was in south Alabama. It was the        17 That explains it.
18 bottom.                                         18       I'm going to mark this exhibit
19       MS. GIBSON: Still the bottom.             19 as Plaintiff's Exhibit 2. Do you
20 Q. Going back to our example of a               20 recognize this document, sir?
21 lockdown, is a lockdown effective if the        21 (Plaintiff's Exhibit 2 was marked for
22 locks on the cells don't work?                  22 identification and is attached.)
23 A. No.                                          23 A. It's the lawsuit.
                                        Page 127                                           Page 129
 1 Q. Okay. Did you have -- as                1 Q. Have you ever reviewed this
 2 associate commissioner of operations, did  2 document?
 3 you have any role in compiling the         3     (Witness reviews document.)
 4 statistics that are posted on the ADOC's   4 A. I haven't read it through and
 5 website?                                   5 through, no.
 6 A. Not that I can recall. If you           6 Q. But you have seen it?
 7 could be more specific, I might could --   7 A. Yes, sir.
 8 I might could be -- I don't know.          8 Q. And you see that your name is
 9 Statistical reports are done --            9 the second name listed there under the
10 statistical reports are basically created 10 "v"?
11 at the facility, so their -- their        11 A. Yes, sir.
12 manning, the inmate population, number of 12 Q. So we already discussed
13 incidents, et cetera, et cetera, et       13 Jefferson Dunn, you see also under that
14 cetera, categories of incidents. It's     14 "v," he's the -- he was the commissioner
15 created and then it's sent and it's       15 of ADOC. Is that correct?
16 compiled by research and statistical,     16 A. Correct.
17 RME, whatever.                            17 Q. And we also discussed Edward
18 Q. And who would those -- would           18 Ellington. He was the -- an
19 those statistical reports that were       19 institutional coordinator at ADOC; right?
20 created at the facilities be distributed  20 A. Yes, sir.
21 to anybody else other than those -- that  21 Q. Were there any other
22 research and consensus RME?               22 institutional coordinators while you were
23 A. The coordinators would get it.         23 associate commissioner of operations?
                                                                             33 (Pages 126 - 129)
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                                       Page 130                                          Page 132
 1 A. Cheryl Price. During this time               1 lawsuit?
 2 frame (indicating)?                             2 A. Yes, sir.
 3 Q. Correct.                                     3 Q. And can you explain to me what
 4 A. So in '18, Cheryl Price was the              4 your understanding is?
 5 other institutional.                            5 A. That I was negligent in doing my
 6 Q. What about -- and by "time                   6 job.
 7 frame," I was confirming your time as           7 Q. Okay. So you mentioned earlier
 8 associate commissioner of operations,           8 that as an institutional coordinator, St.
 9 that time frame, so 2014-2018.                  9 Clair was one of your facilities. Is
10 A. Gwendolyn Mosley.                           10 that right?
11 Q. Are you familiar with Karla                 11 A. Yes, sir.
12 Jones?                                         12 Q. What do you recall about your
13 A. Yes.                                        13 understanding of the conditions at St.
14 Q. Who was she?                                14 Clair during your tenure as institutional
15 A. She retired as a warden.                    15 coordinator?
16 Q. A warden?                                   16 A. There were -- there were --
17 A. III.                                        17 there were a number of major incidents to
18 Q. At where?                                   18 occur, inmate-on-inmate type incidents.
19 A. I think she was at St. Clair.               19 Some of this runs together, so I don't
20 Q. What about Dewayne Estes?                   20 really -- like there was a problem with
21 A. He's a retired warden, III.                 21 the locks, but I don't know -- I can't
22 Q. Also at St. Clair?                          22 specifically say that that problem was
23 A. He had been during that -- are              23 there during -- as a coordinator. Quite
                                       Page 131                                          Page 133
 1 we still talking -- what years did you          1 possibly, it was. There was just
 2 say?                                            2 renovations that needed to be done to the
 3 Q. During --                                    3 facility as a whole, the physical plant.
 4 A. '14 to '18?                                  4       THE COURT REPORTER: The
 5 Q. During your tenure at --                     5 facility as a whole?
 6 A. '14 to '18?                                  6       THE WITNESS: The facility as a
 7 Q. Correct.                                     7 whole.
 8 A. Yes, he was.                                 8       THE COURT REPORTER: Thank you.
 9 Q. Is there anybody else underneath             9 Q. You mentioned there was major
10 this "v" you do not recognize?                 10 incidents. Do you recall what those
11     (Witness reviews document.)                11 were?
12 A. Phillip Dixon, I don't know. I              12 A. No, sir, not specifically. I
13 think Rafael Santa Maria, I've heard the       13 know we had an escape, but I can't -- I
14 name, and I've probably talked with him,       14 might have been commissioner then,
15 but I can't put a face with him. The           15 associate commissioner. I know there was
16 other people, I can pretty much --             16 an escape. And the stabbings, homicides.
17 Russell Jones, I'm not sure about him          17 Contraband was ridiculous to a degree, I
18 either. I think he was a lieutenant, but       18 mean, but contraband across all the
19 I'm not sure about that. There was a           19 facilities.
20 Jones that was a lieutenant, so I don't        20       But at St. Clair, there's a --
21 know.                                          21 there's a county highway that goes --
22 Q. And do you understand the                   22 coming into St. Clair from the interstate
23 allegations that are against you in this       23 would be on your right. You turn to the
                                                                            34 (Pages 130 - 133)
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 1 left to go to St. Clair. You keep                1 much wooded area around it, there are so
 2 straight down. That's a public road. A           2 many other ways to come up on the
 3 good many of the facilities will be kind         3 facility that you get that. And then we
 4 of isolated, and so you don't have a             4 had a problem with staff. We had a
 5 public road going right down the side.           5 problem with staff bringing contraband or
 6 There's not a lot that you can do about          6 facilitating the fact that contraband
 7 somebody stopping on a public road,              7 could get in the facility.
 8 taking a football or a tennis ball and           8 Q. How did you know that there was
 9 throwing stuff over the fence.                   9 a problem with staff bringing contraband?
10       At night, the cover, because of           10 A. Well, some people would call;
11 where St. Clair sits, how it sits, you          11 right? Inmate intel, investigations
12 can go down the road half a mile and            12 intel, and some of the things just didn't
13 there's a dirt road that comes in behind        13 make sense, you know, from the standpoint
14 to bring you back to the facility, and          14 that if I'm on the tower and that's my
15 it's not the most ideal -- I would say          15 assigned post, whether the inmates
16 not in the most ideal location, but, you        16 actually get it or don't get it, if the
17 know, no one really wants a prison around       17 officer walks the yard and find three or
18 their house or in their neighborhood or         18 four packages on a yard that a tower is
19 even before stuff is actually -- even           19 sitting here and the tower -- the best
20 before houses and things are there, there       20 thing would have been for him to be
21 were times when -- in trying to find            21 asleep, okay, because that means that he
22 places to build prisons that people would       22 was not necessarily -- he or she was not
23 not want that, protest against having           23 necessarily cooperating with it. But if
                                        Page 135                                         Page 137
 1 prisons.                                         1 you are awake and you're up and it's
 2 Q. So during your time as                        2 coming over the fence and you don't call
 3 institutional coordinator, how did the           3 anybody, as far as I'm concerned, you are
 4 number of serious incidents at St. Clair         4 part of it.
 5 compare to the rest of the facilities            5 Q. So I think you actually just may
 6 that you supervised?                             6 have answered the question I was going to
 7 A. It ebbed and flowed. But St.                  7 ask next, which was -- and this may just
 8 Clair was major incidents. Well, I would         8 be my ignorance, but presumably, if
 9 say -- when I say stabbings, assaults on         9 there's particular areas of the fence
10 staff was -- there were times when it was       10 that -- where contraband is coming over,
11 higher at St. Clair than it was anywhere        11 that can be manned, correct, or observed
12 else.                                           12 via staff?
13 Q. And you mentioned that                       13 A. Depends. It just -- it just
14 contraband was ridiculous. Is it safe to        14 depends. So you have to -- each facility
15 say that that means that contraband at          15 has its own layout design, and St. Clair
16 St. Clair was higher than other                 16 and Donaldson had electric fences put in.
17 facilities?                                     17 And so the towers weren't necessarily
18 A. Depends on the time frame. It's              18 manned, or all of the towers weren't
19 just Bibb -- the Bibb facility is a             19 necessarily manned. The ingress and
20 medium-custody facility. It's ridiculous        20 egress towers were normally manned. That
21 there too, or it was ridiculous there.          21 would be like two, a tower at your back
22 And it's kind of the same thing, but you        22 gate, a tower at your front gate. And
23 don't have a public road, but you have so       23 then so you've got your rest of your
                                                                            35 (Pages 134 - 137)
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                                       Page 138                                         Page 140
 1 perimeter from that standpoint.            1 concert. So you would have sort of four
 2 Q. So if there was no one manning          2 of us, right, would like work together to
 3 the tower where contraband was known to    3 make that happen. You may not be
 4 be coming in from, where were those        4 actually bringing back-and-forth; you may
 5 officers put instead?                      5 just be the person to say what
 6 A. On the floor. Inside the                6 supervisor's working and who's not
 7 facility.                                  7 working, or you might be the person
 8 Q. And this is all during your             8 that's sent out to do a search when that
 9 tenure as institutional coordinator?       9 person gets ready to come through and you
10 A. I don't think St. Clair -- I           10 don't search. And you may not search
11 don't know when St. Clair stopped manning 11 because you know if you search, you'll
12 the tower that's along the roadside. I    12 find, so you just don't search, you know.
13 really -- I really don't. That might      13 You don't do a thorough search. You may
14 have been even before I was a             14 do a boom, boom (indicating) but not a
15 coordinator. I don't -- I can't -- I      15 thorough search.
16 can't say that definitively.              16       From a drugs -- drug
17 Q. Do you recall any specific             17 perspective, that situation just grew.
18 instances of an employee being caught     18 When cell phones became more proficient,
19 bringing contraband into St. Clair?       19 as that got to be, then cell phones got
20 A. No, sir, not by name, not by           20 to be another piece of contraband that
21 date, I can't.                            21 inmates wanted to have, and they would
22 Q. Do you recall any generally? So        22 pay for it and -- but it made it even
23 an instance where someone brought in a    23 more difficult on staff, right, because
                                       Page 139                                         Page 141
 1 lot of contraband or something or large         1 as an inmate, I can sit in my cellblock
 2 amounts or anything along those lines?          2 or I can sit in my cell and look out the
 3 A. At St. Clair?                                3 window. And so we had to put in
 4 Q. Yes, sir.                                    4 perimeter patrols that would make circles
 5 A. I'm sure that happened, but I                5 and then they would stop so long. And
 6 can't just say. I don't remember a name         6 sometimes there were two; sometimes there
 7 or how much it was or -- but yeah,              7 were one. Staffing again.
 8 because you had arrests there, and so           8        I time that loop. I can sit
 9 yes.                                            9 there -- I don't have anything else to
10 Q. Anything -- strike that.                    10 do. I can sit there for days on end and
11       So, was it common for employees          11 figure out -- just by talking to staff, I
12 to be arrested?                                12 can figure out that John Joe is working
13 A. I wouldn't think that it would              13 on the perimeter today. He drives a
14 be called common.                              14 little piece and he stops. He drive all
15 Q. About how many a month?                     15 the way around. He -- we develop
16 A. I don't -- I have no inkling. I             16 patterns. People develop patterns. I'm
17 don't think that -- I don't think there        17 not going anywhere.
18 would be more than one in a month, I           18 Q. So just so the record is clear,
19 don't think there would be more than one       19 are you saying that staff were colluding
20 in two or three months. It just -- so          20 together to bring contraband in --
21 sometimes -- sometimes -- so as we went        21        MS. PUTMAN: Object to the form.
22 through this journey, the staff, it got        22 Q. -- to St. Clair?
23 to a point that staff actually worked in       23        MS. PUTMAN: Sorry. Object to
                                                                           36 (Pages 138 - 141)
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                                        Page 142                                           Page 144
 1 the form.                                        1 understand because of my chain of command
 2 A. We had reason to believe that                 2 that it's my problem too. I'm not -- I'm
 3 staff were working together to bring             3 not denouncing that. But I'm not at the
 4 contraband, not in just St. Clair, but           4 facility; right? There were times when I
 5 other facilities as well.                        5 might get intel in Montgomery that a
 6 Q. And you mentioned that part of                6 warden didn't necessarily have.
 7 that at St. Clair was potentially or             7       So basically, to try and answer
 8 likely patterns that could be ascertained        8 the question that you asked is we started
 9 by people trying to bring contraband in.         9 -- we weren't doing searches of staff.
10 Is that -- do I have that right?                10 As a warden, that was one of the hardest
11 A. I don't think so. Say it again.              11 things we had to do is to convert to
12 Q. So you were saying that part of              12 actually searching staff before they came
13 the reason that contraband was able to          13 into the facility. The same people that
14 get in was because people who wanted to         14 I want to go back here and do a job and
15 bring it in could essentially avoid             15 do their job, I'm asking somebody else to
16 detection based off of the patterns of          16 search them, right, go through their
17 supervising the prison -- patterns of           17 belongings. You can't just buy a bag of
18 staff, I should say?                            18 chips and bring them in anymore. You
19 A. To a degree. So I think -- I                 19 have to take the chips and open them up
20 think we're saying the same thing. But          20 and put them in a plastic bag. It's like
21 just to --                                      21 visitors coming in, and it's a tough
22 Q. Yeah, understood.                            22 thing searching visitors that's coming in
23 A. So if I'm -- if I'm the                      23 as well. But that's -- that's just where
                                        Page 143                                           Page 145
 1 lieutenant of a shift and I'm a stickler         1 corrections has gotten to.
 2 for the rules and trying to run this the         2       So we did searches, talked to --
 3 way it's supposed to be run by policy and        3 talked to the wardens about other ways.
 4 procedure, I take less of a chance               4 We put up metal detectors. We put a
 5 bringing something in on your shift than         5 procedure in place where a supervisor
 6 I would on somebody who's more                   6 couldn't search his or her own shift, so
 7 lackadaisical, et cetera, et cetera.             7 they had to be -- the shift that was
 8       So if you -- if that's -- if               8 there would be the person that was coming
 9 that's what you were alluding to by the          9 up and supervising people coming in and
10 -- then yes.                                    10 out of the facility to try to stop that
11 Q. And what was done to -- as you               11 coming in, but that's not the only way
12 were -- and, again, I think we're still         12 contraband comes in, so.
13 talking about when you were institutional       13 Q. Would you say that those
14 coordinator. What was done to prevent --        14 measures were successful in reducing the
15 strike that.                                    15 amount of contraband at St. Clair?
16       While you were institutional              16 A. I would say it made it more
17 coordinator, what was done to ensure that       17 difficult, but I wouldn't -- successful?
18 the officers and staff at St. Clair were        18 They still got contraband at St. Clair.
19 enforcing the policies to prohibit              19 Q. So, would you say that during
20 contraband from coming in?                      20 the time you were institutional
21 A. I wasn't at St. Clair. It's the              21 coordinator, drugs were regularly
22 warden's job. So if the warden -- if the        22 available and used in St. Clair?
23 warden says, "I have a problem" -- and I        23       MS. PUTMAN: Object to the form.
                                                                             37 (Pages 142 - 145)
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                                        Page 146                                         Page 148
 1 A. I can say that drugs were there.              1        While you were associate
 2 Regularly available? I don't -- I can't          2 commissioner of operations, do you know
 3 say exactly how we'd quantitate that, you        3 how many times Jefferson Dunn toured St.
 4 know. I can't say that if I wanted to go         4 Clair?
 5 get some marijuana, I could just go get          5 A. No, sir, not how many.
 6 some marijuana. If I want -- I can't say         6 Sometimes I was -- sometimes I would just
 7 that. I can't say that it was just               7 travel with him, or we would be there at
 8 readily available. I can say that it was         8 the same time. Sometimes he would just
 9 there.                                           9 drop in. But I don't -- I have no idea
10 Q. Would you say that staff                     10 how many times.
11 accepted drug use in the prison?                11 Q. But he did tour St. Clair?
12 A. I can't say that.                            12 A. Yes. When Mr. Dunn came on
13 Q. Would you say that staff                     13 board, he toured all the facilities. He
14 accepted cell phone use in the prison?          14 and I -- Mr. Dunn was a retired
15       MS. PUTMAN: Object to the form.           15 lieutenant colonel from the Air Force.
16 A. I can't say that either.                     16 He had no clue about corrections or
17 Q. During your time as                          17 prisons or how they operate, kind of like
18 institutional coordinator -- we touched         18 you say that you are; right? You got a
19 on this a little bit earlier -- about how       19 little bit more because you're working
20 many times do you think you toured St.          20 these lawsuits. But at that time, he --
21 Clair?                                          21 you know, so initially -- initially, we
22 A. Regularly. If -- St. Clair and               22 toured all the major facilities, walked
23 Donaldson were -- if I didn't go to any         23 through the whole facility, sat down and
                                        Page 147                                         Page 149
 1 other facilities, I would generally go           1 talked to the warden, the whole nine
 2 into those two facilities back and forth,        2 yards.
 3 so I can't really say. Once or twice, I          3 Q. And what -- so you mentioned
 4 actually worked a shift on the ground at         4 conversations with the wardens. What was
 5 St. Clair.                                       5 discussed during those conversations? Do
 6 Q. And were you choosing to go to                6 you recall?
 7 St. Clair and Donaldson more often               7 A. I don't recall.
 8 because of concerns about the conditions         8 Q. Would the staffing situation at
 9 there relative to other facilities you           9 St. Clair have been discussed?
10 were supervising?                               10 A. I'm trying to think which warden
11        MS. PUTMAN: Object to the form.          11 here, which warden. I think when Mr.
12 A. They were problematic.                       12 Dunn came on board, Warden Estes was at
13 Q. They were more problematic?                  13 the facility. I'm not -- but I'm not
14 A. They were more problematic. But              14 sure about that. But yes, Warden Estes
15 then, the custody level at those two            15 was -- he was -- he constantly talked
16 facilities is higher.                           16 about staffing and the problematic -- the
17 Q. Do you know how many times                   17 problem with staffing, yes.
18 Jefferson Dunn toured St. Clair?                18 Q. And what about the level of
19 A. No, sir.                                     19 violence at St. Clair?
20 Q. Do you know how often -- and                 20 A. I'm sure that was discussed.
21 we're still talking about the time you          21 Q. And what about the availability
22 were -- oh, I'm sorry, the last question        22 of weapons at St. Clair?
23 -- I'll rephrase the last question.             23 A. Contraband, period.
                                                                            38 (Pages 146 - 149)
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                                        Page 150                                          Page 152
 1 Q. And drugs as well?                            1 But when you have senior staff that's
 2 A. (Witness nods head.)                          2 been at a facility probably a good part
 3 Q. What about the issues with the                3 of their career, 20, 25 years, and know
 4 facilities at St. Clair?                         4 basically the ins-and-outs and those
 5 A. Probably not so much. I don't                 5 people start retiring, and even if --
 6 recall those specific conversations, but         6 even if you are able to replace them one
 7 probably -- probably not so much. It             7 for one with a new staff coming right out
 8 probably would depend on the things that         8 of the academy, you don't have the same
 9 were actually happening at St. Clair.            9 thing. This person that just came out of
10 Q. What about -- so I mentioned the             10 the academy, there can be an incident --
11 high level of violence. Would that              11 because I've been there as a newbie.
12 include homicides?                              12       I had a stabbing take place like
13 A. Yes.                                         13 right here, right next to me
14 Q. And stabbings?                               14 (indicating). A guy was stabbing -- I
15 A. Yes.                                         15 was at Holman. I was on a corridor. I
16 Q. Sexual assaults?                             16 was fresh out of the academy. It could
17 A. Yes.                                         17 have been me. You don't -- you don't
18 Q. Extortions?                                  18 know. You don't pick up on the tension
19 A. Probably not so much. But a lot              19 that's in the facility. You don't know
20 of -- a lot of extortions and sexual            20 the players in the facility. You don't
21 assault, they kind of join together, so a       21 know who thinks they're in charge and
22 lot of -- a lot of your -- well, I say a        22 who's not. You don't know. And so when
23 lot, but some of your extortion part is         23 you lose that 25-year vet, and even if
                                        Page 151                                          Page 153
 1 that.                                            1 you can replace them, you still don't
 2 Q. Were you familiar with -- strike              2 have the same level of security. There's
 3 that.                                            3 no way that you can. And the more of
 4       What about excessive force by              4 those 25-, 30-year people you lose, then.
 5 staff?                                           5 Q. So, is it your testimony that
 6 A. What about it? I mean --                      6 the conditions at St. Clair worsened from
 7 Q. Were concerns about excessive                 7 the time you were institutional
 8 force by staff discussed with Mr. Dunn?          8 coordinator until the time you retired?
 9 A. I don't know. I don't recall                  9       MS. PUTMAN: Object to the form.
10 that. I don't -- I don't know.                  10 A. I think they got worse. I did
11 Q. What about the issues we were                11 not think -- they got somewhat better. I
12 just discussing about staff bringing            12 think when we initially initiated CERT
13 contraband?                                     13 coming and working for -- when we
14 A. I'm not sure. As the years went              14 initially started doing that, they would
15 by, things just escalated, I mean, just         15 come for two or three days at a time. We
16 like the staffing decreased,                    16 expanded that for a week at a time. We
17 (indicating). And I'm not saying one had        17 tried to rotate teams to come through.
18 any effect upon the other. I'm just             18 Because a CERT member is a member pulled
19 saying that's -- there was almost like a        19 out of some institution, so we were
20 natural type of a thing, that you had           20 pulling -- we were pulling people. So we
21 less staff, you had -- you had staff with       21 had about five teams, and we would pull
22 -- and this is -- this is a whole 'nother       22 like from Limestone to come, and so we
23 part of correctional staff as a whole.          23 got to the point where they would come a
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 1 week, they'd be off a week, they would          1 of staff, the warden, yeah.
 2 come a week, be off a week. And that            2 Q. When you told -- when you spoke
 3 helped to kind of settle things a little        3 with Mr. Dunn and the wardens at St.
 4 bit.                                            4 Clair when Mr. Dunn first came as
 5       So I think it got worse, but              5 commissioner, were any -- did you -- did
 6 then I think -- I won't say necessarily         6 you communicate any concerns you had
 7 better, but I think it plateaued for a          7 about people who reported to you?
 8 while, and then it escalated again.             8       MS. PUTMAN: Object to the form.
 9 Q. And when was that -- when was                9 A. Did I communicate that to Mr.
10 the CERT team used like that?                  10 Dunn?
11 A. Dates, I can't give you. It was             11 Q. Correct.
12 when I was -- I was the associate              12 A. About people who reported to me,
13 commissioner.                                  13 that I had a problem with people who
14 Q. Towards the end of your tenure?             14 reported to me?
15 The beginning?                                 15 Q. Correct.
16 A. Maybe in the middle. I don't                16 A. No. No.
17 know.                                          17 Q. Did you have concerns or
18 Q. But you testified earlier                   18 problems with people who reported to you?
19 tensions, or issues at St. Clair had           19 A. Are we talking wardens? Are we
20 declined drastically while you were            20 talking coordinators?
21 institutional coordinator; correct?            21 Q. You tell me.
22       MS. PUTMAN: Object to the form.          22 A. No.
23 A. Say that question again.                    23 Q. You thought everyone was
                                       Page 155                                          Page 157
 1 Q. The conditions at St. Clair you              1 performing adequately?
 2 said had declined rapidly while you were        2 A. See, you go to performance. You
 3 institutional coordinator; right?               3 said report to me. You said one thing,
 4 A. Over a period of time, yes.                  4 but then you go to performance. So, can
 5 Q. That began while you were                    5 you clarify?
 6 institutional coordinator?                      6 Q. You're right. Apologies.
 7 A. That didn't necessarily begin                7      Did you discuss with Mr. Dunn
 8 while I was. They were like that before         8 any concerns you had about any direct
 9 I was institutional coordinator.                9 report -- people who reported directly to
10 Q. Understood. So for the CERT                 10 you?
11 team program you just mentioned, who           11 A. As a coordinator or as a --
12 developed that program?                        12 Q. Associate commissioner.
13 A. I did.                                      13 A. -- commissioner? I didn't have
14 Q. And --                                      14 any. Gwendolyn Mosley and Cheryl Price
15 A. You're talking about -- you say             15 was the two coordinators at the time.
16 CERT program, when you say "developed          16 Cheryl Price had the northern region, and
17 that," what do you mean?                       17 Gwendolyn Mosley had the southern region.
18 Q. So -- sorry. You're right.                  18 I didn't have any issues with either one
19 That's a bad question.                         19 of them.
20       The utilization of the CERT              20 Q. Because, backing up,
21 team, whose --                                 21 Commissioner Dunn came on while you were
22 A. Yeah, that was me in concert                22 associate commissioner; right?
23 with Mr. Dunn agreeing to it, the chief        23 A. He did.
                                                                            40 (Pages 154 - 157)
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                                       Page 158                                         Page 160
 1 Q. Okay. Just wanted to clarify.                1 Q. Correct.
 2 A. He fired me.                                 2 A. No.
 3 Q. Yeah, you mentioned that                     3 Q. Was it communicated to you
 4 earlier. So, can you explain the                4 after?
 5 circumstances of that?                          5 A. He and I had a conversation,
 6 A. I was the only person that was               6 yes.
 7 not permanent status as a merit employee,       7 Q. And what was said during that?
 8 so besides the deputy commissioners, I          8 A. I don't know specifically. Just
 9 would have been the only person that he         9 what I just told you, though.
10 would have had time to look at and decide      10 Q. So he -- so you recall having a
11 whether he wanted me or did not want me.       11 conversation with him about it, but you
12 So I was rolled back to the institutional      12 don't recall what he said?
13 coordinator position. Four or five             13 A. Well, it's just what I just told
14 months later, he promoted me back.             14 you. He didn't -- I was -- I was the
15 Q. Was that Mr. Dunn or was that               15 only merit person that was still on
16 the interim commissioner at the time?          16 probation at that time when he was coming
17 A. Well, the interim commissioner              17 on board. I was the only person he could
18 is the one that told me, yes, but Mr.          18 select for his own person to be there
19 Dunn was already -- un-technically, he         19 besides -- besides the deputy slots.
20 was already in charge. He wasn't in            20 Okay? And so he wanted to take a look at
21 charge, but it was -- so we'll say the         21 that for himself, who his operations
22 interim did it, but, you know -- I mean,       22 person was. That's what he said. That
23 the interim person was there when I was        23 was his explanation to me. So if that's
                                       Page 159                                         Page 161
 1 rolled back, yes, but that was -- Mr.      1 a lie, I mean, but that's what I was
 2 Dunn had been announced as the             2 told.
 3 commissioner that would be replacing him. 3 Q. Are you aware of any reason why
 4 Q. And do you recall what year this        4 he couldn't leave you in the position on
 5 was?                                       5 a probationary basis while he evaluated
 6 A. No, sir.                                6 who he wanted to put in that position?
 7 Q. But it was before -- it was             7       MS. PUTMAN: Object to the form.
 8 before Mr. Dunn became -- was -- actually 8 A. My probation was -- I was close
 9 took the position but after he was         9 to coming off of probation. I don't know
10 announced as incoming?                    10 how -- I don't know how much more time
11 A. Yes, sir. I don't -- I don't           11 there actually was. I don't know.
12 know about officially announced, but I    12 Q. And just to clarify for the
13 knew he was going to be the commissioner. 13 record, when we're saying you were rolled
14 How about that?                           14 back, that means that you were demoted to
15 Q. So you're saying that the              15 -- back to institutional coordinator;
16 decision to roll you back was Mr. Dunn's? 16 right?
17 A. Yes.                                   17 A. Correct.
18 Q. And I'm sorry if you already           18 Q. Getting back to our conversation
19 said this. There -- was that -- strike    19 earlier, did you communicate to Mr. Dunn
20 that.                                     20 when he came on about any concerns you
21       Was the reason for that rollback    21 had about wardens at any facilities?
22 communicated to you?                      22 A. We talked about each warden
23 A. At the time?                           23 individually. I don't know. Particular
                                                                           41 (Pages 158 - 161)
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                                       Page 162                                         Page 164
 1 concerns? There -- it's like any          1 yes.
 2 profession; you've got strengths and      2 Q. So replacing the locks didn't
 3 weaknesses. Whatever they were, I would 3 actually address the problem of the locks
 4 have communicated -- whatever I saw them 4 being obstructed; right?
 5 as, I would have communicated that to     5 A. That did not.
 6 him.                                      6 Q. And when you were -- excuse me.
 7 Q. Were there any wardens that you        7 When you were institutional coordinator,
 8 thought were particularly weak in their   8 St. Clair didn't have any cameras;
 9 ability to perform their job?             9 correct?
10 A. I can't recall. I can't even          10 A. If they did, they were very,
11 recall what wardens were where. I don't  11 very few.
12 know.                                    12 Q. And when you were associate
13 Q. When you were institutional           13 commissioner of operations, do you recall
14 coordinator, did the locks at St. Clair  14 if there were cameras in St. Clair?
15 work?                                    15 A. We installed cameras. We
16 A. There were some problems.             16 installed some cameras, and I can't
17 Q. What kinds of problems?               17 remember exactly how many per cellblock.
18 A. The inmates were able to jimmy        18 Q. Do you recall when that was?
19 the locks and jam the locks.             19 A. No, sir.
20 Q. And how -- do you know how            20 Q. Was it the beginning, middle,
21 prevalent that was?                      21 end of your tenure?
22 A. No, sir.                              22 A. I can't recall.
23 Q. And am I right that the way to        23 Q. And were those cameras, they
                                       Page 163                                         Page 165
 1 fix that is just to pull the -- whatever        1 didn't -- did they -- strike that.
 2 is obstructing the lock out of it?              2       Did those cameras cover the
 3       MS. PUTMAN: Object to the form.           3 entire facility?
 4 A. That fixes it for that                       4 A. No, sir.
 5 particular moment, yes.                         5 Q. What did they cover, what areas?
 6 Q. That was going to be my next                 6 A. The best -- to the best of my
 7 question. How do you prevent it?                7 recollection, population cellblocks. So
 8 A. Well, we tried -- we actually                8 the cellblocks are two-sided, so you had
 9 did -- we actually moved inmates out so         9 at least one camera strategically
10 that we could actually replace all of the      10 placed -- and it may have been more than
11 locks.                                         11 one, seems like it was. But they were
12 Q. Am I right that for -- even a               12 strategically placed to be able to get a
13 brand-new lock is still -- still doesn't       13 -- the whole cellblock.
14 work when something is obstructing it?         14       And I -- when I say "the whole
15 A. True.                                       15 cellblock," there may have been -- so
16 Q. So --                                       16 this may not be totally correct, but I
17 A. Now, the mechanism has to be                17 can recall a camera -- the officer
18 able to go into whatever that's called,        18 station, the cubicle at St. Clair is a
19 that hole (indicating). There's a name         19 split-level-type facility, so it was
20 for that, but. And yes, if you take a          20 mounted such that it would catch, so
21 piece of plastic or you take paper so          21 directly under the camera, it wasn't
22 that that small lever, that locking            22 going to catch.
23 mechanism cannot engage inside of there,       23       THE COURT REPORTER: It wasn't
                                                                           42 (Pages 162 - 165)
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                                        Page 166                                          Page 168
 1 what?                                            1 Q. Was that something that happened
 2      THE WITNESS: Would not catch                2 often? As far as your wardens go, were
 3 whatever was happening there.                    3 there a lot of allegations against your
 4 Q. We mentioned officers bringing                4 wardens?
 5 contraband into St. Clair. Do you recall         5 A. No.
 6 any similar circumstances with regard to         6 Q. Are you familiar with -- strike
 7 the wardens at St. Clair?                        7 that.
 8 A. I recall an incident where a                  8       Have you -- as your time as
 9 warden was accused.                              9 associate commissioner of operations,
10 Q. What do you recall about that                10 were you familiar with any allegations
11 incident?                                       11 that wardens were breaking ADOC
12 A. Just that --                                 12 regulations?
13 Q. Who?                                         13 A. What kind?
14 A. I don't know if he was actually              14 Q. Any.
15 accused of bringing contraband in or if         15 A. Not specifically. I mean,
16 he was -- he was connected with                 16 Cedric Specks was -- lost his job for
17 contraband some type of way.                    17 being involved with three staff members,
18 Q. Who? Who are you talking about?              18 contract staff members.
19 A. Cedric Specks.                               19 Q. Were you part of that
20 Q. And do you recall the                        20 investigation into that --
21 allegations against him?                        21 A. I was not.
22 A. Other allegations?                           22 Q. -- incident?
23 Q. Those allegations. What was the              23 A. I was not.
                                        Page 167                                          Page 169
 1 contraband --                                    1 Q. Did you know about that
 2 A. I don't -- I don't recall.                    2 misconduct?
 3 Q. Were those allegations                        3 A. When it was reported to me?
 4 substantiated?                                   4 Q. Before.
 5 A. I'm not sure they were.                       5 A. No.
 6 Q. So, was it as -- and was this                 6 Q. Had you heard about it before
 7 during when you were associate                   7 that?
 8 commissioner of operations?                      8 A. No. I think Investigations
 9 A. I think so, yes.                              9 brought that to me, talked to me about
10 Q. So as an associate commissioner              10 that. I knew that they were doing an
11 of operations, you don't recall if one of       11 investigation. They tracked it down,
12 your wardens was bringing in contraband         12 they walked it down. Our Investigations
13 to St. Clair?                                   13 people basically work independently.
14 A. I don't recall whether it was                14 Q. Are you aware -- strike that.
15 proven that he was bringing contraband          15       Were you aware as associate
16 into St. Clair. I do not.                       16 commissioner of operations of any
17 Q. As associate commissioner of                 17 allegations that wardens were being
18 operations, is that something that should       18 extorted by inmates or other employees?
19 have been decided one way or the other?         19       MS. PUTMAN: Object to the form.
20 A. Yes.                                         20 A. I was not.
21 Q. So, are you saying it wasn't?                21 Q. When you were -- going back to
22 A. I'm saying that I don't recall               22 when you were institutional coordinator,
23 whether he was or wasn't.                       23 was unauthorized movement among the
                                                                             43 (Pages 166 - 169)
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                                        Page 170                                           Page 172
 1 inmate population a problem?                     1 population, that they should not go in
 2 A. Repeat, please?                               2 and out of a housing unit that's not
 3 Q. When you were institutional                   3 theirs without some authorization where
 4 coordinator, so right -- so before you           4 they needed to go from point A to point
 5 were promoted, was unauthorized movement         5 B.
 6 among the inmate population at St. Clair         6       We did not use a pass system.
 7 a problem?                                       7 In Alabama, there may be one or two
 8 A. I can't -- I can't recall. I                  8 facilities, there were very few
 9 can't -- I can't -- I can't recall the           9 facilities that used a pass system. And
10 time frames. I don't. So movement at            10 it's basically contingent upon the staff,
11 St. Clair, I know as associate                  11 that if I had someone that needed to go
12 commissioner that that was a problem.           12 to another area, that I would radio or I
13 But whether it was a problem as an              13 would escort them. With the lack of
14 institutional coordinator, I really can't       14 staffing, that's not tracked very well.
15 recall because it was just a problem.           15 Q. So, is it your understanding
16       MR. EARL: Do we want to take a            16 that staff were not tracking inmate
17 break?                                          17 movement?
18       MS. PUTMAN: Take a lunch break            18 A. I can't say that they were.
19 or?                                             19 Q. So you don't -- you don't know
20       MS. GIBSON: Yeah, I think so.             20 if inmate movement was being tracked at
21 It's 12:18.                                     21 St. Clair?
22       MS. PUTMAN: Okay. Off the                 22 A. And again, you said "tracked."
23 record.                                         23 So when I -- when I say it was tracked,
                                        Page 171                                           Page 173
 1       THE VIDEOGRAPHER: We're going 1 if that means that we have a way of being
 2 off the record at 12:17.                 2 able to determine that you were in
 3          (Break taken.)                  3 Housing Unit A at this particular time
 4       THE VIDEOGRAPHER: We're going 4 but you should have been in Housing Unit
 5 back on the record at 1:31.              5 B so I have a reason, no.
 6 Q. (By Mr. Earl) Mr. Culliver,           6 Q. So you mentioned understaffing
 7 before the break, we were discussing     7 as a reason I'll refer to it as
 8 unauthorized inmate movement at St.      8 unauthorized movement in a prison occurs.
 9 Clair. Can you tell me how inmate        9 Are there other causes?
10 movement was tracked at St. Clair?      10 A. Besides just -- besides the lack
11 A. Define "tracked."                    11 of staffing, you said, are there other
12 Q. So, how -- strike that.              12 causes for unauthorized movement?
13       How were employees at St. Clair   13 Q. Correct.
14 ensuring that inmates were not in areas 14 A. People's failure to do their
15 they were not supposed to be?           15 job.
16 A. I can't answer. I don't know.        16 Q. Would doors that don't work
17 Q. Do you know how they were            17 account for that?
18 supposed to be making sure that inmates 18 A. It could.
19 were not in areas they weren't supposed 19 Q. What about inoperable locks?
20 to be?                                  20 A. To the best of my knowledge, the
21 A. The policy was that --               21 locks at St. Clair were inoperable
22 housing-unit-wise, that inmates should  22 primarily inside the housing units and
23 not go -- that's a rule for the inmate  23 not doors that allowed you to go from one
                                                                             44 (Pages 170 - 173)
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                                       Page 174                                           Page 176
 1 area to the other, so it -- it could,           1 institutional count, and basically,
 2 yes, if it was that lockdown, for               2 besides your people who are working who
 3 instance, in the instance -- the instance       3 should already be accounted for, the
 4 that you described earlier of somebody          4 people in the housing units should go to
 5 putting something in a lock and if nobody       5 their assigned cells. And if it's a
 6 came to take it out, could they come out        6 roster count, if it's a bed roster count,
 7 of their cell and go into another cell,         7 then they should show their ID and the
 8 yes.                                            8 fact that they're in the right cell, and
 9 Q. So, were you saying there were               9 the officer should have the list.
10 -- there are doors separating the housing      10 Basically, they can check that off saying
11 units?                                         11 that.
12 A. Yes, sir.                                   12        If it's -- if it's a -- informal
13 Q. So for an inmate to get from a              13 count is not the right terminology, but
14 -- to different housing units, that door       14 if there's an informal count per se, then
15 would either need to be open already or        15 it's just a body count.
16 broken. Is that right?                         16 Q. And how many times a day were
17 A. Yes. Or just -- it doesn't have             17 roster counts supposed to be done?
18 to be broken. It's just like not closed,       18 A. I can't remember the policy.
19 not locked.                                    19 Q. More than once?
20 Q. And am I right that that could              20 A. I can't remember the policy.
21 be primarily for two reasons? One, as          21 Q. At least one?
22 you mentioned, someone not doing their         22        MS. PUTMAN: Object to the form.
23 job. Is that right?                            23 A. I don't think so. My preference
                                       Page 175                                           Page 177
 1 A. Yes.                                         1 would have -- that would be my
 2 Q. And two, that the door is, as                2 preference, but I don't think I -- I
 3 you mentioned, broken?                          3 don't think the procedures are written
 4 A. Yes.                                         4 like that.
 5 Q. Understood.                                  5       Some facilities would have a
 6       We talked about tracking                  6 roster count pretty much at least one
 7 inmates. Can you describe to me what an         7 every 24-hour period.
 8 inmate count is?                                8 Q. How often were roster counts
 9 A. Counting inmates, counting                   9 conducted at St. Clair?
10 heads.                                         10 A. I can't answer.
11 Q. So, does an inmate count entail             11 Q. Do you know how often a roster
12 just counting bodies, or is it actually        12 count -- what you referred to as an
13 tracking each -- each individual and           13 informal roster count or informal
14 ensuring that that person is where he is       14 counts --
15 supposed to be?                                15 A. Counts.
16 A. So the counts come in various               16 Q. -- were conducted at St. Clair?
17 forms. So basically, like at certain           17 A. There should -- there should be
18 periods of time, you may do a -- you may       18 six counts a day, at least six counts in
19 do a facility count that's without having      19 a 24-hour period.
20 people inside of their housing units, or       20 Q. Do you know if those counts were
21 inside of their assigned living area,          21 being conducted at St. Clair?
22 cell. And so -- but official counts, at        22 A. When I was there, they were. If
23 an official time of the day, you have the      23 I was there long enough, I would see a
                                                                            45 (Pages 174 - 177)
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                                        Page 178                                          Page 180
 1 count. But they should have been. I              1 that doesn't say that -- again, but
 2 can't say specifically every day, every          2 you're not there to actually see, so I
 3 count was done like they should have             3 can't -- you're asking me to try to
 4 been. That's not a -- that's not --              4 validate and verify something that's --
 5 that's not an item that's reported up,           5 without being on site for days at a time.
 6 "We conducted five counts today." I              6 At that level, there's no way for me to
 7 don't get that record.                           7 do that.
 8 Q. How does -- if prisoners are                  8       You could ask the shift
 9 able to move freely in a prison, does            9 commander that, and they could probably
10 that have any effect on the security of         10 tell you. You could ask the warden that,
11 the prison?                                     11 and they can probably tell you with
12 A. I guess it could. It depends on              12 confidence yes or no. But I can't.
13 what you classify as "freely." If you're        13 Q. So as institutional coordinator,
14 saying that guys can just go wherever           14 did you feel it was your responsibility
15 they want to whenever they want to, yes.        15 to ensure that the -- those counts and
16 Q. Do you think that -- is it your              16 the information on them were verified and
17 understanding that at St. Clair, as you         17 accurate?
18 said, guys were able to go wherever they        18 A. No. That's not my -- that
19 wanted to?                                      19 wasn't my job. I have a responsibility
20 A. Not all the time. I can't say                20 for that, but that's -- that's a
21 -- I can't say that there weren't -- I          21 captain's job at the facility and then --
22 can't stress enough that I would have to        22 the captain and assistant warden and the
23 be at St. Clair -- to give you a                23 warden.
                                        Page 179                                          Page 181
 1 definitive, accurate answer, I would have        1       Do you -- you realize that if --
 2 to be there for a longer period of time          2 with 23 facilities and if I -- if you're
 3 to see that mechanism at work.                   3 talking institutional coordinator, 12, 13
 4 Q. Could you have, in your position              4 facilities; associate commissioner, 23
 5 as institutional coordinator, requested          5 facilities. If I kept up with every
 6 reports or other information to ascertain        6 count at every facility all day, do you
 7 whether or not that was occurring?               7 realize that that would be the only thing
 8 A. Well, I get a -- I could ask for              8 I would do and I still wouldn't get
 9 a -- I could ask for a count -- I could          9 finished?
10 ask for a count sheet. I'm probably             10 Q. So, are you saying that, for
11 going to get the six count sheets in a          11 example, if there were more employees at
12 day, but I'm still not there to witness         12 the coordinator or commissioner level,
13 that, so. But I didn't do it. Did I ask         13 that would have made supervising this
14 for that? No.                                   14 information easier?
15 Q. Did you ask for that as an                   15       MS. PUTMAN: Object to the form.
16 associate -- as the associate                   16 A. No. No. What I'm saying is
17 commissioner?                                   17 it's above my pay grade -- I mean, it's
18 A. No.                                          18 below my pay grade. That's what I'm
19 Q. Why not?                                     19 really saying. It's not -- it's the
20 A. I didn't see the necessity.                  20 warden's responsibility to be able to do
21       I think if you pull a log -- if           21 that.
22 you pull a log for St. Clair, you'll see        22       I can -- I could assure you that
23 that these counts were done, like -- but        23 if we pulled ten logs over 24 -- a
                                                                             46 (Pages 178 - 181)
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                                        Page 182                                         Page 184
 1 24-hour log that the counts are going to   1 have a security audit team, the team goes
 2 be documented there and there's a count    2 in and for three or four days they're
 3 sheet there to account for it. But         3 there. They watch those kinds of things.
 4 that's -- yet and still, I can't.          4 And believe it or not, particularly if
 5 Q. So for example, if there was an         5 you are knowledgeable about what's
 6 instance where you had multiple days of    6 happening in prisons, as a -- as a person
 7 Class A incidents, right, very seri- --    7 going in, you can pick up on whether
 8 we'll call them very serious or violent    8 they're -- whether they count on a
 9 incidents at a prison, would that --       9 regular basis or not.
10 would that be cause for you to go back    10 Q. So as somebody who -- as you had
11 and try to look to see what the counts    11 described earlier, someone who was very
12 were and whether the counts were done?    12 in tune with what was going on in
13       MS. PUTMAN: Object.                 13 prisons, when you went to St. Clair, did
14 A. That wouldn't be where I would         14 you feel that counts were being done?
15 start, no.                                15 A. I did.
16 Q. But would looking at those             16 Q. Okay. So I want to move to
17 counts be part of the process there?      17 searches. How many searches were
18 A. No.                                    18 supposed to be conducted at St. Clair a
19 Q. Why is that?                           19 day?
20 A. Because whoever -- whoever was         20 A. I can't answer.
21 -- whoever was the victim and whoever was 21 Q. There are various kinds of
22 the suspect, if we have a victim and we   22 searches; right?
23 have a -- we have a victim, of course,    23 A. Yes.
                                        Page 183                                         Page 185
 1 and if we know who the suspect was and we        1 Q. There is pat-down searches?
 2 know where the incident took place at, to        2 A. Yes.
 3 me, that's more important, and then I            3 Q. Do you know -- do you know about
 4 could find out simply by -- from that            4 how much -- how often those are supposed
 5 whether this person was in the right             5 to occur?
 6 place or the wrong place. It has nothing         6 A. A pat-down -- a pat-down search
 7 to do with the count.                            7 can happen anytime. There's no --
 8 Q. So if a warden -- so if the                   8 there's no -- there's no time -- there's
 9 warden at St. Clair was not enforcing            9 no count -- there's no number for doing
10 that counts -- we'll start this -- if the       10 pat-down searches.
11 counts had -- was not enforcing that            11 Q. So, is it -- would it be
12 counts be done, who was -- who would know       12 acceptable to do none?
13 about that above the warden level?              13        MS. PUTMAN: Object to the form.
14 A. I don't know. I mean, there                  14 A. To do no pat-down searches?
15 would have to be something that would           15 Q. Correct.
16 bring that to like a coordinator's              16 A. If you're doing a pat-down
17 attention. There would have to be               17 search in conjunction with some other
18 something there.                                18 type of search. But pat-down searches,
19       So earlier, you talked about the          19 it's just a random type thing. You just
20 security audits. So that's why you do           20 do it. Or if you suspect somebody has
21 security audits is that's your check and        21 something on them, then you stop them and
22 balance for those types of things. And          22 search them. Or if you see that there's
23 so when you have security audits and you        23 a violation that they may be committing,
                                                                            47 (Pages 182 - 185)
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                                        Page 186                                         Page 188
 1 then you might want to search them.              1       A true institutional search
 2       Just driving down the highway,             2 calls for a facility to go into lockdown.
 3 if I'm doing 85 and a trooper pulled me          3 You have to have staff to do that. CERT
 4 over and he -- well, you was doing the           4 would come in, were called in at certain
 5 same thing, but he just got me and you           5 times to do facility searches, but I
 6 got away.                                        6 don't remember how often that was done.
 7 Q. So I -- my question was, if                   7 I don't -- I don't remember when that was
 8 you -- if you learned that the officers          8 done. I don't.
 9 at St. Clair, for example, had done no           9       There were some done. I know
10 pat-down searches for a month, would that       10 there was some done with CERT because
11 be concerning to you?                           11 there was a rotation. But to tell you
12 A. That probably would be                       12 how many, I don't. I can't give you a
13 concerning to me, but I didn't learn            13 time range or anything like that.
14 that.                                           14 Q. So you mentioned earlier that
15 Q. Did you have any sense for how               15 contraband at St. Clair was ridiculous.
16 many were being done?                           16 Would that have been the case if
17 A. No. I just -- I just explained               17 institutional searches were done
18 that.                                           18 regularly?
19 Q. But they're documented, aren't               19       MS. PUTMAN: Object to the form.
20 they?                                           20       MR. LAWSON: Object to the form.
21 A. Pat-down searches are not                    21 A. In my professional opinion, yes,
22 documented.                                     22 because contraband -- it's ridiculous how
23 Q. Okay. What about institutional               23 much contraband comes over the perimeter
                                        Page 187                                         Page 189
 1 searches?                                        1 fence. Just because you do a search,
 2 A. Institutional search says that                2 that doesn't stop them from -- the next
 3 you're locking down the facility and             3 day, somebody from coming over the fence.
 4 you're going to do a search of the entire        4 Q. What about cell searches? How
 5 facility.                                        5 often were those supposed to occur at St.
 6 Q. And about how many times was                  6 Clair?
 7 that supposed to get done a month?               7 A. I think -- I believe that the
 8 A. I don't know what the policy                  8 departmental policy on searches calls for
 9 says.                                            9 four searches per housing unit per day,
10 Q. Do you know if there was a                   10 but I'm not -- that's not -- probably not
11 policy?                                         11 accurate, but it's somewhere in that
12 A. There's a policy on searches.                12 neighborhood.
13 There's a departmental policy and there's       13 Q. And do you recall how many times
14 a facility policy.                              14 -- strike that.
15 Q. Do you recall about how often                15       Do you recall understanding
16 when you were coordinator that                  16 whether those were -- that policy was
17 institutional searches were conducted at        17 being followed when you were
18 St. Clair?                                      18 institutional coordinator at St. Clair?
19 A. No. I can't answer.                          19 A. No, sir.
20 Q. What about when you were                     20 Q. What about when you were
21 associate commissioner?                         21 associate commissioner?
22 A. I can't answer. I can't -- I                 22 A. No, sir.
23 don't remember that.                            23 Q. So I think you may have said
                                                                            48 (Pages 186 - 189)
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                                       Page 190                                           Page 192
 1 this earlier. Who was responsible for           1 Q. And so, do you recall a time
 2 ensuring that searches occurred?                2 when you were there when you observed
 3 A. The shift commander on a shift               3 something that you thought was a problem?
 4 is responsible for it, and then it goes         4 A. Yes.
 5 up the ladder.                                  5 Q. Can you give me an example?
 6 Q. And how far up the ladder does               6 A. Inmates walking across the yard
 7 it go?                                          7 improperly dressed, inmates in a
 8 A. The head of the institution.                 8 cellblock that they should not have been
 9 Q. Is that where the ladder stops?              9 in, inmates with telephones.
10 A. Well, there are other -- the                10 Q. And what did you do in response
11 responsibility was Mr. Dunn, it was            11 to those situations?
12 through me and Mr. Dunn. Neither --            12 A. If I saw you going, you had to
13 neither of us are there. The only person       13 put your clothes on right like you're
14 that can legitimately do that is if it         14 supposed to. Then I would talk to --
15 gets to a warden's level and there's a         15 talk to the supervisor if -- it depends
16 problem. That really should be at the          16 on who is with me and whatever. But I
17 captain's level. If he sees people are         17 would talk to that person in charge,
18 not doing searches the way they should be      18 "That's something that you need to take
19 doing, he or she, then that should go to       19 care of."
20 the next person in charge. And                 20       Same thing with dressing and
21 literally, it comes back to the                21 grooming. Same thing with the
22 lieutenant to ask: "Why aren't you doing       22 contraband, same thing.
23 your searches? Why aren't they being           23 Q. Do you recall whether -- strike
                                       Page 191                                           Page 193
 1 done?"                                          1 that.
 2 Q. So safe to say you weren't                   2       Mr. Culliver, do you know what a
 3 ensuring that searches were being done?         3 vulnerability analysis is?
 4 A. I was not.                                   4 A. Of?
 5 Q. And to your knowledge, Mr. Dunn              5 Q. A facility.
 6 was not, either?                                6 A. I don't recall doing one. I
 7 A. I have no idea what Mr. Dunn was             7 don't recall. I don't recall doing one.
 8 doing in reference to searches.                 8 Q. Do you know what one is?
 9 Q. Under the departmental policy,               9 A. I have a fairly good idea.
10 what was the result if a staff -- if           10 Q. Okay. I'm going to hand you
11 staff failed to conduct the required           11 what I've marked as Plaintiff's Exhibit
12 searches?                                      12 3. Do you recognize this document, sir?
13 A. I don't know. I would have to               13 (Plaintiff's Exhibit 3 was marked for
14 look that up in the policy that covers         14 identification and is attached.)
15 such things.                                   15 A. It's an e-mail.
16 Q. So just to be clear, was the                16 Q. Correct. This is an e-mail from
17 majority of your understanding of the          17 you to Kristi Simpson at -- I'm assuming
18 daily operations at St. Clair based upon       18 that's a Department of Corrections e-mail
19 reports that were given to you from the        19 address. Is that right?
20 facility?                                      20 A. That is correct.
21 A. Yes. Or what I saw when I was               21 Q. It's dated January 13th, 2017?
22 there or what somebody that was there          22 A. Uh-huh.
23 told me.                                       23 Q. And it says here you're
                                                                            49 (Pages 190 - 193)
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                                        Page 194                                           Page 196
 1 attaching the latest vulnerability               1 Q. Were you associate commissioner
 2 analysis completed by ADOC major male            2 at the time?
 3 facilities. See that?                            3 A. According to this, I was.
 4 A. I do.                                         4 That's what I signed my name as.
 5 Q. Who is Kristi Simpson?                        5 Q. Okay. So if you look at the
 6 A. She is a secretary in the legal               6 bottom paragraph here, it says, "A copy
 7 division.                                        7 of this risk assessment shall be
 8 Q. So I'm going to -- I'm going to               8 forwarded to the associate commissioner
 9 hand you now what is Plaintiff's Exhibit         9 of operations." That was you; correct?
10 4. Do you recognize this document, sir?         10 A. Yes.
11 (Plaintiff's Exhibit 4 was marked for           11 Q. And it also says that this
12 identification and is attached.)                12 assessment should be -- this process will
13     (Witness reviews document.)                 13 be completed annually. Is that right?
14 A. Vaguely.                                     14 A. Yes.
15 Q. This is the Alabama Department               15 Q. You see that?
16 of Corrections Institutional                    16       Do you know whether these
17 Vulnerability Analysis dated February 24,       17 analyses were completed annually?
18 2015; right?                                    18 A. I do not know.
19 A. Yes, according to what's on the              19 Q. And is it safe to say that the
20 form.                                           20 data in this analysis covered the
21 Q. And do you see back at                       21 conditions at St. Clair in -- from -- in
22 Plaintiff's Exhibit 3 that I handed you         22 2014?
23 the -- from -- the third line from the          23     (Witness reviews document.)
                                        Page 195                                           Page 197
 1 bottom, there's an attachment there that         1 A. I can't answer that either, but
 2 says 030315 St. Clair CF Vulnerability           2 I assume so.
 3 Analysis. Do you see that?                       3 Q. Okay. So if you could turn with
 4 A. Yes.                                          4 me to the page ending in 247 at the
 5 Q. I'll represent to you, sir, that              5 bottom right.
 6 the metadata on this file is the same            6 A. What page?
 7 attachment, so this is the -- this was           7 Q. 247 it ends. Page 5 of the
 8 attached to that, that e-mail. Does that         8 actual report. I'm sorry.
 9 make sense?                                      9       So there's a line item at the
10 A. It does.                                     10 top that says percent over or under
11 Q. Can you tell me -- tell me why               11 design capacity as of the date of this
12 you'd be e-mailing a vulnerability              12 report. And do you see it says 33 --
13 analysis from 2015 in 2017 to Kristi            13 34.3 percent there?
14 Simpson?                                        14 A. Yes, sir.
15 A. Because legal asked for it, more             15 Q. That means that the -- that St.
16 than likely.                                    16 Clair was running at 34.3 percent over
17 Q. So this is from -- the date of               17 its capacity; right?
18 this is not long after you were promoted        18 A. Over the design capacity.
19 to associate commissioner. Is that              19 Q. Correct. So, does that mean
20 correct?                                        20 that St. Clair was overcrowded at the
21 A. I don't know. I don't know the               21 time?
22 date I was promoted to associate                22       MS. PUTMAN: Object to the form.
23 commissioner.                                   23 A. If we're using design capacity
                                                                             50 (Pages 194 - 197)
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                                         Page 198                                           Page 200
 1 --                                                1 they would be instructed not to fill that
 2 Q. Correct.                                       2 in?
 3 A. -- yes.                                        3 A. I can't. But I don't know that
 4 Q. Would you consider that to be                  4 they weren't. I mean, if we were looking
 5 dangerous?                                        5 at each -- each facilities' and on some
 6 A. It could be.                                   6 other facilities' they were filled in,
 7 Q. Why do you say, "It could be"?                 7 then I could concur that they should have
 8 A. It doesn't have to be.                         8 been, but I don't know because I don't
 9 Q. Was it at St. Clair?                           9 remember.
10 A. St. Clair was -- there was                    10 Q. But you would agree that the
11 dangers at St. Clair.                            11 usefulness of this information is zero if
12 Q. Did you understand that                       12 the information is not provided; right?
13 overcrowding was part of that -- part of         13 A. I would agree with what?
14 the reason for that danger?                      14 Q. You would agree that the
15 A. No, not necessarily.                          15 usefulness of this section is zero if the
16 Q. If you can flip to the next page              16 information is not provided; right?
17 for me. So there's a -- in the middle of         17 A. This specific information?
18 the page here, there's a section that's          18 Q. Correct.
19 labeled "Illegal Unauthorized                    19 A. Or this total form?
20 Activities." Do you see that?                    20 Q. No, I'm sorry, the -- in this
21 A. Yes, sir.                                     21 section where these blanks are, this form
22 Q. And there's another section                   22 as to this -- these -- this subject
23 underneath it that says use of force.            23 matter is not useful because there's no
                                         Page 199                                           Page 201
 1 All the items in those sections are               1 -- there's no data provided?
 2 blank; right?                                     2 A. Not from looking at it from
 3 A. Yes.                                           3 here. If I wanted to get the information
 4 Q. Do you know why that would be?                 4 from here, it's no value to me, but I
 5 A. I don't.                                       5 have a -- there are other places to get
 6 Q. As associate commissioner,                     6 this information.
 7 receiving this report, should you have --         7 Q. Okay. Under drug usage, again,
 8 strike that.                                      8 the random screening percent --
 9       As associate commissioner,                  9 percent positive and the tenth screening
10 receiving this report, did you follow up         10 percent positive are also negative -- are
11 with the folks at St. Clair who compiled         11 also -- the first one is blank and the
12 this to ask why this was blank?                  12 second one is NA; correct?
13 A. Not that I recall. All this                   13 A. Yes.
14 information was available to me in               14 Q. And in the next block, is it --
15 another place.                                   15 where it asks, "What do you consider the
16 Q. So just because it's available                16 level of drug usage to be in your
17 somewhere else, it still doesn't mean it         17 facility?" And this says extensive. Do
18 shouldn't be complete here; correct?             18 you see that?
19 A. It should have been completed.                19 A. I see extensive, moderate, and
20 I think it should have, unless -- unless         20 limited. I don't see either one of them
21 they were instructed not to. I can't --          21 that's circled. Oh, okay. Yes, I do.
22 in 2015, I can't -- I can't answer.              22 Yes.
23 Q. Can you think of any reason why               23 Q. And then it says, "Drugs are
                                                                              51 (Pages 198 - 201)
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                                        Page 202                                           Page 204
 1 readily available due to a high number of        1 injury?
 2 items thrown over the fences and based           2 A. It's really determined by
 3 upon the number of positive drug tests           3 medical.
 4 and the amount and variety of illegal            4 Q. And do you know how they make
 5 substances confiscated." Right?                  5 that determination?
 6 A. It does.                                      6 A. I'm not in medical.
 7 Q. So we had discussed earlier, you              7 Q. But you oversaw medical as the
 8 would -- at this time in 2015, you were          8 associate commissioner; right?
 9 already familiar that a high number of           9 A. No, sir, I did not. There was
10 drugs were being thrown over the fence;         10 an associate commissioner for medical
11 right?                                          11 services.
12 A. Yes, sir.                                    12 Q. Understood.
13 Q. And you were already aware that              13      Can you read the description and
14 contraband was extensively available at         14 number for item C.
15 St. Clair; right?                               15 A. "Assaulted by pushing, shoving,
16 A. I was aware it was available.                16 ramming, butting, lunging."
17 Q. And it says here, "based upon                17 Q. And how many incidents are
18 the number of positive drug tests," yet         18 reported here?
19 the -- like we mentioned earlier, the           19 A. Forty-eight.
20 random screening percent positive item is       20 Q. What about for item D that says,
21 blank; right?                                   21 "Assaulted by water, tea, coffee, food,
22 A. Correct.                                     22 urine, feces being thrown or spit upon,"
23 Q. So again, does this -- would                 23 how many items -- how many instances are
                                        Page 203                                           Page 205
 1 this -- should this have struck something        1 reported there?
 2 with you that this form was inaccurate?          2 A. Twenty.
 3 A. Probably.                                     3 Q. What about J, "Verbal threats to
 4 Q. Do you recall following up about              4 assault"?
 5 this form?                                       5 A. Thirty.
 6 A. I do not. You have to remember,               6 Q. So if my math is right, that's
 7 I couldn't even remember that this was a         7 roughly 99 incidents; right?
 8 form.                                            8 A. I don't know. The math -- your
 9 Q. Understood.                                   9 math is probably right, but I don't know
10 A. Okay.                                        10 that one of these incidents came -- two
11 Q. So, do you recall what you did               11 different things didn't happen on one
12 in response to this form saying that            12 incident. I don't know.
13 drugs were extensively -- were readily          13 Q. So, but multiple kinds of things
14 available in St. Clair?                         14 can happen within the same incident;
15 A. No, sir.                                     15 correct?
16 Q. Would you have done nothing?                 16 A. Correct.
17 A. I don't know.                                17 Q. Okay. Under K for "Fights and
18 Q. On the next page, if you could,              18 altercations," it says zero. You see
19 flip with me. So the first section here         19 that?
20 says inmate staff assaults without              20 A. Yes, sir.
21 serious injury. You see that?                   21 Q. Is that supposed to denote
22 A. Yes, sir.                                    22 alterca- -- fights or altercations
23 Q. What is considered a serious                 23 between staff and inmates?
                                                                             52 (Pages 202 - 205)
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                                       Page 206                                          Page 208
 1 A. Yes.                                         1 Q. Or would the allegation itself
 2 Q. Is it possible that there could              2 be what that's asking for the report of?
 3 be zero fights between staff and inmates        3 A. I don't know.
 4 in a single year?                               4 Q. Well, I mean, the question is to
 5 A. It's possible that it could be               5 you, sir. It's an ADOC form.
 6 zero fights between staff and inmates but       6 A. It is, but I don't -- you're
 7 not zero altercations.                          7 asking me. I'm telling you I don't know.
 8 Q. Have you ever in your 35- to                 8 Q. So if this is -- I guess the
 9 40-year career seen -- been -- strike           9 question then -- strike that.
10 that.                                          10       So, are you telling me that a
11       Have you ever in your career             11 form is being forwarded to you and you
12 seen a year that there was not a single        12 didn't understand the data being
13 fight between staff and inmates at a           13 reported?
14 facility?                                      14       MS. PUTMAN: Object to the form.
15 A. I know of very little -- very               15 A. I'm telling you -- the question
16 few fights between inmates and inmates --      16 that you asked me, you asked me for an
17 inmates and staff.                             17 answer, and I'm telling you I don't know
18 Q. But no, but you don't know a                18 your answer.
19 single year where there were no                19 Q. Okay. Then under "Inmate staff
20 altercations for inmates and staff?            20 assaults with serious injury," there is
21 A. I do not.                                   21 -- next to A, there's -- it says, "One
22 Q. So safe to say this item is                 22 officer assaulted with a baton taken by
23 inaccurate?                                    23 inmate." You see that?
                                       Page 207                                          Page 209
 1       MS. PUTMAN: Object to form.          1 A. Yes, sir.
 2       MR. LAWSON: Object to the form.      2 Q. Do you recall that incident?
 3 A. Yes.                                    3 A. I do not.
 4 Q. Okay. And then if you move down         4 Q. How often would you say that an
 5 to "Alleged assaults," that's also zero;   5 officer is injured by an inmate at St.
 6 right?                                     6 Clair?
 7 A. It is.                                  7 A. I don't know.
 8 Q. Is that possible in the prison          8 Q. Do you recall any particular
 9 system?                                    9 incidents?
10 A. It's not probable, but it's            10 A. Not specific. I do have -- I
11 possible.                                 11 do. I can recall one. I don't know when
12 Q. And is that -- strike that.            12 it was, but I remember a lieutenant was
13       At St. Clair, did you ever know     13 beaten pretty badly.
14 a single year where there -- where no     14 Q. Do you recall where in the
15 staff was alleged to have assaulted an    15 prison that was?
16 inmate?                                   16 A. Are you familiar with St. Clair?
17 A. Alleged? I mean, if there was          17 So the breezeway area, coming from the
18 an assault, it would be documented. I     18 breezeway area -- when you come up the
19 can't -- it says "Alleged assaults,"      19 steps, you come through the checkpoint
20 which means that somebody would have had 20 and you go, that's what we call the
21 to say that they got assaulted and then   21 breezeway. There's a building here and a
22 it would have to be proven that it didn't 22 building here (indicating). When you
23 happen; correct?                          23 come past that area, there's a sidewalk
                                                                           53 (Pages 206 - 209)
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                                        Page 210                                          Page 212
 1 there. It's right there. It comes                1 Q. Okay. Flip to the next page,
 2 directly from that yard. It happened             2 sir. So under "Staff issues," it says,
 3 right there.                                     3 "Staff morale," and "Fair" is checked
 4 Q. And do you recall an                          4 off. Do you see that?
 5 investigation into that incident?                5 A. Yes.
 6 A. Do I recall?                                  6 Q. Does that match your
 7 Q. An investigation into that                    7 recollection of St. Clair at the time?
 8 incident.                                        8 A. I can't remember. I can't
 9 A. Was there one?                                9 remember the 15th. I don't know what
10 Q. Yes.                                         10 happened in 2015. I don't know.
11 A. Yes.                                         11 Q. And then if you move down the
12 Q. Do you recall any more specifics             12 page under "Staff issues" and it asks for
13 about what happened or why that incident        13 how many workplace harassment claims have
14 occurred?                                       14 been filed in this year and it says four.
15 A. I don't.                                     15 Does that seem like a lot to you?
16 Q. Okay.                                        16 A. I think "a lot" is relative.
17 A. I don't recall any of the                    17 But again, that's a comparison, and so
18 specifics.                                      18 I'd have to put that up against -- I'd
19 Q. If you want to flip the page                 19 have to have something to compare that
20 with me. So under "Inmate" -- "Inmate on        20 against for me to say yeah, I believe
21 inmate assaults without serious injury,"        21 that's a lot. If I'm comparing it to
22 there's 17 incidents there with a knife         22 other facilities, am I comparing it to
23 reported; right?                                23 the year before? I -- four would be more
                                        Page 211                                          Page 213
 1 A. Yes, sir.                                     1 than anybody would want to see.
 2 Q. And another 34 under "Assaulted               2 Q. Do you recall what you or
 3 by hitting with hand, kicking, or                3 anybody else did to try to lower the
 4 slapping." See that?                             4 number of harassment claims at St. Clair?
 5 A. Yes, sir.                                     5 A. They were all -- if they were --
 6 Q. Do those numbers seem accurate                6 if they were documented, then they were
 7 to you?                                          7 investigated.
 8 A. I don't know. I have nothing to               8 Q. Do you recall if any
 9 reference that against.                          9 disciplinary action was --
10 Q. Well, you said that you were in              10 A. 2015. 2015. I'm 63; right? I
11 the Department of Corrections for a lot         11 don't know. No, I don't.
12 of years and were very in touch with            12 Q. If you keep going down, it says
13 prisons. Is that right?                         13 here staff turnover was down by ten --
14 A. Yes.                                         14 there was 10 percent in staff turnover.
15 Q. So based on your experience and              15 Do you see that?
16 all that, your years of experience, does        16 A. I see the 10 percent, yes.
17 that seem like an accurate number in            17 Q. So, am I right that that means
18 terms of altercations between inmates?          18 that the -- St. Clair had a reduction in
19 A. My answer remains the same. I                19 staff of 10 percent?
20 can -- I can't take this data and tell          20 A. That's what it would mean to me,
21 you whether that's accurate or not              21 yes.
22 accurate. I don't have anything to              22 Q. And is this consistent with what
23 compare it to or post it up against.            23 you were -- you testified to earlier,
                                                                             54 (Pages 210 - 213)
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                                       Page 214                                          Page 216
 1 that there was a lot of people at St.           1 it's not just germane to St. Clair.
 2 Clair quitting?                                 2 Q. But it pertains to -- so at any
 3 A. I don't think I said that.                   3 prison, that's a -- that's a real risk?
 4 Q. There was --                                 4 A. Emergencies?
 5 A. I said people were retiring and              5 Q. Correct.
 6 people were leaving, and I compared that,       6 A. Yeah. But then you have to
 7 and I said people would come and they           7 quantify emergencies. Is it a medical
 8 wouldn't stay. But I didn't say --              8 emergency or is it a stabbing? There's a
 9 Q. But you did say people were                  9 difference. But emergencies? Yes.
10 leaving; correct?                              10 Q. So I guess, who, in the
11 A. Yes.                                        11 context of -- who is -- strike that.
12 Q. Okay. And that's what I was                 12       Do you know who was in charge of
13 referencing, is that this is consistent        13 defining what an emergency meant in this
14 with your testimony that employees were        14 form?
15 leaving St. Clair?                             15 A. I do not.
16 A. Yes, sir.                                   16 Q. Regardless -- strike that.
17 Q. So you were aware that there was            17       Would you agree that having an
18 a retention issue at St. Clair even prior      18 institution that does not have adequate
19 to this; correct?                              19 resources and staff to handle an
20 A. And the rest of the Department              20 emergency is dangerous?
21 of Corrections as well.                        21 A. I would.
22 Q. And how did St. Clair compare to            22 Q. Do you recall anything you did
23 the rest of the Department of                  23 to remedy that?
                                       Page 215                                          Page 217
 1 Corrections?                                    1 A. We recruited. We brought CERT
 2 A. I'd have to look at it. I can't              2 in. We came up with a plan to try and
 3 tell you. I'm not real good at numbers.         3 limit the amount of people who could
 4 I don't keep that in my head.                   4 mingle together. Locks were replaced on
 5 Q. Go to the next page, sir. Under              5 doors. Cameras were added.
 6 "Emergency procedures," the sixth item          6 Q. And that was in response to this
 7 down, it says, "The institution has             7 form?
 8 adequate resource and staff to handle an        8 A. I'm not saying it was in
 9 emergency," and the answer there says no.       9 response to the form.
10 Do you see that?                               10 Q. Okay.
11 A. Yes.                                        11 A. You asked me what --
12 Q. Do you recall why that would be?            12 Q. I asked in -- I asked in
13 A. Staffing problem. That would be             13 response to this form.
14 the first thing to come to mind.               14 A. I don't know.
15 Q. St. Clair was a place where an              15 Q. Okay. On the next page under
16 emergency was -- was always possible. Is       16 "Inmate discord," there are two line
17 that right?                                    17 items there. It says, "Inmates sitdowns
18       MS. PUTMAN: Object to the form.          18 and work stoppages/slowdowns have
19 A. Emergencies are always possible             19 occurred in the past year," and "Inmates
20 anywhere.                                      20 have increased their use of passive
21 Q. Where --                                    21 resistance and outright refusals to
22 A. In particular facilities,                   22 follow direction," and both are answered
23 emergencies can happen any time. I mean,       23 yes. You see that?
                                                                           55 (Pages 214 - 217)
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                                        Page 218                                         Page 220
 1 A. Yes, sir.                                     1 Dunn.
 2 Q. Does that suggest a lack of                   2 Q. Well, you said you had
 3 control over the inmate population?              3 conversations with him when he came on at
 4 A. It could.                                     4 St. Clair.
 5 Q. Does a lack of control over the               5 A. I did.
 6 prison population present safety issues          6 Q. And staffing was discussed
 7 for a prison?                                    7 there; correct?
 8 A. Yes.                                          8 A. It was.
 9 Q. Do you recall what you did to                 9 Q. And he knew that St. Clair was
10 address the inmate discord at St. Clair         10 understaffed; correct?
11 in response to this form?                       11 A. You would have to ask Mr. Dunn
12 A. I do not.                                    12 what he knew.
13 Q. Do you recall what anyone else               13 Q. Did you discuss that with him
14 did?                                            14 during the meeting?
15 A. I do not.                                    15 A. We discussed staffing. We did.
16 Q. Towards the bottom of the page,              16 Q. So he had to know that staffing
17 there's a section that's labeled "Group         17 -- you told him staffing -- it was
18 disturbances." You see that?                    18 understaffed; correct?
19 A. Yes, sir.                                    19 A. Yes.
20 Q. And three lines down is a                    20 Q. Okay. Towards the end here, it
21 comments section that says, "Multiple           21 says: "Many times there are 1300 inmates
22 inmates were involved in the death of a         22 with only 30 correctional officers inside
23 population inmate." Do you see that?            23 the facility, 44 to 1 ratio on a daily
                                        Page 219                                         Page 221
 1 A. Yes, sir.                                     1 basis. The ratio is higher on the night
 2 Q. Do you recall that incident?                  2 shift."
 3 A. I do not.                                     3       Do you see that?
 4 Q. Was that -- was that kind of                  4 A. Yes, sir.
 5 incident common in St. Clair?                    5 Q. That's referencing a ratio of
 6 A. Not to my knowledge, no.                      6 inmates to correctional officers. Am I
 7 Q. If you could skip over to page                7 right?
 8 13 of this report, please, look at               8 A. I believe it is.
 9 Section IV, "Critical threats." The              9 Q. Would you agree that ratio is
10 first critical threat here is staffing          10 too high?
11 shortage. You see that?                         11 A. I would.
12 A. Yes, sir.                                    12 Q. Is that ratio dangerous for a
13 Q. And we had already talked about              13 prison?
14 this. You were already aware that               14       MS. PUTMAN: Object to the form.
15 staffing shortages at St. Clair were a          15 A. It is.
16 crisis as of 2015; correct?                     16 Q. And do you read this to say that
17       MS. PUTMAN: Object to the form.           17 this is the ratio during the day shift?
18 A. Yes, sir.                                    18 A. That's what I get out of this
19 Q. And Commissioner Dunn, who at                19 segment, yes.
20 this time had been -- as commissioner,          20 Q. Is the day shift more dangerous
21 was also aware; correct?                        21 than a night shift?
22       MS. PUTMAN: Object to the form.           22       MS. PUTMAN: Object to the form.
23 A. I can't answer for Commissioner              23 A. I don't -- I don't understand.
                                                                            56 (Pages 218 - 221)
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                                        Page 222                                          Page 224
 1 Q. So during the day, officers --                1 Q. And do you recall Mr. Evans?
 2 excuse me.                                       2 A. Yes, sir.
 3       During the day, inmates are                3 Q. And what about --
 4 moving more often than the night shift.          4 A. I know everyone on this list.
 5 Is that right?                                   5 Q. Everyone on this list? Do you
 6 A. Technically, yes.                             6 recall having any concerns about the
 7 Q. So, does that create for a more               7 performance of anyone on this list?
 8 dangerous situation because of the               8     (Witness reviews document.)
 9 increase in movement?                            9 A. No, sir.
10 A. Not necessarily.                             10 Q. You spoke earlier that if you're
11 Q. Why is that?                                 11 not getting accurate information, that
12 A. Because you can have orderly                 12 gives you reason to have less confidence
13 movement just like you can have ruckus.         13 in people who report to you. Do you
14 And you can have -- you can have five           14 recall that?
15 days of orderly movement, people going          15 A. I do.
16 back and forth to classes, people -- or         16 Q. We looked earlier that the
17 education, people going to work, people         17 information in this report was
18 going to eat, pill call, and not have a         18 inaccurate; right?
19 problem at all, and the ratio could still       19 A. It is. We did, sir. Yes, sir.
20 be 44-to-1. So it doesn't -- it doesn't         20 Q. So, did that give you reason to
21 necessarily mean that. But then there           21 have less confidence in any of these
22 are those other days that you can have          22 individuals?
23 chaos -- chaos all day.                         23 A. Not necessarily.
                                        Page 223                                          Page 225
 1 Q. So, was that ratio acceptable                 1 Q. So I'd like to keep this out for
 2 under ADOC standards?                            2 a second. I'm going to hand to you what
 3 A. No, sir.                                      3 I'm going to mark as Plaintiff's Exhibit
 4 Q. Do you recall -- and you may                  4 5. Do you recognize this document, sir?
 5 have answered this already. Do you               5 (Plaintiff's Exhibit 5 was marked for
 6 recall what you did to decrease that             6 identification and is attached.)
 7 ratio?                                           7 A. Yes, sir.
 8 A. From 2015, no, sir.                           8 Q. Do you know what -- can you tell
 9 Q. And if you could, flip to the                 9 me what this document is?
10 next page for me. So it says list of            10 A. Alabama Department of
11 individuals participated in this                11 Corrections Institutional Vulnerability
12 assessment process. The first individual        12 Analysis. Institutional name: St. Clair
13 there is Carter F. Davenport. Do you see        13 Correctional Facility. Date: May 9,
14 that?                                           14 2016.
15 A. Yes, sir.                                    15 Q. So this is the vulnerability
16 Q. Do you know who that is?                     16 analysis from the following year of the
17 A. I do.                                        17 analysis we just looked at; right?
18 Q. Who is he?                                   18 A. Yes, sir.
19 A. He was a Warden III at St. Clair             19 Q. And this covers the conditions
20 at the time.                                    20 over 2015?
21 Q. And what about Eric Evans?                   21 A. Yes, sir.
22 A. He was a Warden II at the                    22 Q. Just I'm going to refer to this
23 facility at the time.                           23 as the 2015 assessment, and I'm going to
                                                                             57 (Pages 222 - 225)
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                                         Page 226                                           Page 228
 1 refer to the previous exhibit as the 2014         1 previously looked at. So if you could
 2 assessment. Is that okay?                         2 turn to page 5 of this assessment, ending
 3 A. That's fine.                                   3 in 8832, and also page ending in 247 of
 4 Q. So in this document, if you                    4 the previous exhibit, page 5 of both.
 5 could turn to page 3, ending -- kind of           5       So this says in the 2015
 6 that number at the bottom -- 8830,                6 assessment that the percent over or under
 7 there's two items that are listed under           7 design capacity as of the date was 24.7
 8 "Potential damaging litigation." One is           8 percent; right?
 9 Dunn v. Dunn. See that?                           9 A. Yes, sir.
10 A. Yes, sir.                                     10 Q. So compared to the other report,
11 Q. Do you recall that lawsuit?                   11 that's a reduction; correct?
12 A. Not particularly. I know what                 12 A. Yes, sir.
13 it -- I have a vague idea of what it was         13 Q. But if you turn with me to page
14 in reference to. I can't --                      14 9 of that same report, ending in 8836, if
15 Q. And what is that idea?                        15 you could look down at staff issues, it
16 A. Being able to provide inmate                  16 says the staff turnover was 23 percent;
17 assistance in reference to the                   17 correct?
18 Disabilities Act.                                18     (Witness reviews document.)
19        THE COURT REPORTER: In                    19 A. Yes, sir.
20 reference to?                                    20 Q. And that's actually a 13 percent
21        THE WITNESS: The Disabilities             21 increase from the year prior. See that?
22 Act.                                             22 A. Yes, sir.
23 Q. And it also says Duke v. Dunn.                23 Q. So that would leave the
                                         Page 227                                           Page 229
 1 Do you see that?                           1 officer-to-inmate ratio at about the same
 2 A. Yes, sir.                               2 as the previous year; correct?
 3 Q. Do you recall what that lawsuit         3       MS. PUTMAN: Object to the form.
 4 is?                                        4     (Witness reviews document.)
 5 A. I recall going through it, but I        5 A. Am I supposed to be able to look
 6 can't put it together at this particular   6 at something and tell? I don't know --
 7 time.                                      7 Q. Well, so let's do this. So if
 8 Q. It says, "dealing with security         8 you could turn to page 14, ending in
 9 issues and safety inside the prison."      9 8841, under staffing shortage, the second
10 You see that?                             10 line at the bottom of that paragraph says
11 A. Yes, sir.                              11 there's still 44-to-1 ratio; right?
12 Q. Did that refer to St. Clair?           12 A. Yes, sir.
13 A. Yes. Yes, sir.                         13 Q. And actually, if you look at
14 Q. So as of May 2016, you were            14 that compared to the critical threat
15 aware that ADOC and the prison was facing 15 paragraph in the previous -- for the
16 potential liability for the conditions at 16 previous year, they're exactly the same;
17 St. Clair?                                17 correct? Page 13 of the previous report,
18       MS. PUTMAN: Object to the form. 18 sorry.
19 A. I was aware that a lawsuit had         19     (Witness reviews document.)
20 been filed, yes.                          20 A. Yes, sir.
21 Q. So what I'd like to do is I'd          21 Q. So no improvements were made in
22 like to run through some comparisons      22 addressing the critical threat of
23 between this document and the one we      23 staffing shortages between 2014, 2015?
                                                                              58 (Pages 226 - 229)
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                                        Page 230                                         Page 232
 1       MS. PUTMAN: Object to the form.            1 report. So -- and disciplinaries.
 2 A. According to this, there wasn't.              2       So our disciplinaries are broken
 3 Q. Okay. So if you could turn back               3 down into major disciplinaries and minor
 4 with me in the 2015 assessment to page 6,        4 disciplinaries, and the difference is
 5 ending in 8833. So you see here under            5 what the punishment is. So it's not
 6 illegal and unauthorized activities,             6 necessarily just the A's and B's. They
 7 these figures are filled in now; right?          7 could be -- there could be a low amount
 8 A. Yes, sir.                                     8 of A's and a high amount of B's.
 9 Q. And that's -- the previous                    9 Refusing to go to work is considered a
10 year's were not?                                10 major report. It's major -- it's a major
11 A. Yes, sir.                                    11 disciplinary, but it's not -- there's no
12 Q. So it says total number of major             12 violence or anything that takes place in
13 disciplinary reports was 1,511. Do you          13 there.
14 see that?                                       14 Q. So, does that make discerning
15 A. I do.                                        15 the actual level of violence at a prison
16 Q. Do you know what was considered              16 difficult?
17 a major disciplinary report?                    17 A. There are other reports that you
18 A. It would be in the Class A,                  18 can look at. So -- so if I want to -- if
19 Class B range.                                  19 I want to -- if I want to look at -- if I
20 Q. So those are the ones that you               20 took St. Clair, Donaldson, and Holman and
21 received?                                       21 put those three institutions and I did a
22 A. Yes, sir. Well, yes, I think                 22 comparison of that and I had IT to run me
23 that's correct. Yeah.                           23 reports to show me how many fights with
                                        Page 231                                         Page 233
 1 Q. Is 1,500 a lot of major                       1 injury there were at each one of those
 2 disciplinary reports?                            2 facilities, how many assaults with
 3 A. Yes.                                          3 weapons there were, how many assaults to
 4 Q. Is that an acceptable number                  4 staff there were, those major incidents
 5 under ADOC standards?                            5 of violence, that gives me a better idea
 6 A. I can't answer that.                          6 comparing, and then I take an added
 7 Q. Was that an acceptable number to              7 staffing component into that. So there
 8 your standards?                                  8 -- there's -- there's more than just
 9 A. I can't answer that either.                   9 looking at a number, whether that number
10 Q. Can you explain why?                         10 increases or decreases.
11 A. Because I don't have anything to             11       Because it could be the same way
12 reference that against.                         12 with the decrease. This number could go
13       And so when we start talking              13 from 1,511 to, say, a thousand, but in
14 about major reports, A's and B's, a B           14 that report, that could have been -- in
15 could be something as simple as failure         15 this 1,511, there could have been a
16 to obey a direct order, which means that        16 hundred with assault, assault on staff,
17 I just turned around and walked away.           17 et cetera. Even though the number went
18 You told me to do whatever, and I turned        18 down, this number went down the following
19 around and walked away. There was no            19 year, that overall number for assaults
20 violence, there was no nothing in there,        20 could have gone up. So it's hard to look
21 but it still made -- made the report.           21 at this (indicating), just this, as a
22 You could have 700 of those and 300 file        22 comparison of how your violence is going.
23 reports, so -- based on -- based on major       23 Q. So following up on that, the
                                                                            59 (Pages 230 - 233)
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                                        Page 234                                          Page 236
 1 analysis you just described where you            1 always be present?
 2 kind of -- did you ever actually conduct         2       MS. PUTMAN: Object to the form.
 3 that analysis to understand the violence         3 A. In the current system as I know
 4 that was going on at St. Clair?                  4 it, yes, there will always be some
 5 A. I have looked at those numbers,               5 violence. Even if -- if you went to a
 6 yes.                                             6 locked-down facility and you had two
 7 Q. And do you recall what you found              7 inmates in the same cell all the way
 8 from that analysis?                              8 throughout and we gave them rec, we did
 9 A. In what respect?                              9 -- fed meals, we did everything that the
10 Q. Did you --                                   10 Department should do humanly possible,
11 A. Specifics or --                              11 that's not going to stop two people from
12 Q. Did you --                                   12 getting agitated at each other. That's
13 A. -- generalities?                             13 not going to stop -- that's not going to
14 Q. Generalities -- I mean specifics             14 stop me if you -- if you have a
15 if you recall. Do you recall what you           15 vulnerable inmate in the cell with a
16 found specifically?                             16 predator. It should not happen based on
17 A. Generally, St. Clair was                     17 -- that should not happen, but you don't
18 violent. There was violence at St.              18 always know that until it happens. So
19 Clair.                                          19 that still won't stop -- that won't stop
20 Q. Was it unacceptably violent?                 20 a sexual assault. And so there are some
21       MS. PUTMAN: Object to the form.           21 things that they will always happen
22 A. All violence is unacceptable.                22 regardless.
23 Q. And what did you do in response              23 Q. But there's a difference between
                                        Page 235                                          Page 237
 1 to seeing that?                                  1 that and 1,511 instances a year; right?
 2 A. You continue to try to work with              2 A. I just gave you the numbers. I
 3 staff. You continue to try to get it             3 broke that down to you.
 4 more staffed. All of the violence is not         4 Q. Okay. And you were -- you were
 5 based on a lack of staff, but a good             5 mentioning that -- talking about the
 6 portion of it. And if you have                   6 reliability and the usefulness of these
 7 additional staff, then it makes the              7 numbers and how they -- and what they
 8 situations better.                               8 actually say about the level of violence
 9       There is a component to inmate             9 at St. Clair; right?
10 activities that -- there are some people        10 A. Yes, sir.
11 who it doesn't make any difference if           11 Q. And if I'm understanding your
12 you're standing right there or not; if          12 testimony correctly, that these are --
13 they're going to do whatever they do,           13 these numbers are limited in their
14 they're going to do it. So you could            14 usefulness because just of how the
15 have ten staff standing around, and if          15 reporting works?
16 I'm mad, et cetera, and I'm mad with you        16 A. I would say depending on what
17 and I slap you, I'm going to go down, I'm       17 you're actually looking for. And I would
18 going to be cuffed, and I'm going to be         18 say, before I would just take these
19 taken off. But I -- the assault has             19 numbers to base that on, I've got other
20 still occurred, and it's assault on a           20 documentation that I can go to to get
21 staff member and it's considered serious.       21 some better clarification on that.
22 Q. So, are you saying that a level              22 Q. So as the person who was
23 of violence is impossible -- it will            23 designated to receive these -- these
                                                                             60 (Pages 234 - 237)
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                                        Page 238                                          Page 240
 1 assessments, do you think it was your job        1 two page 8's, if that helps you.
 2 to revise this to make it more useful?           2       THE WITNESS: Okay.
 3 A. I think this -- I think, if I'm               3 Q. Sorry, this kind of thing used
 4 not mistaken, that this is a form that is        4 to be easier on Zoom.
 5 produced by the National Institute of            5 A. Okay. And your question again?
 6 Corrections, and we were using it in             6 Q. Yeah. So in the 2015 analysis,
 7 accordance with them. But I'm not                7 it says that there were 22 assaults with
 8 totally positive about that, but that is         8 a weapon, inmate-on-inmate assaults with
 9 what I believe.                                  9 a weapon with serious -- without serious
10 Q. Okay. So moving forward in                   10 injury, excuse me, that were involving
11 this, the 2015 assessment, the amount of        11 knives, broomsticks, lock, sock. Do you
12 drug usage, it says the random screening        12 see that?
13 positive was 32 percent. You see that?          13 A. Yes.
14 A. Yes, sir.                                    14 Q. And so that's -- that is an
15 Q. And if you look at the                       15 increase from the year prior; correct?
16 commentary in that third box there, the         16 A. Yes.
17 narrative is the exact same as the year         17 Q. And assaults by hitting, hand,
18 prior; correct?                                 18 kicking, slapping stayed the same;
19 A. Yes.                                         19 correct?
20 Q. So there was no improvement in               20 A. Yes.
21 drug availability at St. Clair between          21 Q. And if you -- if you look down
22 2014 and 2015?                                  22 each of the categories under inmate,
23       MS. PUTMAN: Object to the form.           23 inmate assault with serious injury also
                                        Page 239                                          Page 241
 1 A. I can't find the other page, so               1 increased; correct?
 2 I can't --                                       2     (Witness reviews document.)
 3 Q. So we're looking for -- 248 is                3 A. Yes.
 4 the end?                                         4 Q. All told, between the A and B
 5 A. Based on this, you're correct.                5 categories in the 2015 report,
 6 Q. If you could turn to page 8 of                6 inmate-on-inmate assaults with serious
 7 the 2015 report with me, that also               7 injury actually went up by 31 incidents;
 8 corresponds to page 8 of the previous            8 right?
 9 report as well.                                  9 A. Yes.
10      So looking at the inmate                   10 Q. If my math is correct, that's
11 assaults, inmate-on-inmate assaults             11 roughly over -- that's about over 1000
12 without serious injury -- excuse me.            12 percent increase?
13      The assaults with major weapons            13 A. If your math is correct.
14 for 2015 went up from the previous year;        14 Q. So there was no improvement on
15 correct?                                        15 inmate-on-inmate assault at St. Clair
16 A. Give me a second to re-sort.                 16 from 2014 to 2015; correct?
17 Q. Sorry. So we're looking at 835               17      MS. PUTMAN: Object to the form.
18 and 250.                                        18 A. Based on this analysis, yes.
19 A. Yeah, I got to -- I just got to              19 Q. In fact, it got worse; correct?
20 take a second.                                  20 A. Yes.
21 Q. I hear you. Take your time.                  21 Q. If you could scroll -- scroll,
22 A. Thank you.                                   22 excuse me. If you could turn to page 10
23      MS. PUTMAN: You're looking for             23 of the 2015 report, ending in 8837.
                                                                            61 (Pages 238 - 241)
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                                        Page 242                                         Page 244
 1 Under emergency procedures, that same            1 Q. If you look in item 2 down here,
 2 line item that we talked about earlier,          2 it says public access, and I think this
 3 "The institution has adequate resources          3 is what you were referencing earlier
 4 and staff to handle an emergency," it            4 about the risk of the proximity to public
 5 says no there; correct?                          5 roads and individuals throwing contraband
 6       You don't have to worry about              6 over the fence. Is that correct?
 7 the earlier exhibit for now.                     7 A. Yes, sir.
 8 A. Yes.                                          8 Q. It says in here in the second to
 9 Q. So, and we talked about earlier               9 last sentence that a package containing
10 that that was no in the previous year;          10 two handguns was recovered. Do you see
11 correct?                                        11 that?
12 A. Yes.                                         12 A. Yes.
13 Q. So there was no -- there was no              13 Q. After locking the facility down
14 improvement in St. Clair's ability to           14 and some investigation, it was discovered
15 staff and handle an emergency; correct?         15 there was already ammunition inside the
16 A. Based on this analysis, that's               16 facility. Do you recall that incident?
17 correct.                                        17 A. Yes, sir.
18 Q. If you could turn with me to                 18 Q. What do you recall about the
19 page 12 of this. Under group                    19 investigation that followed?
20 disturbances, there's a comment that            20 A. I don't -- I don't recall the
21 says, "An officer was attacked in               21 investigation. CERT was brought in, the
22 segregation the same night multiple             22 facility was locked down, and the whole
23 inmates stabbed a lieutenant, causing           23 facility was searched.
                                        Page 243                                         Page 245
 1 serious injury to both employees." Do            1 Q. And --
 2 you see that?                                    2 A. There was --
 3 A. Yes.                                          3 Q. Excuse me, I didn't mean to --
 4 Q. Was this the incident you were                4 A. No ammunition was ever found, to
 5 referencing earlier at St. Clair?                5 my knowledge. Or to the best of my
 6 A. I can't -- I don't know.                      6 recollection, it was not.
 7 Q. Do you recall this incident?                  7 Q. So this is inaccurate that there
 8 A. No. Not specifically, no.                     8 was already ammunition inside the
 9 Q. If you could scroll -- I keep                 9 facility?
10 doing that. If you could turn with me to        10 A. Yes, to the best of my
11 page 14, please, ending in 8841.                11 knowledge. To the best of my
12 Staffing shortage is still the number one       12 recollection, there was a search that
13 critical threat; right?                         13 took place. The facility went into
14 A. Yes, sir.                                    14 lockdown, and there was a search that
15 Q. And we talked about earlier, the             15 took place, but I don't recall us finding
16 ratio here is still the same; correct?          16 any ammunition.
17 A. Yes.                                         17       THE COURT REPORTER: You don't
18 Q. So there was no improvement on               18 recall what?
19 the critical threats of staffing --             19       THE WITNESS: We finding --
20 staffing shortages at St. Clair for             20 actually finding ammunition.
21 2014-2015; correct?                             21 A. And I could be wrong, but I
22       MS. PUTMAN: Object to the form.           22 don't remember finding ammunition.
23 A. That's correct.                              23 Q. How many times have guns been
                                                                            62 (Pages 242 - 245)
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                                        Page 246                                           Page 248
 1 found in St. Clair?                              1 Q. So that being what it was, was
 2 A. I don't know.                                 2 it clear to you after this report that
 3 Q. At least once; right?                         3 whatever you had done -- strike that.
 4 A. Yes.                                          4       You mentioned that you had done
 5 Q. Okay. If you compare -- well,                 5 things regarding staffing; right?
 6 strike that.                                     6 A. Yes.
 7       Was Commissioner Dunn informed             7 Q. Would you agree that based on
 8 of the results of this analysis, the 2015        8 the results of this report, that they
 9 analysis?                                        9 were unsuccessful?
10 A. I can't say. I don't know. I                 10 A. Still are. And I don't -- so
11 don't remember.                                 11 the time frame that we were talking about
12 Q. What about the 2014 analysis?                12 earlier when I was telling you and the
13 A. I don't remember.                            13 time frame now, I don't even know if
14 Q. Is this something that you would             14 we're talking about the same two time
15 have reported to him?                           15 frames.
16 A. I don't remember.                            16       But I do know that if you
17 Q. So you mentioned a few things                17 recruit, if you go out, you try to bring
18 that were done -- strike that.                  18 people in. You can't make people come to
19       Was there anything that you did           19 work at the Department of Corrections, or
20 following receiving this report to remedy       20 any other job, for that matter. You can
21 the issues identified in here?                  21 walk down the street now and see Wendy's,
22 A. The same thing, just continued               22 McDonald's, and everybody else has got a
23 to try the same thing.                          23 sign up saying they want help. You can't
                                        Page 247                                           Page 249
 1       You realize that -- so in this             1 make people come to work. You can't.
 2 report, if the accuracy of -- if this            2 You can't. It's not like a robot that I
 3 report is accurate, so we've already             3 can just go manufacture and put in and
 4 talked about staffing being down, so             4 put it in place. It doesn't work like
 5 staffing was further down. This year,            5 that. I wish it did, but it doesn't.
 6 staffing is less than it was because even        6 Q. So --
 7 though the percentage is less, it doesn't        7 A. That doesn't mean that we stop
 8 account for the people that we had               8 trying. You don't stop recruiting. You
 9 already lost in the previous year, which         9 don't stop going out trying to get people
10 means that we were further down in              10 to come to work. You don't do that. But
11 staffing.                                       11 you can't make them come.
12       Staffing continues to be a                12       If you raise the salaries, then
13 problem at St. Clair today, to my               13 everybody -- when the things were going
14 knowledge, to the best of my knowledge,         14 and we were looking at marketing and all
15 so staffing is an issue. Nobody -- I            15 these other things, we thought raising
16 would never try to dispute that staffing        16 the salaries would get more people to
17 is an issue. And if you don't have the          17 come to work. If you check the numbers
18 staff, you can't do searches like you're        18 today, see where they are, and the
19 supposed to. You can't control inmate           19 salaries did go up.
20 traffic like you're supposed to. That's         20 Q. So you've raised salaries and
21 -- that's a fact. I think any expert            21 recruiting multiple times, but I guess
22 would come in and tell you that same            22 what I'm curious about are other --
23 thing.                                          23 because those aspects, as you just said,
                                                                             63 (Pages 246 - 249)
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                                        Page 250                                           Page 252
 1 didn't work, right, both when you were           1 scratch them or break the glass on them?
 2 there and after, what were the other             2 A. If that's the case, no.
 3 alternatives? And were there -- and I            3 Q. So we talked earlier that -- and
 4 should say, were there other alternatives        4 we looked at -- the initial vulnerability
 5 explored to try to improve the conditions        5 analysis said that those analyses were
 6 at St. Clair?                                    6 supposed to be done annually. You
 7 A. Fencing, locks were changed,                  7 remember that?
 8 dormitories were reconstructed.                  8 A. Yes, sir.
 9 Q. So we talked earlier that                     9 Q. Do you know if they were done
10 changing the locks doesn't actually             10 annually?
11 address the ability to obstruct them --         11 A. I do not.
12 obstruct them; correct?                         12 Q. So, is it possible that one
13 A. It doesn't.                                  13 covering 2016 was not done?
14 Q. So, does that address the                    14 A. I just told you, I do not know.
15 problem?                                        15 Q. I asked if it was possible.
16 A. To a degree, it does if you put              16 A. Anything's possible.
17 a better lock in. If you put a better           17 Q. Okay. Because we have not
18 lock in, then you do another mechanism,         18 received one, so that's why I wanted to
19 use other mechanisms, to a degree, it           19 ask.
20 does. But if a person still -- if a             20      I'd introduce to you what I'm
21 person can jam the lock, if a person can        21 going to mark as Plaintiff's Exhibit 6.
22 -- no, it doesn't. And so in one                22 Do you recognize this document, sir?
23 opinion, it could be -- it's a twofold          23 (Plaintiff's Exhibit 6 was marked for
                                        Page 251                                           Page 253
 1 situation there, right, because the              1 identification and is attached.)
 2 inmate knows he shouldn't jam the lock.          2 A. I'm sorry?
 3 That's not in the rules that you jam your        3 Q. Do you recognize this document,
 4 lock, but you do it anyway. It's                 4 sir?
 5 twofold.                                         5 A. Alabama Department of
 6       If you go through and you try to           6 Corrections Institutional Vulnerability
 7 make conditions better, if you try to            7 Analysis. Institutional name: St. Clair
 8 paint and do things to make it better, if        8 Correctional Facility. Date: May 2nd,
 9 you put in security cameras to try and           9 20- -- 2018.
10 make them better, you put the cameras in        10 Q. So this would be the analysis
11 and they try to tear them down. You're          11 covering 2017 for St. Clair; right?
12 trying. You're making an effort. It's           12 A. Yes, sir.
13 not like nothing was being done.                13 Q. So if you could turn to page 3
14 Q. But I guess my question is, was              14 with me, ending in 947, it says under --
15 what you were doing -- strike that.             15 about three-quarters down the page, it
16       So for example, if cameras were           16 says, "Update of security equipment,
17 put in areas where it was -- where              17 security systems included in recent
18 inmates could easily access them to rip         18 changes." Here it says, "Cell" -- "Cell
19 them down, is that a usable solution?           19 door locking mechanisms were replaced on
20       MS. PUTMAN: Object to the form.           20 all inmate living areas." You see that?
21 A. If that was the case, no.                    21 A. Yes, sir.
22 Q. What about if they were put in               22 Q. This is the lock project you
23 areas where inmates were easily able to         23 were referencing earlier?
                                                                             64 (Pages 250 - 253)
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                                        Page 254                                          Page 256
 1 A. Yes, sir.                                     1        I think Mr. Dunn probably talked
 2 Q. So that didn't occur until 2017.              2 to legislators on a very regular basis
 3 Is that right?                                   3 about the needs of the Department of
 4 A. It might have been -- might have              4 Corrections. I wasn't with him. I can't
 5 been '17 or '18, yeah. '16 or '17, I             5 say that specifically. But in
 6 don't know.                                      6 conversations we've had, I do believe
 7 Q. So my question is, given the                  7 that that took place. And so State bid
 8 2015 -- 2014 analysis and the 2015               8 laws, they're time-consuming. It's --
 9 analysis and your recollection of the            9 everything.
10 conditions at St. Clair while you were          10        So you say six months; before
11 institutional coordinator prior to that,        11 you know it, it's like nine months, and
12 why wait until 2014 to change the locks?        12 then a year is gone. You've still -- you
13 A. Why wait until 20- --                        13 got it on the boards. You're working.
14 Q. Twenty -- excuse me. I'll reask              14 It's a process.
15 the question.                                   15 Q. Then under the next section, it
16       Given the 2014 analysis and the           16 says, "Proposed policy changes," and it
17 2015 analysis and your recollection of          17 reads, "Develop intake procedures for
18 the conditions at St. Clair while you           18 inmates being processed at SCCF to
19 were institutional coordinator at St.           19 include housing unit placement programs
20 Clair -- for St. Clair, why wait until          20 and to create a more safe environment
21 2017 to change the locks?                       21 particularly for inmates at greater
22 A. I think the -- I think the                   22 risk." Do you see that?
23 project itself, the making of the project       23 A. Yes, sir.
                                        Page 255                                          Page 257
 1 actually probably began before then, but   1 Q. So, can you describe to me what
 2 you have to consider State money. The      2 these procedures that were being
 3 legislature appropriated proper funds to   3 developed were?
 4 be able to do that. You have to consider   4 A. I can vaguely. I vaguely
 5 hiring a contractor to come in and do      5 remember. So there were -- we were
 6 their assessment. If I'm not mistaken,     6 trying to make adjustments to the
 7 we also hired a consultant to do some      7 population at St. Clair. So we had --
 8 things and make recommendations as to the 8 there were a high number of inmates who
 9 changes and the type of lock that we       9 were doing certain things, so they would
10 used. Bureaucracy, lack of funds.         10 be placed in solitary or administrative
11 Q. So, do you think there was             11 segregation, which was potentially taking
12 anything that you could have done to have 12 cell space up from people who needed to
13 the locks changed earlier?                13 be.
14 A. Bureaucracy, I have no control         14       Cells, single cells,
15 over. Legislature, I have no control      15 administrative segregation cells
16 over. Funding, I don't control funding.   16 throughout the state were not necessarily
17 Q. So, do you think there's               17 adequate for those people who had been
18 anything Mr. Dunn could have done to have 18 there. Of course, at the same time, you
19 the locks changed earlier?                19 were dealing with national standards.
20 A. I think he did. I think -- I           20 They're saying -- because remember, we
21 think -- I think we all did what was      21 had the Duke case going on at the same
22 feasibly possible for us to do in the     22 time, the Disabilities Act, and mental
23 time frame that we did it.                23 health was a part of that, and I think
                                                                            65 (Pages 254 - 257)
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                                        Page 258                                           Page 260
 1 it's still -- I think that suit is still         1 that was showing that inmates were more
 2 going on.                                        2 apt to be combative or not follow orders,
 3        But the same thing, you -- you            3 a lack of control.
 4 don't lock -- you don't take guys and            4 Q. So a lack of control over the
 5 just lock them away in segregation for           5 institution also increases use of force
 6 long periods of time. So we tried to             6 by employees?
 7 come up with -- there were consultants           7 A. That's not what I'm saying. But
 8 hired for this too that came in, took a          8 when you have -- when you're the inmate,
 9 look at the processes, and pretty much           9 or you're the civilian on the street, for
10 put a plan of action together so that we        10 that matter, and you do -- don't do what
11 would have a -- get a better assessment         11 law enforcement tell you to do or in the
12 of inmates who were brought to St. Clair        12 prison, you don't do what the
13 and the type of image that we had at St.        13 correctional officer tells you to do, it
14 Clair.                                          14 generally leads to some form of
15 Q. Do you think this was the kind               15 confrontation. And if I do a takedown
16 of program that should have been in place       16 move, that's use of force. If I put
17 prior to 2017?                                  17 cuffs on you, I have to take you down to
18 A. Anything that would have been an             18 put cuffs on you. I'm not going to a
19 improvement, anything that would have           19 cell to get you out to put restraints on
20 been an improvement that we could have          20 you, but I have to put restraints on you
21 gotten sooner would have been good.             21 because you're combative, that's use of
22 Q. Is there anything else that you              22 force.
23 think -- strike that.                           23 Q. Do you recall incidents where
                                        Page 259                                           Page 261
 1       Is there anything that you think           1 staff were using -- were using force
 2 could have been provided sooner that             2 while inmates were restrained?
 3 would have made an improvement at St.            3 A. I know it has happened. I don't
 4 Clair?                                           4 recall -- recall any specific incidents
 5 A. Not that comes to mind, no.                   5 at St. Clair, but I do know that
 6 Q. So if you could turn to page 6                6 happened.
 7 of this document, please. And if you             7 Q. Was it common at St. Clair?
 8 could also -- I apologize for another            8 A. I can't say that it was common
 9 comparison for the 26 -- the 2015                9 at St. Clair.
10 analysis ending at 8833.                        10 Q. If you keep looking down, the
11       So under use of force, it says            11 narrative under drug usage is the same as
12 that incidents doubled between 2015 and         12 the previous two reports we looked at;
13 2017. You see that?                             13 correct?
14      (Witness reviews document.)                14 A. Yes, sir.
15 Q. Nearly doubled, I apologize.                 15 Q. So there was no improvement in
16 A. I see the numbers, yes.                      16 the availability of drugs at St. Clair
17 Q. Did that concern you?                        17 between 2014 and 2017?
18 A. Yes.                                         18       MS. PUTMAN: Object to the form.
19 Q. Do you know what caused that                 19 A. That's what that statement
20 spike?                                          20 suggests.
21 A. No. But if we go back to the                 21 Q. And if you compare -- if you
22 2015 analysis, I believe it was, if this        22 turn to page 9477 and look at the
23 is the '16, then we had the documentation       23 corresponding page in the 2015 report of
                                                                             66 (Pages 258 - 261)
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                                       Page 262                                         Page 264
 1 8834, the inmate staff assaults --              1 A. Yes, sir.
 2 assaults also went up from 2015 to 2017;        2 Q. And no cost-of-living increases
 3 correct?                                        3 or pay?
 4     (Witness reviews document.)                 4 A. Yes, sir.
 5 A. Yes, sir.                                    5 Q. And stress from the number of
 6 Q. So the inmate staff violence at              6 serious and dangerous incidents?
 7 St. Clair got worse between 2015 and            7 A. Yes, sir.
 8 2017; correct?                                  8 Q. So you mentioned earlier that in
 9 A. According to this report.                    9 response to the conditions at St. Clair
10 Q. And the same is true if you look            10 as you were associate commissioner, pay
11 at the inmate-on-inmate assaults for 2017      11 was increased. Do you recall that?
12 versus the inmate-on-inmate assaults for       12 A. Yes, sir.
13 2015; correct?                                 13 Q. So that didn't occur until the
14     (Witness reviews document.)                14 earliest 2018. Is that right?
15 A. And what -- which -- which just             15 A. I don't know exactly when it
16 happened -- which year are we looking at?      16 occurred.
17 Which --                                       17 Q. But up to -- based on this, up
18 Q. So for example, if you look at              18 to this point, it had not occurred;
19 inmate-on-inmate assaults with serious         19 correct?
20 injury in the 2017 analysis, there was 53      20 A. I just know it happened.
21 incidents of handmade -- of incidents          21 Q. This report and the 2015
22 involving handmade knives. See that?           22 analysis reference mandatory overtime.
23 A. Yes, sir.                                   23 Do you know how long employees were
                                       Page 263                                         Page 265
 1 Q. That went up from 11 in 2015;                1 mandated to work overtime, how many
 2 correct?                                        2 hours?
 3 A. Yes, sir.                                    3 A. There was a limit of -- there
 4 Q. So that got worse between 2015               4 was a limit of eight. You could work
 5 and 2017; correct?                              5 your regular eight-hour shift. You were
 6 A. According to this report.                    6 not to work over 16 hours. There were --
 7 Q. So if you go to page 9 of the                7 there were -- there were times when that
 8 2017 report -- or analysis, excuse me,          8 was not necessarily feasible, for various
 9 ending in 9479 and if you compare that to       9 reasons.
10 the same -- the corresponding page in the      10       THE COURT REPORTER: For what?
11 2015 analysis ending in 8836, the section      11       THE WITNESS: Various reasons.
12 labeled "Staff issues," on both, staff         12 Q. Sorry, what was not necessarily
13 morale is labeled as "Low"; correct?           13 feasible?
14 A. Yes, sir.                                   14 A. For you just to work 16 hours.
15 Q. And that's actually a decrease              15 Because if I have -- if I have -- if I
16 in designation from the 2014 analysis we       16 have an officer or two officers at a
17 looked at, right, that said "Fair"?            17 hospital with an inmate, I need staff to
18 A. Yes, sir.                                   18 come to work before I can send staff to
19 Q. And both still list staff                   19 relieve them unless I know that I can
20 shortages as a -- as a reason for that;        20 call them and get them to go straight to
21 correct?                                       21 the hospital. So the likelihood is that
22 A. Yes, sir.                                   22 staff is not going to get relieved on
23 Q. And mandatory overtime?                     23 time, so they're going to do more than
                                                                           67 (Pages 262 - 265)
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                                       Page 266                                           Page 268
 1 their 16 hours.                            1 seen from these three reports, that
 2 Q. Was that common at St. Clair?           2 staffing continues to get worse, and you
 3 A. It got worse. I mean, the lower         3 run out of options on what to do to try
 4 your staffing numbers go, then it          4 to replace them. You don't have as many
 5 continues. So we started out like -- if    5 classes now. You don't have as many
 6 I'm not mistaken, we started out putting   6 people being hired, not even from the
 7 mandates on -- initially, you could not    7 Limestone.
 8 do but X, Y, Z amount of overtime and you 8        Limestone now is in the same --
 9 could not do but eight hours over. You     9 not the same situation, but the people
10 had to have at least one off day.         10 that were going to work at Limestone
11 Because all overtime wasn't mandated      11 where we didn't have any staffing
12 overtime. Some officers would volunteer 12 problems, so they can't -- they can't
13 to work overtime. So your mandated        13 divert staff now from going back to
14 overtime came when you couldn't get a     14 Limestone. They can't -- there's
15 volunteer and you didn't have anyone to   15 nobody -- there's no Peter to borrow from
16 cover the post. So rather than let staff  16 Paul. There's no -- it doesn't work.
17 leave the facility and leave that post    17 Q. So, do you recall when -- so you
18 uncovered, they were mandated to stay.    18 said earlier that staffing shortages were
19       You had people walk out,            19 a problem and got worse even before you
20 wouldn't stay. They would take a          20 became institutional coordinator. Is
21 disciplinary action, but they wouldn't    21 that right?
22 stay. So then you just go to the next     22 A. I think so.
23 person or the next person until you can   23 Q. So, is it safe to say that the
                                       Page 267                                           Page 269
 1 get somebody to cover that post. And            1 mandatory overtime also was a problem and
 2 then you start calling people to come in.       2 continued to get worse during that time
 3 You may be calling somebody that's              3 period?
 4 scheduled to come in at 6:00 that               4 A. I don't know. I don't know if
 5 morning, but I need you to come in now.         5 we were doing mandatory overtime at that
 6 So whatever it was to try to cover the          6 time. I don't know. But based on this,
 7 post, that's what was being done.               7 we hadn't started doing mandatory
 8       So there were -- there were --            8 overtime at that time.
 9 initially with the policy -- I have no          9 Q. Understood. So you may have
10 idea how the policy reads now, but             10 answered this question, but do you
11 initially with the policy, there was a         11 remember when mandatory overtime was put
12 certain amount of overtime that you could      12 into place?
13 work in a workweek. In a 40-hour               13 A. No, sir.
14 workweek, there was a certain amount of        14 Q. So if you could turn to page 10,
15 time. You had to have like one off day.        15 ending in 94- -- 9480, under emergency
16 You like couldn't work both of your off        16 procedures, the same line item we've
17 days. There were things that were put in       17 looked at previously on the earlier
18 place to try to.                               18 reports, "The institution had adequate
19 Q. So you said it got worse. Do                19 resources and staff to handle an
20 you recall when it started to get worse?       20 emergency." It still says no; correct?
21 A. When I -- when I say it got                 21 A. Yes.
22 worse, I mean, the staffing continued to       22 Q. So safe to say no improvement on
23 get worse. I can't -- I mean, as we've         23 St. Clair's ability to have adequate
                                                                            68 (Pages 266 - 269)
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                                       Page 270                                         Page 272
 1 staff and resources to handle an                1 know it was right -- it was right around
 2 emergency?                                      2 the sally port area.
 3 A. Correct.                                     3       THE COURT REPORTER: Around the
 4 Q. If you turn to page 9481, page               4 what area?
 5 11 with the number 9481 in the bottom           5       THE WITNESS: Sally port.
 6 right, under escapes, under the comments        6       THE COURT REPORTER: Thank you.
 7 section at the bottom, it says, "On             7 Q. And was that while you were
 8 12-4-17 two inmates managed to escape           8 associate commissioner or institutional
 9 during a time of increased inmate               9 coordinator?
10 movement coupled with ongoing staff            10 A. I think associate commissioner.
11 shortages." Do you see that?                   11 Q. So if you turn to page 14 of
12 A. Yes, sir.                                   12 this analysis -- excuse me. You can look
13 Q. Do you recall that escape?                  13 at 13 and 14. It's the critical threats
14 A. No, sir.                                    14 section. The critical threats identified
15 Q. Were escapes common at St.                  15 in 2015 are the same identified in 2017;
16 Clair?                                         16 correct?
17 A. No, sir.                                    17 A. Staffing, public access,
18 Q. How many escapes would you say              18 infectious -- staffing, public access,
19 occurred while you were institutional          19 tuberculosis, weather events, infectious
20 coordinator?                                   20 disease and tuberculosis.
21 A. I have no idea.                             21 Q. So --
22 Q. What about as associate                     22       MS. GIBSON: Can we take a quick
23 commissioner?                                  23 break before you ask that question?
                                       Page 271                                         Page 273
 1 A. I have no idea.                              1       MR. EARL: Sure.
 2 Q. At least one; right?                         2       MS. GIBSON: Just for a second.
 3       MS. PUTMAN: Object to the form.           3 I apologize.
 4 A. At least one. I think there was              4       THE VIDEOGRAPHER: We're going
 5 -- well, at least one. I don't recall           5 off the record at 3:19.
 6 this one. I do recall another one, so.          6          (Break taken.)
 7 Q. What's the other one you recall?             7       THE VIDEOGRAPHER: We're going
 8 A. One guy escaped.                             8 back on the record at 3:34.
 9 Q. When was that?                               9 Q. (By Mr. Earl) So, Mr. Culliver,
10 A. I don't know.                               10 before we left, we were looking at the
11 Q. Can you -- what were the details            11 goals listed in the 2017 analysis
12 of that escape?                                12 compared to the goals listed in the 2015
13 A. He went out the fence. He                   13 analysis. You remember that?
14 escaped.                                       14 A. Yes, sir.
15 Q. Okay.                                       15 Q. And they are the exact same;
16 A. He went under a fence and under             16 right?
17 another fence and --                           17 A. If you -- if you -- infectious
18 Q. So he dug out of the prison?                18 disease and tuberculosis, I mean, that is
19 A. He what?                                    19 an infectious disease. But other than
20 Q. He dug underneath?                          20 that, yes, they are --
21 A. I don't -- no, it wasn't a dig              21 Q. So --
22 situation. I don't think it was. To the        22 A. -- as far as I can tell.
23 best of my recollection, it wasn't. I          23 Q. So aside from the difference of
                                                                           69 (Pages 270 - 273)
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                                        Page 274                                         Page 276
 1 infectious disease and tuberculosis, fair        1 "As Inmate King the left the interview
 2 to say there were no improvements as to          2 room in which Agt Casey sat, Inmate King
 3 those items at St. Clair between 2015 and        3 yelled at Agt Casey across a very busy
 4 2017; right?                                     4 and occupied lobby hallway, it was
 5 A. Yes.                                          5 Specks, Warden Cedric Specks gave us the
 6       MS. PUTMAN: Object to the form.            6 gun."
 7 A. Yes, sir.                                     7      Do you see that?
 8 Q. Why do you think that was?                    8 A. Yes, sir.
 9 A. All the things I've told you for              9 Q. That's Warden Specks at St.
10 the last four and a half hours, five.           10 Clair?
11 Staffing, lack of.                              11 A. Yes, sir.
12 Q. So I'm going to introduce                    12 Q. Do you recall this allegation?
13 Plaintiff's Exhibit 6 -- I'm sorry, 7.          13 A. I do now, yes, sir.
14 Mr. Culliver, do you recognize this             14 Q. And if you turn to the next
15 document?                                       15 page, at the bottom of the last full
16 (Plaintiff's Exhibit 7 was marked for           16 paragraph, it reads that "Inmate Wilson
17 identification and is attached.)                17 elaborated and stated that as part of his
18 A. It's an Investigative Report                 18 deal with Officer Watts $1,000 of the
19 from the Alabama Department of                  19 $11,000 payment was for Warden Cedric
20 Corrections.                                    20 Specks as a cut for allowing the inmate's
21 Q. It says the date of the offense              21 dealings with Officer Watts."
22 is 12/4/2017. Do you see that?                  22      Did I read that right?
23 A. Yes, sir.                                    23 A. Yes, sir.
                                        Page 275                                         Page 277
 1 Q. And this is an investigation                  1 Q. Do you recall this allegation?
 2 into Officer Justin Watts; right?                2 A. No, sir.
 3 A. Yes, sir.                                     3 Q. So you don't recall an
 4 Q. So, Mr. Culliver, we mentioned                4 allegation that your -- that a warden at
 5 earlier there was an escape in December          5 St. Clair was taking money to -- as part
 6 of 2017. Do you recall that                      6 of getting inmates a gun and escape?
 7 conversation?                                    7 A. I don't recall that as it's
 8 A. I don't know about the date, but              8 written here.
 9 we talked about an escape, yes, sir.             9 Q. What do you recall?
10 Q. So in this report, it says that              10 A. Just that Specks was being
11 two inmates were able to escape with bolt       11 investigated for -- and the inmate
12 cutters and hacksaw blades. And it also         12 claimed that he allowed a weapon to come
13 mentions that the inmates told I&I              13 into the facility.
14 investigators that they had a Taurus            14 Q. And were you at all involved in
15 9-millimeter G2 pistol during their             15 that investigation?
16 escape. That's -- do you recall that?           16 A. No, sir.
17 A. Do I recall it?                              17 Q. Do you recall the results of
18 Q. That -- those facts.                         18 that investigation?
19 A. No.                                          19 A. No, sir.
20 Q. So if you could please turn to               20 Q. Did you recall any other similar
21 page -- the page ending -- on the right         21 allegations against Mr. Specks?
22 ending in 2155. And then the last               22 A. About contraband or --
23 sentence of the first paragraph reads,          23 Q. Correct.
                                                                            70 (Pages 274 - 277)
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                                      Page 278                                          Page 280
 1 A. -- guns or whatever?                        1       MS. PUTMAN: Object.
 2 Q. Contraband, guns.                           2 A. Yes, sir.
 3 A. No, sir.                                    3       MS. PUTMAN: Object to the form.
 4 Q. Mr. Specks was fired in 2018.               4 Q. And do you recall what your role
 5 Is that right?                                 5 in that assessment was?
 6 A. He was fired. I don't know                  6 A. I don't recall that at all.
 7 when.                                          7 Q. Do you recall reading this
 8 Q. Do you know -- do you know why?             8 report?
 9 A. I thought I said earlier,                   9 A. I don't.
10 inappropriate -- I don't know. I don't        10 Q. You were interviewed as part of
11 know exactly what the charges was as far      11 this assessment; right?
12 as officially, but it was inappropriate       12 A. I may have been, but I don't
13 behavior with females, contract females       13 recall.
14 at the facility.                              14 Q. Okay. So if you turn to page 5
15 Q. I'm going to hand to you what              15 of this report, the second paragraph
16 I'm going to designate as Plaintiff's         16 reads: "Staff shortages combined with
17 Exhibit 8. Oh, actually, I'm sorry, can       17 low morale has created a facility culture
18 I have that one back? My apologies, I         18 of unmotivated staff doing only the
19 gave you the wrong one. I'm sorry.            19 minimum to make it through their shift.
20       Excuse me, I'm sorry. I was             20 Officers do not enforce basic facility
21 right. You can have that back.                21 polices such as challenging inmates
22       Are you familiar -- excuse me.          22 moving without authorization on the yard
23 Do you recognize this document, sir?          23 or enforcing the requirement for inmates
                                      Page 279                                          Page 281
 1 (Plaintiff's Exhibit 8 was marked for      1 to wear their issued identification
 2 identification and is attached.)           2 wristband and prohibiting smoking within
 3 A. It looks like an e-mail.                3 units. This has resulted in the inmate
 4 Q. And the second page here, do you        4 population being very undisciplined and
 5 recognize this document?                   5 empowered by the lack of any real
 6      (Witness reviews document.)           6 structure."
 7 A. It's an Alabama Department of           7      Do you recall that being the
 8 Corrections St. Clair Correctional         8 case at St. Clair in 2018?
 9 Facility Operational Assessment Report.    9     (Witness reviews document.)
10 Q. So, do you know what the               10 A. Yes, sir.
11 Association of State Correctional         11 Q. Do you recall that being the
12 Administrators is?                        12 case at St. Clair prior to 2018?
13 A. It's a correctional organization       13 A. No, not in the -- not in the --
14 that I think primarily is for             14 not in this degree as this is written
15 commissioners.                            15 here, no.
16       THE COURT REPORTER: Is what? 16 Q. What is it that you think
17       THE WITNESS: It's a                 17 changed?
18 correctional -- it's a national           18 A. What do I think changed to
19 correctional organization that I believe  19 create this?
20 is for the commissioners.                 20 Q. Correct.
21 Q. And they were brought in to do         21 A. Lack of staffing, low morale,
22 an assessment following the December 2017 22 excessive overtime.
23 escape. Do you recall that?               23 Q. So, do you think that the
                                                                           71 (Pages 278 - 281)
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                                        Page 282                                          Page 284
 1 description here is different from the           1 his pants down or not having a wristband
 2 descriptions that were provided in the           2 on and him not challenging somebody or
 3 analyses that we saw from 2015 -- 2014,          3 him not telling a staff member to
 4 2015, and 2017?                                  4 challenge somebody before I could just
 5 A. It seems -- it seems to be the                5 say that that (indicating).
 6 same, just escalated.                            6 Q. So, did the information that we
 7 Q. And then if you go down to the                7 reviewed in the 20- -- 2014, 2015, and
 8 third paragraph from the bottom, it says,        8 2017 analyses, those didn't indicate to
 9 "All these issues are certainly                  9 you that mediocrity was the new normal at
10 indicative of a lack of leadership."            10 St. Clair?
11       And then it goes on, "Everyone            11 A. No.
12 from top management including regional          12 Q. Why not?
13 staff to line staff appears to have             13 A. Because of the -- because of the
14 accepted mediocrity as the new normal."         14 staffing. I can't -- I don't know of any
15       Do you recall reading this, sir?          15 other way to try to get you to understand
16 A. I've never seen this document                16 that if there is nobody there, that if
17 before, to my knowledge.                        17 there are not enough staff people there,
18 Q. So --                                        18 there is only so much you can do.
19 A. I'm not included on the e-mail.              19       Earlier in this deposition, I
20 Q. You were there though during                 20 tried to explain that every facility in
21 this -- during this time period? This is        21 this country, every correctional facility
22 dated January 22, 2020 -- 2018; correct?        22 in this country, on any given day could
23 A. Yes, sir.                                    23 be taken because the staff is always
                                        Page 283                                          Page 285
 1 Q. So, do you recall this being the        1 outnumbered. There's a difference in
 2 case at St. Clair?                         2 staff just being outnumbered and you
 3 A. What being the case?                    3 having severe staffing shortages and you
 4 Q. Correctional staff receiving            4 having people working who can barely keep
 5 little supervision or support.             5 their eyes open, when you have low morale
 6 A. I don't know about the support.         6 because they can't get relieved on time.
 7 I can't say that. I'm not -- I wasn't at   7 They don't feel like they're paid enough.
 8 St. Clair every day. The top part, not     8 I can't -- that's all I can tell you. I
 9 doing their jobs, yes. I witnessed that.   9 can redundantly tell you that over and
10 Q. And what about "Everyone from          10 over and over again.
11 top management including regional staff   11       And I can't make -- I can't make
12 to line staff appears to have accepted    12 people be hired or even want the job.
13 mediocrity as the new normal"?            13 That wasn't a reason for stop working --
14 A. I can't testify to that.               14 for people who were there to stop doing
15 Q. Why is that?                           15 their jobs. But you asking me if I --
16 A. Because I wasn't -- I'm not            16 why couldn't I see that, I wasn't there
17 there every day. I don't -- I can't say.  17 every day. When I was there, you know, I
18        So Edward Ellington was the        18 don't have -- I don't have a problem
19 person that was in charge of St. Clair.   19 telling a person to pull your clothes up,
20 I mean, it was in his region. I can't     20 where are you going, go back the other
21 say that he accepted that. I mean, I      21 way. I never had a problem with that,
22 would have to see that in action. I       22 and I always had respect with that.
23 would have to see a guy walking down with 23       Guys, they turn around and go
                                                                            72 (Pages 282 - 285)
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                                       Page 286                                         Page 288
 1 back the other way. I never had an              1 Q. But do you have any reason to
 2 inmate at that level even -- I won't say        2 think that the ASCA's analysis was --
 3 I didn't have anybody think about               3 A. My answer is the same. I can't
 4 assaulting me, but I never had anybody to       4 answer that.
 5 assault me, and I went to St. Clair and         5 Q. So, were any of the
 6 actually worked on the ground with staff        6 recommendations that ASCA wrote down here
 7 when there was only three of us on the          7 put into place at St. Clair while you
 8 ground. And I did -- there was a slight         8 were associate commissioner?
 9 altercation. That inmate, when he got           9 A. This is the first time I saw
10 searched, he actually had a knife, but he      10 this.
11 was trying to go to a housing unit he          11 Q. I understand that.
12 didn't belong in. He was turned around         12 A. So they wouldn't have been -- it
13 and went back.                                 13 wouldn't have been in to me to put these
14 Q. So, can you turn to page 10 of              14 in place if I -- if I'm just now seeing
15 this report for me. Excuse me. If you          15 it and it's 2022. It took place in 2018.
16 could turn back to page 9 for one second.      16 I'm just saying.
17 I apologize.                                   17 Q. I'm asking, these were -- these
18 A. No problem.                                 18 were alternatives, though, to fixing the
19 Q. So this section is entitled                 19 shortage -- the staffing issue; correct?
20 "Security staffing supervision and span        20 A. Are you asking that if I think
21 of control"; right?                            21 that if these things had been put in
22 A. Yes, sir.                                   22 place, that maybe it would have helped?
23 Q. And then if you flip the page               23 Q. I'm asking that -- I'm asking
                                       Page 287                                         Page 289
 1 again to page 10, there's a section here   1 you to confirm that you never, prior
 2 about three-quarters of the way down that  2 to -- you never, prior to -- strike that.
 3 says "Recommendations." And so these are 3         I'm asking you to confirm that
 4 the recommendations that the ASCA are      4 you never and ADOC never implemented any
 5 providing for St. Clair to remedy the      5 of these recommendations prior to the
 6 staffing problems at St. Clair. Is that    6 review by the ASCA?
 7 correct?                                   7 A. You can't -- how can you put
 8 A. Can I read it?                          8 into place or take recommendations that
 9 Q. Sure.                                   9 you didn't see?
10     (Witness reviews document.)           10 Q. I'm not asking if you got them
11 A. Okay. Could you repeat the             11 from the ASCA. I'm just confirming that
12 question now?                             12 none of these were put into place. So
13 Q. So these are recommendations           13 whether or not they came from the ASCA is
14 from the ASCA to resolve the staffing     14 not -- ASCA is not my question.
15 issues at St. Clair; right?               15       So for example, at no time prior
16 A. Yes, sir.                              16 to you leaving ADOC was a short-term
17 Q. And backing up, there are              17 solution prioritizing filling the 96
18 certain findings in here. There's no      18 security guard position vacancies done?
19 reason -- you have no reason to dispute   19 A. I don't know.
20 the findings that the ASCA made here;     20 Q. How is that?
21 correct?                                  21 A. Because we were working on that
22 A. I haven't ever read them, so I         22 security guard -- one position was being
23 can't answer that.                        23 worked on prior to my leaving. At what
                                                                           73 (Pages 286 - 289)
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                                        Page 290                                           Page 292
 1 point it actually was implemented, I             1 control or where you have designated if
 2 don't know. And we -- the official title         2 that beam was broken.
 3 is Security Guard I. On the register, it         3 Q. And was that inoperable at St.
 4 is -- I can't even -- there is a -- it's         4 Clair?
 5 called BCO now, Basic Correctional               5 A. I don't recall, but I think it
 6 Officer. That was the position that DOC          6 was. I don't think it worked properly.
 7 was calling on the -- on the current or,         7 Q. For -- is it right that it was
 8 at that time, on the actual State                8 malfunctioning for years?
 9 register for State personnel, State of           9 A. I don't know for how long.
10 Alabama. It was called a Security Guard         10 Q. Would that have been your job to
11 I position. And so that -- the process          11 fix it or to have it get fixed?
12 of putting this into place was put in           12 A. Not necessarily. This may --
13 place before I left.                            13 this may have been decided prior to me
14        And I'd like to add one more             14 assuming either one of these roles simply
15 caveat to that. It is as hard to hire           15 because they put the electric fence in.
16 these people as it is to hire personnel         16 Q. And --
17 as a correctional officer.                      17 A. I don't -- but I'm not saying it
18 Q. Why do you think that is?                    18 was because I don't know, and I don't
19 A. I'm not in human resources. I                19 know the time frames involved here. But
20 don't -- I don't know. I can't tell you.        20 I do know that it's the microwave system,
21 Q. So if I could direct you to page             21 and even if it -- if it worked at all, it
22 15 of this, this is about facility              22 may have just have been across the sally
23 searches, and this is discussing SOPs and       23 port, but I don't think it worked at all.
                                        Page 291                                           Page 293
 1 the searching of St. Clair.                      1 Q. For your entire tenure as
 2       And if I could move on to page             2 associate commissioner?
 3 17, in the fourth paragraph down, that           3 A. I don't know when -- I don't
 4 paragraph reads, "What is missing is a           4 know when the last time -- I don't know
 5 single person who is responsible for             5 when it stopped working.
 6 security." And it goes on, "Reports are          6 Q. But you also don't know when it
 7 written and filed with no follow up."            7 was working?
 8 And then it asks, "How does a microwave          8 A. I don't.
 9 system malfunction for years without             9 Q. Okay. And then it goes on, "How
10 someone following up?"                          10 does the x-ray machine break down and the
11       Do you know what that's                   11 hand metal detector go missing without
12 referring to?                                   12 someone revising the entrance procedure
13 A. No, sir.                                     13 until such time as equipment can be
14 Q. What is the microwave system?                14 replaced?"
15 A. Oh, it's the -- it's the                     15       Do you have an answer to that
16 perimeter. It's on the perimeter. So I          16 question, sir?
17 do.                                             17     (Witness reviews document.)
18 Q. Okay.                                        18 A. No.
19 A. It's a -- it's a system, a                   19 Q. Does that create safety concerns
20 fencing system at St. Clair. Before you         20 at a prison?
21 get to the fencing system, there was a          21 A. It does. If I -- well. The
22 microwave system that was put in place          22 last time I can remember, the x-ray
23 that should sound an alarm in central           23 machine, coming through the front, it
                                                                             74 (Pages 290 - 293)
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                                       Page 294                                          Page 296
 1 worked. But they say it don't work, so I        1 it's a training -- it's a training
 2 don't -- you know, I don't -- I don't           2 facility.
 3 know. It may be -- maybe the last time I        3 Q. And do you recall ever -- you or
 4 saw it, it got fixed after they wrote it.       4 anyone else at ADOC ever reaching out to
 5 I don't know. But I can't -- I don't --         5 NIC for assistance with regard to St.
 6 I can't answer as to why, but there are         6 Clair?
 7 some -- there are possibilities as to           7 A. I worked for the NIC. I called,
 8 why. The x-ray machine might have been          8 yes. Not just St. Clair, but for the
 9 so outdated it couldn't be repaired. I          9 Department as a whole.
10 don't know that, though.                       10 Q. I'm sorry, can you explain that
11 Q. And was the fixing of the x-ray             11 you worked for NIC?
12 machine one of those projects that we          12 A. I was a consultant for NIC.
13 spoke about earlier today that you would       13 Q. So, did NIC come and assess St.
14 have a meeting to approve?                     14 Clair at any point?
15 A. I would have to look at a                   15 A. I don't remember exact --
16 project list.                                  16 specifically St. Clair. I don't. I
17 Q. Then it goes on, "Who made the              17 don't remember that -- that they did.
18 decision that it is acceptable to repair       18        We -- I know from the staffing
19 perimeter lighting later rather than as        19 perspective, so some of the documentation
20 needed?"                                       20 like the -- the Savages were people that
21      Do you have an answer to that             21 I worked with on security audits. And
22 question?                                      22 they were brought in, and they had
23 A. I'm assuming that would have                23 written a plan, not just for St. Clair, a
                                       Page 295                                          Page 297
 1 came from the engineers.                        1 staffing plan, but they wrote staffing
 2 Q. Do you know who the National                 2 plans for all the major facilities.
 3 Institute for Corrections is?                   3 Q. Do you recall when that was?
 4 A. Do I know what organization it               4 A. No, sir. Actually, I know some
 5 is?                                             5 of that training is still going on now.
 6 Q. Correct.                                     6 I don't know exactly -- I mean, it was
 7 A. Yes.                                         7 before I left that they started working
 8 Q. What is that organization?                   8 on it.
 9 A. National Institution of                      9 Q. Was it while you were
10 Corrections.                                   10 institutional coordinator?
11 Q. Yeah. I guess I'm asking, what              11 A. It was when I was associate
12 do they do?                                    12 commissioner.
13 A. Similar to what this                        13 Q. So you had mentioned that a lot
14 organization does, they monitor national       14 of the staffing concerns and a lot of
15 corrections on a national basis. They          15 these conditions we've been talking about
16 provide training, less now than they once      16 today have been problematic at St. Clair
17 did. You can -- you can get                    17 before and during your time as
18 documentation from them. You can get           18 institutional coordinator. My question
19 security audit training, for instance.         19 is, why was it not until you were
20 They offer that class. You can send            20 associate commissioner that requests from
21 people to that class to be trained.            21 the National Institute of Corrections was
22 There's a book that comes with that. You       22 made?
23 can order the book from them. So more --       23 A. Maybe that suggestion was made
                                                                            75 (Pages 294 - 297)
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                                          Page 298                                         Page 300
 1 before and it just wasn't followed. I              1 Justice Initiative. The Equal Justice
 2 would --                                           2 Initiative was -- in that settlement,
 3 Q. Why would that have been? I'm                   3 they became the monitor to come in and
 4 sorry, I didn't mean to talk over you.             4 assess things that the Department of
 5 A. I would be answering for                        5 Corrections had agreed to attempt to do
 6 somebody else if I answered that. I                6 within the settlement.
 7 can't answer that.                                 7 Q. And do you recall -- strike
 8 Q. So that wasn't your job?                        8 that.
 9 A. As the institutional                            9       So if you could turn to page 8,
10 coordinator, I had an associate                   10 the --
11 commissioner that I answered to, so.              11 A. In the settlement? I mean --
12 Q. I'm going to hand you what I'm                 12 Q. Yes, sir.
13 going to designate as Plaintiff's Exhibit         13 A. -- in the report itself?
14 9. So this first page here is an e-mail           14 Q. Correct. So it's -- 1125 is the
15 to various people at the Department of            15 final number.
16 Corrections, including Jefferson Dunn;            16 A. Yes, sir.
17 correct?                                          17 Q. First, under section 9, it says
18 (Plaintiff's Exhibit 9 was marked for             18 that ADOC -- excuse me. "The settlement
19 identification and is attached.)                  19 requires ADOC use the best efforts to
20 A. Yes, it is.                                    20 maintain staffing at its current or
21 Q. And it's from Brian -- it's from               21 higher levels and to formally request
22 Charlotte Morrison. You see that?                 22 that the National Institute of
23 A. Yes, sir, I do.                                23 Corrections conduct staffing analysis to
                                          Page 299                                         Page 301
 1 Q. And it's dated March 29, 2018?                  1 help SCCF focus on problems and possible
 2 A. Yes.                                            2 solutions to staff hiring and retention."
 3 Q. And it says, "Please find the                   3 Correct?
 4 attached first monitoring report for St.           4 A. Yes, sir.
 5 Clair." Right?                                     5 Q. And then at the -- in the last
 6 A. Yes, sir.                                       6 sentence there, it says, "At the time of
 7 Q. Do you know what that is?                       7 this writing, the request for staffing
 8 A. Can I glance at it real quick?                  8 analysis has not been submitted." Right?
 9 Q. Yeah, of course. The report                     9 A. It does.
10 itself begins on -- the bottom right              10 Q. So we were just talking about
11 number is 21118.                                  11 the NIC. So that -- that request had not
12     (Witness reviews document.)                   12 been made as of the date of this report,
13 A. Yes, sir.                                      13 which was sent on March -- in March of
14 Q. Do you recall this document?                   14 2018; right?
15 A. I don't recall the document, but               15 A. According to this report, yes,
16 I am familiar with it.                            16 sir.
17 Q. Do you recall what -- strike                   17 Q. Do you recall anything else
18 that.                                             18 about the findings of this report?
19       What do you recall about this               19 A. Sir, this is the first time I've
20 report?                                           20 seen this before, to my knowledge. I do
21 A. Well, as this first page on the                21 not recall anything about it except what
22 report starts out, it was a part of a             22 I've read so far.
23 settlement agreement with the Equal               23 Q. So as institutional -- excuse
                                                                              76 (Pages 298 - 301)
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                                         Page 302                                         Page 304
 1 me. As associate commissioner, you would 1 A. That -- that's -- that's
 2 have received -- you would have received  2 separate from a staffing analysis. They
 3 this report; right?                       3 come in and -- so when the staffing
 4 A. My name is not on this e-mail.         4 analysis -- when NIC does staffing
 5 Q. So, are you saying you did not         5 analysis, they basically come in and go
 6 receive this report?                      6 through the number of posts you have,
 7 A. I don't recall receiving this          7 your times and dates -- or your time of
 8 report. I'm just saying my name is not    8 day when your activity is most heavy, and
 9 on the e-mail. Out of the list of people  9 things like that. And they will tell
10 that's on here, I don't -- I don't find  10 you, or they'll make their
11 my name anywhere on here.                11 recommendations about how many staff you
12 Q. Is it possible that as associate      12 should have.
13 commissioner, you would not have been    13       In 2018, all corrections, all --
14 provided this report?                    14 all, particularly in the southern states,
15 A. If Commissioner Dunn decided not 15 were having some of these same problems.
16 to give it to me, I wouldn't. And I'm    16 Q. I'm going to introduce to you
17 not saying that I didn't. I'm just       17 what I'm going to mark as Plaintiff's
18 saying this is the first time that I can 18 Exhibit 10. Do you recognize this
19 recollect -- recollect receiving --      19 document, sir?
20 seeing this. I know stuff about this,    20 (Plaintiff's Exhibit 10 was marked for
21 but --                                   21 identification and is attached.)
22 Q. Can you tell me --                    22 A. It's an e-mail.
23 A. -- I've never actually seen the       23 Q. You're on this e-mail; correct?
                                         Page 303                                         Page 305
 1 report. I just told you. I told you               1 A. I am.
 2 already. I said this is a settlement.             2 Q. And it's from Bart Harmon?
 3 In the settlement, this is what happened.         3 A. Yes.
 4 These are some of the things that came            4 Q. It's dated May 21st, 2018;
 5 out of the settlement. And it -- and it           5 right?
 6 -- and as I read that, NIC had been to            6 A. Yes, sir.
 7 the Department of Corrections doing               7 Q. And it says, "Mr. Culliver and
 8 security audits prior, so. But this was           8 Mr. Ellington: This draft" -- "This draft
 9 the focus at St. Clair on the hiring              9 has had several read throughs but if you
10 policies. That's the way I read it.              10 operations folks could read it through
11       What page was that again, 8?               11 one more time and make sure we're not
12 Q. Correct.                                      12 promising anything we can't deliver on, I
13 A. So as I read it, it says the                  13 would appreciate it."
14 staffing -- "The settlement agreement            14       You see that?
15 requires ADOC to use its best efforts to         15 A. Yes, sir.
16 maintain staffing at St. Clair at its            16 Q. And --
17 current or higher levels and to formally         17       MS. PUTMAN: Can we go off the
18 request that the National Institute of           18 record real quick?
19 Corrections conduct staffing analysis at         19       MR. EARL: Sure.
20 St. Clair Correctional Facility focused          20       THE VIDEOGRAPHER: We're going
21 on problems and possible solutions to            21 off the record at 4:11.
22 staff hiring and retention."                     22          (Break taken.)
23 Q. Correct.                                      23       THE VIDEOGRAPHER: We're going
                                                                             77 (Pages 302 - 305)
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                                       Page 306                                           Page 308
 1 back on the record at 4:16.                     1 A. Chief of investigations for
 2       MS. PUTMAN: And if I could just           2 ADOC.
 3 make an objection for the record. I'm           3 Q. So the e-mail from March 18th
 4 going to object to any questions being          4 from Mr. Watson reads, "Pursuant your
 5 asked on this document on the basis of          5 directive to recommend a course of
 6 privilege. I'm going to ask that he not         6 corrective action based on the recent St.
 7 answer any questions, and I'm also going        7 Clair Operational Assessment Report," it
 8 to ask that we be able to claw this             8 says, "there is no doubt that rectifying
 9 document back.                                  9 the CO staffing problem at St. Clair is
10       MR. EARL: Okay. And what's               10 essential, as it impacts most every
11 the --                                         11 aspect of inferior performance noted in
12       MS. PUTMAN: Attorney-client              12 the report."
13 privilege.                                     13       See that?
14       MR. EARL: That's Bart Harmon?            14 A. Yes.
15       MS. PUTMAN: Yeah.                        15 Q. So, do you understand that this
16       MR. EARL: Was this on the                16 is a -- strike that.
17 privilege log?                                 17       This is an e-mail drafting like
18       MS. PUTMAN: I doubt it because           18 a corrective action in response to the
19 it was produced, but we can certainly          19 ADOC report we just looked at; correct?
20 adjust the privilege log.                      20 A. I don't know. Can I read this
21       MR. EARL: Okay. Understood.              21 whole e-mail right quick?
22 Q. (By Mr. Earl) Okay. I'm going               22 Q. Let's do it this way. So if you
23 to introduce -- I'm going to hand you,         23 turn back to what I designated as
                                       Page 307                                           Page 309
 1 sir, what I'm going to mark as            1 Plaintiff's Exhibit -- what was the A --
 2 Plaintiff's Exhibit 11. Do you recognize  2 the report? I'm sorry.
 3 this e-mail, sir?                         3 A. The ASA report?
 4 (Plaintiff's Exhibit 11 was marked for    4 Q. Yes, sir.
 5 identification and is attached.)          5 A. It was 8.
 6 A. I see it's an e-mail that I            6 Q. Eight. If you can just look
 7 sent.                                     7 back at that quickly. The second page of
 8 Q. And it's dated March 18th, 2018;       8 that exhibit, at the top right, it says,
 9 right?                                    9 "Alabama Department of Corrections St.
10 A. Yes, sir.                             10 Clair Correctional Facility Operational
11 Q. And who is Steve Brown?               11 Assessment Report."
12 A. The chief of staff.                   12       You see that?
13 Q. That's Mr. Dunn's chief of            13 A. Yes, sir.
14 staff?                                   14 Q. And if you look back at what I
15 A. Yes, sir.                             15 designated as Plaintiff's Exhibit 11, the
16 Q. And the e-mail below that is          16 first -- the first line of that e-mail
17 from Steve Watson to you, Mr. Brown, and 17 from March 18 from Mr. Watson reads,
18 Arnaldo Mercado; right?                  18 "Pursuant to your directive to recommend
19 A. Yes, sir.                             19 a course of corrective action based on
20 Q. Who's Steve Watson?                   20 the recent St. Clair Operational
21 A. He's associate commissioner of        21 Assessment Report." Correct?
22 programs.                                22 A. Okay.
23 Q. And who was Arnaldo Mercado?          23 Q. So, does this refresh your
                                                                            78 (Pages 306 - 309)
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                                        Page 310                                        Page 312
 1 recollection, sir, that you received and         1 reads "The St. Clair Correctional
 2 reviewed the ASCA report?                        2 Facility Second Monitoring Report."
 3 A. No, sir.                                      3 Right?
 4 Q. How's that?                                   4 A. Yes, sir.
 5 A. It doesn't. You asked me. It                  5 Q. Do you recall this report, sir?
 6 doesn't reflect my -- I'm not saying it          6 A. I don't.
 7 didn't happen. I'm saying I don't have           7 Q. But you received it; right?
 8 any -- we haven't produced anything here         8 A. I'm assuming I did.
 9 that shows my name receiving the report          9 Q. And do you recall -- do you
10 and I don't remember the report.                10 recall anything about this report?
11 Q. Would you have gotten the                    11 A. I may if I can scan it, but I
12 corrective action plan for a report you         12 don't -- I know -- I know what it is, so,
13 didn't read?                                    13 I mean, you can ask your question.
14 A. I don't know. It could have                  14 Q. If you could turn to page 8 for
15 been a discussion. I could have received        15 me. The first line there says, "There
16 one. I don't remember it. I'm not               16 have been a total of more than 400 knives
17 saying I didn't get it. I never said I          17 documented in St. Clair incident reports
18 didn't. I said I didn't remember it, and        18 in an eight month period between November
19 my name wasn't on that e-mail.                  19 1, 2017, and June 30, 2018." Do you see
20 Q. I understand that. I'm asking,               20 that?
21 would you, as operational -- as associate       21 A. Yes, sir.
22 commissioner of operations, be receiving        22 Q. Would you agree that's a very --
23 a corrective action plan for a report you       23 that's a large amount of weapons to be
                                        Page 311                                        Page 313
 1 didn't review?                             1 found at St. Clair?
 2 A. I don't know. I can't -- you            2 A. It's a large amount of weapons
 3 want me to answer something I don't know. 3 to be found anywhere.
 4 I don't remember.                          4 Q. Does that refresh your
 5 Q. Who is Chief, sir?                      5 recollection at all about the contents of
 6 A. Steve Brown.                            6 this report, sir?
 7 Q. Okay. I'm going to introduce            7 A. I know what this report is. I
 8 Plaintiff's Exhibit 12. Do you recognize   8 just don't remember the report.
 9 this e-mail, sir?                          9 Q. I'm asking you, so do you recall
10 (Plaintiff's Exhibit 12 was marked for    10 the findings of this report at all in any
11 identification and is attached.)          11 way? Were there discussions about it?
12 A. It's an e-mail to Karla Jones,         12 A. Well, this e-mail says that --
13 copying Edward Ellington and Cheryl Price 13 the e-mail is to Karla Jones, and we
14 and myself.                               14 would sit down and talk about this
15 Q. And it's dated August 1, 2018;         15 report.
16 right?                                    16 Q. Do you remember that
17 A. Yes, sir.                              17 conversation with her?
18 Q. And the e-mail below that is an        18 A. I do not.
19 e-mail from August 1, 2018, from          19 Q. So you don't recall any actions
20 Charlotte Morrison to Jefferson Dunn and 20 that you or anyone else took to address
21 others at ADOC, including you; correct?   21 any of the issues raised in this report?
22 A. Yes.                                   22 A. Not without going through this,
23 Q. And if you turn the page, it           23 being able to read it and look at it, I
                                                                           79 (Pages 310 - 313)
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                                      Page 314                                     Page 316
 1 do not.                                    1 captains, the assistant warden, and the
 2 Q. Okay. Can you turn to page 7 of         2 warden. And maybe Mr. Ellington would
 3 this report, sir. Section III here says,   3 have been there as well, but I don't
 4 "Implementation of QIT." You see that?     4 remember.
 5 A. Yes, sir.                               5 Q. If you could turn to page 11
 6 Q. Does this -- we talked earlier          6 quickly for me. We talked earlier about
 7 about the Quality Improvement Team. Is     7 how -- about unauthorized movement at St.
 8 this at all -- or does this page here      8 Clair.
 9 refresh your recollection of the QIT       9      The first line here says,
10 team?                                     10 "Inmates at St. Clair are able to freely
11     (Witness reviews document.)           11 move about the facility without
12 A. Yes.                                   12 authorization in violation of existing
13 Q. And what do you recall about the       13 departmental policies."
14 QIT team?                                 14      Did I read that right?
15 A. That we had a person -- well, I        15 A. Yes, sir.
16 don't -- I don't recall a whole lot about 16 Q. So we -- you mentioned earlier
17 the QIT team. Just from what I just       17 today that some measures had been taken,
18 briefly read, we -- part of it was in     18 including fixing the locks at St. Clair,
19 reference to the way the incident reports 19 to remedy unauthorized movement. Do you
20 were coming in. And so we had designated 20 recall that?
21 a person to specifically deal with the    21 A. Yes, sir.
22 incident reports, typing them up, doing   22 Q. So as of the date of this
23 the checks and balances on it to see if   23 report, those efforts were unsuccessful;
                                      Page 315                                     Page 317
 1 certain things were -- were being met as  1 correct?
 2 far as actually completing the reports    2 A. According to this report and
 3 and that the same thing that was          3 according to what I've read. I just only
 4 completed was the same thing that was     4 read a blurb, but yes, sir.
 5 logged into the computer and if there     5 Q. And why do you think that was?
 6 were -- and just basically tracking and   6 A. I would say staffing more than
 7 monitoring incident reports. That's what  7 anything else and not -- not all of it is
 8 I remember.                               8 on the lack of staffing but staff just
 9 Q. Were you a part -- strike that.        9 not doing their job. And maybe fear.
10       Did you have meetings with the     10 Q. Fear of what?
11 QIT team?                                11 A. Fear of being attacked, fear of
12 A. I don't know if I had meetings        12 being assaulted.
13 with the QIT team itself. I had meetings 13 Q. Staff fear of being assaulted?
14 with the warden in reference to. And I   14 A. Yes.
15 would imagine -- I don't know if         15 Q. If you could turn to page 14,
16 everybody that was on the QIT team was   16 please. In the second paragraph, it
17 there, but there were probably -- the    17 reads: "One central features concerning
18 captains were all there available, too.  18 the use of force is the extent to which
19       THE COURT REPORTER: I'm sorry, 19 problematic instances are taking place in
20 who was available?                       20 or on the way to segregation. Three
21       THE WITNESS: The captains, the     21 major patterns emerge" -- "emerged. One,
22 captains of the facility.                22 officers frequently resort to force when
23 A. So I would imagine it was the         23 men are restrained with handcuffs and leg
                                                                      80 (Pages 314 - 317)
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                                       Page 318                                          Page 320
 1 irons."                                         1 Q. Did you do anything to try to
 2      Do you see that?                           2 bring it --
 3     (Witness reviews document.)                 3 A. I don't know.
 4 A. Yes, sir.                                    4 Q. Okay. If you could turn with me
 5 Q. Is that concerning to you, sir               5 to page 22 of this report quickly. So in
 6 -- excuse me. Was that concerning to you        6 this first paragraph, there's -- it's
 7 as associate commissioner of operations?        7 discussing the inoperative locks. It
 8 A. Yes, sir.                                    8 says, "This issue is known to ADOC and
 9 Q. Do you recall ever going back                9 can be addressed with officer
10 and looking at the reports of those            10 observation, removal of obstruction, and
11 instances after reading this report?           11 inmate discipline." You see that?
12 A. No, sir.                                    12 A. No, sir.
13 Q. Do you recall ever following up             13 Q. I'm sorry, it's the first
14 with anybody about these instances?            14 paragraph under 5, the second to last
15 A. Specific incidences or just the             15 sentence, beginning "This issue was known
16 excessive use of force?                        16 to ADOC."
17 Q. Either.                                     17 A. Okay.
18 A. We talk about excessive use of              18 Q. Do you agree that those were
19 force all the time. The specific               19 ways to remedy the lock problem at St.
20 incidents, no.                                 20 Clair?
21 Q. Did you talk about excessive use            21 A. Do I agree?
22 of force at St. Clair because you knew it      22 Q. That those were -- that these
23 was a problem at St. Clair?                    23 were ways to remedy the lock problem at
                                       Page 319                                          Page 321
 1       MS. PUTMAN: Object to the form.           1 St. Clair?
 2 A. I talked about excessive use of              2     (Witness reviews document.)
 3 force because excessive use of force is         3 A. So ask your question once more.
 4 wrong.                                          4 Q. Do you agree that these are --
 5 Q. And did you understand that it               5 these were ways to remedy the lock
 6 was common at St. Clair during your time        6 problem at St. Clair?
 7 as associate commissioner of operations?        7 A. By having officers to get the
 8       MS. PUTMAN: Object to the form.           8 stuff out of the door?
 9 A. That's your terminology that it              9 Q. Correct.
10 was common.                                    10 A. I think I've already testified
11 Q. Was it -- was the level of                  11 to that. Yes.
12 excessive force by staff during that time      12 Q. And what about disciplining the
13 period acceptable under ADOC standards?        13 inmates for obstructing the door?
14 A. Under what standards?                       14 A. Yes.
15 Q. ADOC standards.                             15 Q. And that wasn't done; right?
16 A. No.                                         16 A. I don't know.
17 Q. Was it acceptable under your                17 Q. Okay.
18 personal standards?                            18 A. I'm sure some was. But did
19 A. No.                                         19 every inmate that put a piece of trash in
20 Q. And do you recall what you did              20 the door get a disciplinary? I doubt it
21 to try to bring that amount of excessive       21 seriously.
22 force down?                                    22 Q. You can move -- we can move on
23 A. No.                                         23 to the second paragraph here. The second
                                                                            81 (Pages 318 - 321)
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                                        Page 322                                         Page 324
 1 sentence says, "For example" -- excuse           1 the Alabama Department of Corrections for
 2 me. The first sentence says: "The lack           2 St. Clair Correctional Facility, date
 3 of cameras continue to contribute to risk        3 9/2/2018, 5:16 p.m., Class A report.
 4 of violence and allows for unauthorized          4 Q. So these are one of the reports
 5 movement across the prison. For example,         5 that you would have received and
 6 the camera outside the entrance to               6 reviewed; correct?
 7 housing unit PQ is not functional."              7 A. Yes.
 8       You see that?                              8 Q. And the victim under number 10
 9 A. Yes, sir.                                     9 there is Terry Pettiway.
10 Q. Why do you think that's                      10 A. Correct.
11 problematic?                                    11 Q. Correct?
12 A. What do you mean?                            12 A. Correct.
13 Q. Excuse me, I should say do you               13 Q. So on this first line here, it
14 think that's problematic?                       14 says, "Inmate Terry Pettiway was stabbed
15 A. That the camera is not working               15 in front of PQ dorm." You see that?
16 properly?                                       16 A. Yes, sir.
17 Q. Correct.                                     17 Q. So PQ is the area -- PQ --
18 A. It's not any good if it doesn't              18 strike that.
19 work.                                           19       The entrance to PQ dorm --
20 Q. And whose job was it to ensure               20 strike that, I'm sorry.
21 that they continue to work?                     21       The area in front of PQ dorm,
22 A. The warden's.                                22 that was the area we just discussed where
23 Q. And whose job was it to ensure               23 the camera was not functional; correct?
                                        Page 323                                         Page 325
 1 that the wardens were making sure they           1      MS. PUTMAN: Object to the form.
 2 were continuing to work?                         2 A. Yes, I think so.
 3 A. The institutional coordinator.                3 Q. And the stabbing -- Mr.
 4 It's going to get to me. I've already            4 Pettiway's stabbing involves contraband
 5 agreed to that. It gets to me                    5 that was -- a weapon was used; correct?
 6 regardless. But I -- so you want me to           6      MS. PUTMAN: Object to the form.
 7 say it was my fault?                             7 A. Can I read this?
 8 Q. Only if you think it was.                     8 Q. Well, does a stabbing involve a
 9 A. No, I don't think it was.                     9 weapon, sir?
10 Q. Do you think it was?                         10 A. Can I just read this?
11 A. I don't.                                     11 Q. I would prefer you'd not at the
12 Q. Okay. Mr. Culliver, are you                  12 moment.
13 familiar with the death of Terry Terrell        13 A. I want to read it before I
14 Pettiway?                                       14 answer your question.
15 A. I'm aware that it happened. I'm              15     (Witness reviews document.)
16 semi-familiar with the incident but not         16 A. Okay.
17 fully, no.                                      17 Q. So this incident would have
18 Q. I'm going to introduce to you                18 involved weapons; right?
19 Plaintiff's Exhibit 13. Do you recognize        19 A. It did.
20 this document, sir?                             20 Q. And it would have involved
21 (Plaintiff's Exhibit 13 was marked for          21 inmate-on-inmate violence; right?
22 identification and is attached.)                22 A. Yes, sir.
23 A. It's a duty officer report from              23 Q. And this report doesn't indicate
                                                                            82 (Pages 322 - 325)
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                                        Page 326                                        Page 328
 1 that anybody witnessed the stabbing;             1 correct?
 2 correct? By -- excuse me.                        2 A. I don't recall.
 3       This report does not indicate              3 Q. So DOJ was doing an
 4 that any staff were present for the              4 investigation of ADOC, and you don't
 5 stabbing; correct?                               5 recall whether -- strike that.
 6 A. It doesn't.                                   6      As associate commissioner for
 7 Q. Domin- -- Dominique Vales, who                7 operations, would you have been involved
 8 it says that was the employee that               8 in coordinating or assisting with a
 9 responded, was the G gate rover; right?          9 Department of Justice investigation into
10 A. Yes.                                         10 the Department of Correct- -- into the
11 Q. So this instance involves a lot              11 Alabama Department of Corrections?
12 of the same issues we've been discussing,       12 A. Possibly.
13 correct, in terms of contraband and             13 Q. How would that have been done
14 understaffing and violence?                     14 without your assistance?
15       MS. PUTMAN: Object to the form.           15 A. It could have went straight to
16 A. Yes.                                         16 the commissioner. The commissioner could
17 Q. This duty officer report also                17 have assigned the -- I can't -- I can't
18 says that no weapon was recovered. It's         18 -- hold on a second.
19 the third line from the bottom. You see         19     (Witness reviews document.)
20 that?                                           20 A. I can't -- I can't think of the
21 A. Yes, sir.                                    21 division it is. So it could have been
22 Q. Is that common, for instance, in             22 involved with Investigations and there
23 your experience?                                23 was a -- I can't think of it. I --
                                        Page 327                                        Page 329
 1      MS. PUTMAN: Object to the form.      1 Q. But they -- they were -- I
 2 A. I don't know what that -- that's       2 didn't mean to cut you off.
 3 not -- I don't know whether it's common   3 A. No, you're good.
 4 or not.                                   4 Q. They were investigating the
 5 Q. But you reviewed all these;            5 conditions and the security in ADOC
 6 right? These duty officer report for      6 prisons which you were responsible for;
 7 Class A incidents.                        7 correct?
 8 A. I read it, yes.                        8 A. Correct.
 9 Q. Okay. Mr. Culliver, are you            9 Q. And are you familiar with the
10 familiar with the Department of Justice  10 findings of that investigation, sir?
11 CRIPA investigation into the Alabama     11 A. Not right off the top of my
12 Department of Corrections?               12 head.
13 A. Somewhat.                             13 Q. So, Mr. Culliver, we've talked a
14 Q. What is your familiarity with         14 lot today about the conditions at St.
15 it?                                      15 Clair over a few -- over a pretty long
16 A. I can't say directly. I know          16 length of time. And would you agree that
17 they are investing -- they are           17 the conditions at St. Clair did not
18 investigating excessive use of force. I  18 improve and, in fact, in many ways
19 don't know how far or how deep that goes 19 worsened during your tenure as associate
20 or anything.                             20 commissioner of operations?
21 Q. Were you present while they were      21       MS. PUTMAN: Object to the form.
22 doing their -- their investigation into  22 A. I agree.
23 ADOC? You were still employed at ADOC; 23 Q. And I know you attribute -- and
                                                                           83 (Pages 326 - 329)
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                                       Page 330                                         Page 332
 1 correct me if I'm wrong. You attribute a        1 time. There are things you look for.
 2 large majority of the reasoning for that        2 But we come back -- in the reports that
 3 just to inability to get staffing?              3 you've showed so far and the documents
 4 A. Staffing was a prime reason,                 4 that you have, staffing still remains at
 5 yes.                                            5 the top of the list of not having it.
 6 Q. So my question, sir, is, with                6 Every -- every year that we looked at for
 7 all these years that went by where              7 the vulnerability analysis, staffing was
 8 conditions continued to worsen, was there       8 at the top. When ASCA came in, according
 9 ever any discussion of doing things             9 to the little bit I was able to read,
10 differently or trying to divert strategy       10 staffing was a problem. EJI filed their
11 in the short term while the staffing           11 report. The first thing we started
12 situation was being addressed?                 12 looking at and the first thing they
13       MS. PUTMAN: Object to the form.          13 started looking at was staffing.
14 A. Doing things differently?                   14       So without -- without the staff
15 Q. I can ask my question a                     15 to do the job, anything else that we
16 different way.                                 16 did -- cameras, if a camera just broke,
17       So you -- you've mentioned a few         17 unfixable, should the camera have been
18 things that were done. You -- involving        18 replaced? Yes. Did we have a contract
19 media in attempts to recruit, in regards       19 of things in place for somebody to come
20 to changing locks, in regards to fixing        20 and actually do that every time a camera
21 the fence at St. Clair. Is it safe to          21 was torn up, whatever, to fix? No. So I
22 say, sir, that those actions either --         22 don't think -- I don't think I was ever
23 those actions were not successful in           23 closed to any ideas that might would have
                                       Page 331                                         Page 333
 1 improving the conditions at St. Clair?          1 worked or that was presented. So the
 2 A. They weren't, no.                            2 same thing comes about even when EJI says
 3 Q. And it was apparent, like we saw             3 -- so they realized that the staffing
 4 from 2014 and 2015 and 2017, that they          4 situation was as it was, but we still
 5 were not working; correct?                      5 have it today. We still have a problem
 6 A. Yes.                                         6 hiring staff.
 7       MS. PUTMAN: Object to the form.           7        Something has apparently changed
 8 Q. So given that, were there other              8 at St. Clair to a degree, but how much of
 9 options or alternatives that were               9 a degree, I don't know. They still stay
10 explored or executed to try to reverse         10 in the news. So does other facilities
11 the course of the decline in the               11 stay in the news for the same thing. And
12 conditions at St. Clair other than what        12 it still comes down to staffing.
13 you've already told me?                        13 Q. Well, part of this is enforcing
14 A. Not that I can recall.                      14 regulations, right, at the warden and at
15 Q. So when it became clear that the            15 the facility level?
16 efforts that you were making to fix the        16        MS. PUTMAN: Object to the form.
17 conditions at St. Clair, there was never       17 A. Some of it probably does. You
18 a discussion to try to -- a change in          18 still have to have staff to be able to
19 strategy to find out maybe a method that       19 enforce it. And so if you -- if you --
20 did work?                                      20 and staff, we don't -- we don't have any
21       MS. PUTMAN: Object to the form.          21 reports showing where staff was
22 A. I think -- I think optional                 22 disciplined for not doing their job. We
23 strategies were taking place all the           23 don't -- we don't show that. That's not
                                                                           84 (Pages 330 - 333)
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                                       Page 334                                          Page 336
 1 -- that hasn't been brought into this           1 of reasons that that -- that -- that
 2 deposition. But in some cases, staff was        2 idea, not just by myself or Mr. Dunn, but
 3 disciplined for not doing their job. And        3 that was a discussion amongst several
 4 then if staff gets suspended for not            4 other people, but it didn't seem viable.
 5 coming to work or they get fired for not        5 That did not seem like a viable option.
 6 coming to work, I mean, because of the          6 Q. And why was that?
 7 discipline, that's one less person that         7 A. Lack of training. Just for any
 8 we have at the facility.                        8 number of reasons. National Guard aren't
 9       So I don't have the answer. I             9 trained to operate corrections.
10 wish I did, but I don't have the answer        10 Q. Well, you said that you had --
11 for that.                                      11 that your academy class was -- I believe
12 Q. Sir, are you saying that there              12 you said 12 weeks. I might have that
13 was an incentive not to discipline             13 wrong.
14 employees because you --                       14 A. That's what I said.
15 A. I didn't say that. That's not               15 Q. So the National Guard presumably
16 what I said. Don't change my words.            16 could have been trained in 12 weeks;
17       MS. PUTMAN: Object to the form.          17 correct?
18 Q. That's why I'm asking.                      18 A. Yes.
19 A. No, I didn't say that.                      19 Q. And these conditions we already
20       MS. PUTMAN: Ask your question            20 talked about lasted from at least
21 again if you don't mind.                       21 beginning in 2014; correct?
22 Q. Was there an incentive to not               22 A. Yes.
23 discipline employees to avoid losing           23 Q. So this was a viable -- strike
                                       Page 335                                          Page 337
 1 staff?                                     1 that.
 2 A. There was not.                          2       So this was -- so training
 3 Q. So, is it your position --              3 presumably could have been done within
 4 strike that.                               4 less than a year. If that had been done
 5       If St. Clair couldn't hire --        5 in 2014, you would have had the National
 6 could not hire a sufficient number of      6 Guard and much more staffing at St. Clair
 7 employees to effectively supervise the     7 by 2015; right?
 8 prison, does that mean that it is          8       MS. PUTMAN: Object to the form.
 9 acceptable to have an extremely dangerous 9 A. It's possible, I guess.
10 environment for the prison population?    10 Q. Mr. Culliver, are you familiar
11       MS. PUTMAN: Object to the form. 11 that we -- excuse me. Are you aware that
12 A. No.                                    12 we've asked for some documents from you
13 Q. So for example, was there ever a       13 in this lawsuit?
14 point where there were discussions        14 A. That you asked for some
15 between you or Mr. Dunn, between you and 15 documents from me?
16 Mr. Dunn or anybody else, where there     16 Q. Correct.
17 were -- for example, could the National   17 A. No, sir.
18 Guard have come in and helped ADOC?       18 Q. Have you looked for any
19 A. Those discussions were had.            19 documents in this lawsuit?
20 Q. And why weren't -- why wasn't          20 A. No, sir.
21 that done?                                21 Q. You never looked for any e-mails
22 A. First of all, there would need         22 that you may have?
23 to be some training. There were a number 23 A. I don't have access to DOC
                                                                            85 (Pages 334 - 337)
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                                         Page 338                                           Page 340
 1 e-mails.                                          1 Commissioner Jefferson Dunn of the
 2 Q. Did you do anything on your                    2 Alabama Department of Corrections. We
 3 personal devices?                                 3 were asked to investigate two allegations
 4 A. No.                                            4 against Mr. Grantt Culliver, an associate
 5 Q. Did you keep any hard copy                     5 commissioner" -- "commission of the
 6 records?                                          6 Alabama Department of Corrections. Those
 7 A. No. I think I asked -- I think                 7 two allegations were," and then it reads,
 8 I -- I think I answered a deposition to           8 "From March 10 to May 2018 Commissioner
 9 that or something to that effect. But             9 Culliver was alleged to have been
10 no, I don't have anything from DOC. I            10 involved in an inappropriate relationship
11 don't have any hard copies. I don't have         11 with," and then it's redacted, and then
12 any discs with anything about DOC on it.         12 it says "facility."
13 I don't have any of that.                        13       Do you recall the investigation,
14 Q. Okay. You said you retired from               14 sir?
15 ADOC in October 2018. Strike that.               15 A. Yes.
16        You retired in October 2018;              16 Q. If you turn to page 2 of this,
17 correct?                                         17 so if you look at -- under Allegation 1,
18 A. Yes.                                          18 the beginning of the sentence, "In
19 Q. Why did you leave your position               19 conducting."
20 in 2018?                                         20       It says: "In conducting a
21 A. I was investigated for an                     21 forensic analysis of each of these
22 inappropriate relationship.                      22 devices, there were e-mails identified by
23 Q. Was it one inappropriate                      23 me that led me to believe that
                                         Page 339                                           Page 341
 1 relationship?                                     1 Commissioner Culliver was not only
 2 A. I don't know how many it was. I                2 engaged in an inappropriate sexual
 3 wasn't told how many it was.                      3 relationship with" -- redacted -- "but
 4 Q. Were you placed on mandatory                   4 with five additional women inside the
 5 leave before you retired?                         5 Alabama Department of Corrections as
 6 A. I was.                                         6 well. These e-mails led myself and
 7 Q. I'll introduce Plaintiff's                     7 Agent" -- redacted -- "to identify the
 8 Exhibit 14. Do you recognize this                 8 following six women as potential sexual
 9 document, sir?                                    9 partners of Commissioner Culliver."
10 (Plaintiff's Exhibit 14 was marked for           10       You see that?
11 identification and is attached.)                 11 A. I do.
12 A. I do not.                                     12 Q. Do you recall those
13 Q. You've never seen this?                       13 relationships, Mr. Culliver?
14 A. I have not.                                   14       MS. PUTMAN: I'm going to object
15 Q. So the top reads "Alabama                     15 here. He has already admitted that he
16 Attorney General's Office                        16 was on leave and that he left because of
17 Investigation" -- "Investigative Division        17 this. Is there anything further you need
18 Summary of Findings"; right?                     18 out of this, or are you just --
19 A. Yes, sir.                                     19       MR. EARL: I'll move on to --
20 Q. And then it reads: "On August                 20       MS. PUTMAN: Okay.
21 22nd, 2018, I, Special Agent" -- it's            21       MR. EARL: -- the question.
22 redacted -- "and Special Agent" --               22 Q. Can you turn to 9012 for me. So
23 redacted -- "were contacted by                   23 if you look at the -- about midway down
                                                                              86 (Pages 338 - 341)
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                                      Page 342                                           Page 344
 1 the first paragraph, it says,              1 employee because of fear of your own
 2 "Additionally, while all parties involved  2 misconduct coming to light?
 3 claim that no one benefitted from the      3 A. No.
 4 sexual relationship, there is some         4 Q. We also -- going back, we talked
 5 question as to whether the expenditures    5 about a lot of the conditions at St.
 6 to repair the housing at" -- redacted --   6 Clair not -- either, you know, staying
 7 "would have been approved if requested by 7 the same or getting worse during your
 8 a warden not currently or formerly         8 tenure. Were any wardens at St. Clair
 9 engaged in a sexual relationship with      9 ever terminated because -- for -- because
10 Culliver."                                10 of the -- that -- strike that.
11       Do you see that?                    11       During your tenure as associate
12 A. Yes.                                   12 commissioner, we already established that
13 Q. So, were one of these                  13 conditions at St. Clair got worse. Were
14 relationships a warden, sir?              14 any wardens ever terminated because of
15 A. I don't know.                          15 that?
16 Q. It was not a warden?                   16 A. No.
17 A. I don't know. Let me read it.          17 Q. Did you ever consider
18 Let me read it again.                     18 terminating wardens because of that?
19     (Witness reviews document.)           19 A. No.
20 A. Yes.                                   20 Q. Why not?
21 Q. And that was a -- strike that.         21 A. I've already gave it, staffing.
22       So, was that relationship -- did    22 Q. So even if there were other
23 that relationship ever influence your     23 considerations that, you know, they may
                                      Page 343                                           Page 345
 1 decisions as associate commissioner?           1 not have been doing their jobs properly,
 2 A. No.                                         2 they still -- they were not going to get
 3 Q. Do you know if others were aware            3 fired?
 4 of the relationship with this warden?          4       MS. PUTMAN: Object to the form.
 5 A. Do I know?                                  5 A. I don't think you're -- I don't
 6 Q. Correct.                                    6 -- I don't know specifically. I can't
 7 A. No.                                         7 remember specifically. But I think if
 8 Q. Do you know of others at ADOC               8 you go and check those wardens' files,
 9 who were engaged in similar relationships      9 that could tell you whether they were
10 other than Cedric Specks, who you already     10 disciplined for any of those things or
11 testified about?                              11 not. But as -- firing them because we
12 A. No.                                        12 couldn't get enough staff? No. If there
13 Q. Do you understand how conduct              13 had been other things, then they would
14 like this could be problematic in running     14 have been disciplined for them.
15 a prison system?                              15 Q. As to Karla Jones, sir, you said
16 A. Conduct like --                            16 -- you testified that she was a warden at
17 Q. So I guess --                              17 St. Clair during your tenure as associate
18 A. -- the inappropriate                       18 commissioner; right?
19 relationship?                                 19 A. Yes.
20 Q. I guess what I'm asking is, are            20 Q. Do you recall when you first met
21 you familiar -- did you ever run into a       21 Ms. Jones?
22 situation where you felt that you were        22 A. No. I had known her for years,
23 unwilling to discipline or report another     23 but.
                                                                           87 (Pages 342 - 345)
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                                        Page 346                                         Page 348
 1 Q. And what was your under- --                   1 you for your time today. I know it's
 2 strike that.                                     2 been a long day, so I appreciate it.
 3      Were you in the academy with                3 A. You're welcome.
 4 Cheryl Price and Karla Jones?                    4      THE VIDEOGRAPHER: Okay. This
 5 A. No.                                           5 concludes the deposition of Grantt
 6 Q. Ever have doubts about Ms.                    6 Culliver. We're going off the record at
 7 Jones's ability to lead St. Clair as its         7 5:05.
 8 warden?                                          8
 9 A. No. If I did, I wouldn't have                 9         END OF DEPOSITION
10 put her there.                                  10        (5:05 p.m. Central)
11 Q. We can just go back to --                    11
12 A. Fourteen?                                    12
13 Q. Yes, sir. If you go -- the --                13
14 going back to the first page, it says,          14
15 "The relationship has reportedly                15
16 undermined the position and authority of        16
17 the warden at the" -- "at the" --               17
18 redacted -- "facility and caused negative       18
19 effect on the operational climate, good         19
20 order and discipline of the facility."          20
21      You see that?                              21
22 A. Yes.                                         22
23 Q. So you testified that your                   23
                                        Page 347                                         Page 349
 1 relationship with this warden has -- not         1         CERTIFICATE
 2 has -- never affected your                       2 STATE OF ALABAMA )
 3 decision-making as associate                     3 COUNTY OF JEFFERSON )
 4 commissioner; right?                             4       I hereby certify that the above
 5 A. The relationship I had with this              5 and foregoing proceeding was taken down
 6 warden had nothing to do with this warden        6 by me by stenographic means, and that the
 7 (indicating). It was a male warden.              7 content herein was produced in transcript
 8 Q. Excuse me. What warden?                       8 form by computer aid under my
 9 A. This says, "The relationship has              9 supervision, and that the foregoing
10 reportedly undermined the position and          10 represents, to the best of my ability, a
11 authority of the warden at the" --              11 true and correct transcript of the
12 blank -- "facility and caused a negative        12 proceedings occurring on said date at
13 effect on the operational climate, good         13 said time.
14 order and discipline of the facility."          14       I further certify that I am
15 Q. Okay.                                        15 neither of counsel nor of kin to the
16 A. The warden I had a relationship              16 parties to the action; nor am I in
17 with worked in female services. I had no        17 anywise interested in the result of said
18 authority over that warden.                     18 case.
19 Q. So, why was this saying --                   19        <%18362,Signature%>
20 A. You'd have to ask the people                 20       LANE C. BUTLER, RPR, CRR, CCR
21 that wrote the report.                          21       CCR# 418 -- Expires 9/30/23
22 Q. Okay.                                        22       Commissioner, State of Alabama
23       Mr. Culliver, I want to thank             23       My Commission Expires: 2/11/25
                                                                            88 (Pages 346 - 349)
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         &           10/01/2016 6:14        317:15 339:8,10       282:3 284:7
 & 2:8 4:14 5:6      10/1/2016 38:18      1400 2:9 4:16           331:4 336:21
  5:12 9:8 10:16     100 108:6 116:13       9:9                   337:5
  10:18                124:10             15 23:14 290:22       2014-2015
                     1000 241:11          150 5:13                243:21
         0
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